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                                                    Return Service Requested                                         Page:             1 of 10
                                                                                                                     Statement Date: 08/31/2020
                                                                                                                     Primary Account: XXXXXX4777
                                                                         07001
                                                                                                                     Documents:       0

                                                                                                                     Period: 07/31/20 to 08/31/20
MGMCSTMTN 200901-18754-0001




                                                                                                                     E
                                                            BARFLY VENTURES, LLC                              <T> 30-0
                                                            35 OAKES ST SW STE 400                                   0
                                                            GRAND RAPIDS, MI 49503                                   0




                              COMMERCIAL ANALYSIS CHECKING ACCOUNT                                                       Account: XXXXXX4777
                               Last Statement     Previous Balance        This Statement    Current Balance     Total Credits        Total Debits
                                  07/31/20           132,437.64                  08/31/20     396,742.46      1,983,801.13 (261)   1,719,496.31 (387)


                              CREDITS
                              Date Description                                                                                              Amount
                              08/03   Comb. Dep. Worldpay Worldpay Comb. Dep. Term                                                             50.00
                              08/03   Comb. Dep. Worldpay Worldpay Comb. Dep. Term                                                             50.00
                              08/03   Comb. Dep. Worldpay Worldpay Comb. Dep. Term                                                            100.00
                              08/03   Transfer From Coml Analysis Ck Account     0451                                                       2,347.82
                              08/03   Transfer From Coml Analysis Ck Account    1069                                                        9,775.91
                              08/03   Transfer From Coml Analysis Ck Account     3840                                                      12,966.34
                              08/03   Transfer From Coml Analysis Ck Account     0830                                                      14,462.40
                              08/03   Transfer From Coml Analysis Ck Account    4115                                                       15,990.71
                              08/03   Transfer From Coml Analysis Ck Account     9227                                                      17,392.65
                              08/03   Transfer From Coml Analysis Ck Account    4123                                                       19,465.38
                              08/03   Transfer From Coml Analysis Ck Account    8171                                                       20,414.94
                              08/03   Transfer From Coml Analysis Ck Account     3859                                                      21,524.07
                              08/03   Transfer From Coml Analysis Ck Account     0488                                                      22,271.37
                              08/03   Transfer From Coml Analysis Ck Account     3877                                                      22,939.26
                              08/04   Comb. Dep. Worldpay Worldpay Comb. Dep. Term                                                             50.00
                              08/04   Transfer From Coml Analysis Ck Account     3877                                                         677.74
                              08/04   Transfer From Coml Analysis Ck Account    1069                                                          856.39
                              08/04   Transfer From Coml Analysis Ck Account     3840                                                       1,412.32
                              08/04   Transfer From Coml Analysis Ck Account     0451                                                       2,250.64
                              08/04   Transfer From Coml Analysis Ck Account     0488                                                       2,910.23
                              08/04   Ach Return (Account Closed) Compeat, Inc.                                                             2,965.20
                              08/04   Transfer From Coml Analysis Ck Account     0830                                                       3,064.90
                              08/04   Transfer From Coml Analysis Ck Account     3859                                                       3,097.66
                              08/04   Transfer From Coml Analysis Ck Account    4123                                                        3,660.40
                              08/04   Transfer From Coml Analysis Ck Account    4115                                                        3,681.27
                              08/04   Transfer From Coml Analysis Ck Account     9227                                                       4,011.96
                              08/05   Comb. Dep. Worldpay Worldpay Comb. Dep. Term                                                             50.00
                              08/05   Transfer From Coml Analysis Ck Account     3877                                                          80.72
                              08/05   Transfer From Coml Analysis Ck Account    1069                                                          826.16
                              08/05   Transfer From Coml Analysis Ck Account     9227                                                       1,076.25
                              08/05   Transfer From Coml Analysis Ck Account     3840                                                       1,236.64
                              08/05   Transfer From Coml Analysis Ck Account     0451                                                       2,103.09
                              08/05   Transfer From Coml Analysis Ck Account     0830                                                       2,674.74
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                                                                          35 OAKES ST SW STE 400
                                                                          GRAND RAP DS, MI 49503            Statement Date: 08/31/2020
                                                                                                            Primary Account: XXXXXX4777




                              CREDITS (Continued)
MGMCSTMTN 200901-18754-0003




                              Date Description                                                                                Amount
                              08/12   Transfer From Coml Analysis Ck Account     4123                                         1,435.72
                              08/12   Transfer From Coml Analysis Ck Account     1069                                         1,832.76
                              08/12   Transfer From Coml Analysis Ck Account      3840                                        2,197.96
                              08/12   Transfer From Coml Analysis Ck Account     4115                                         3,193.26
                              08/12   Transfer From Coml Analysis Ck Account      0451                                        3,578.83
                              08/12   Transfer From Coml Analysis Ck Account      0830                                        3,599.97
                              08/12   Transfer From Coml Analysis Ck Account      3877                                        4,971.86
                              08/12   Transfer From Coml Analysis Ck Account     8171                                         5,035.86
                              08/12   Transfer From Coml Analysis Ck Account      3859                                        5,309.63
                              08/12   Transfer From Coml Analysis Ck Account      0488                                       10,917.48
                              08/13   American Express Settlement XXXXXX5238                                                     28.90
                              08/13   Transfer From Coml Analysis Ck Account      3840                                          977.38
                              08/13   Payments Bhn Ft Sre                    For 2020-08-13 A/C Mercanti                      1,657.50
                              08/13   Transfer From Coml Analysis Ck Account     1069                                         2,174.94
                              08/13   Transfer From Coml Analysis Ck Account     8171                                         3,519.33
                              08/13   Transfer From Coml Analysis Ck Account      0830                                        3,627.44
                              08/13   Transfer From Coml Analysis Ck Account      0451                                        3,756.78
                              08/13   Transfer From Coml Analysis Ck Account     4115                                         4,018.88
                              08/13   Transfer From Coml Analysis Ck Account     4123                                         4,476.38
                              08/13   Transfer From Coml Analysis Ck Account      3877                                        4,699.76
                              08/13   Transfer From Coml Analysis Ck Account      0488                                        5,057.14
                              08/13   Transfer From Coml Analysis Ck Account      9227                                        6,508.58
                              08/13   Transfer From Coml Analysis Ck Account      3859                                        6,910.73
                              08/14   Gordon Food Serv Ar Payment 0001-100154482                                                 11.75
                              08/14   Comb. Dep. Worldpay Worldpay Comb. Dep. Term                                               50.00
                              08/14   Transfer From Coml Analysis Ck Account      9044                                          609.75
                              08/14   Transfer From Coml Analysis Ck Account      0488                                        1,312.26
                              08/14   Transfer From Coml Analysis Ck Account     1069                                         2,495.70
                              08/14   Transfer From Coml Analysis Ck Account      3840                                        3,556.79
                              08/14   Transfer From Coml Analysis Ck Account      0830                                        4,023.19
                              08/14   Transfer From Coml Analysis Ck Account      0451                                        4,513.23
                              08/14   Transfer From Coml Analysis Ck Account      3877                                        6,189.08
                              08/14   Transfer From Coml Analysis Ck Account      3859                                        6,700.42
                              08/14   Transfer From Coml Analysis Ck Account     4115                                         6,775.11
                              08/14   Transfer From Coml Analysis Ck Account     4123                                         9,291.43
                              08/14   Transfer From Coml Analysis Ck Account     8171                                         9,850.97
                              08/14   Transfer From Coml Analysis Ck Account      9227                                       12,386.74
                              08/17   American Express Settlement XXXXXX5238                                                      9.57
                              08/17   Comb. Dep. Worldpay Worldpay Comb. Dep. Term                                               25.00
                              08/17   Transfer From Coml Analysis Ck Account     1069                                        13,530.05
                              08/17   Transfer From Coml Analysis Ck Account      3840                                       15,066.21
                              08/17   Transfer From Coml Analysis Ck Account     4115                                        16,160.57
                              08/17   Transfer From Coml Analysis Ck Account      0830                                       23,499.70
                              08/17   Transfer From Coml Analysis Ck Account     8171                                        23,865.07
                              08/17   Transfer From Coml Analysis Ck Account      0451                                       24,939.81
                              08/17   Transfer From Coml Analysis Ck Account     4123                                        25,046.75
                              08/17   Transfer From Coml Analysis Ck Account      3859                                       25,636.10
                              08/17   Transfer From Coml Analysis Ck Account      9227                                       26,518.32
                              08/17   Transfer From Coml Analysis Ck Account      3877                                       29,355.80
                              08/17   Transfer From Coml Analysis Ck Account      0488                                       32,998.51
                              08/18   Comb. Dep. Worldpay Worldpay Comb. Dep. Term                                               25.00
                              08/18   Transfer From Coml Analysis Ck Account      0488                                        1,556.70
                              08/18   Transfer From Coml Analysis Ck Account      9227                                        1,567.10
                              08/18   Transfer From Coml Analysis Ck Account     1069                                         1,736.23
                              08/18   Transfer From Coml Analysis Ck Account     4115                                         3,729.32
                              08/18   Transfer From Coml Analysis Ck Account     70451                                        4,121.96
                              08/18   Transfer From Coml Analysis Ck Account     8171                                         6,678.97
                              08/18   Transfer From Coml Analysis Ck Account      3877                                        6,700.08
                              08/18   Transfer From Coml Analysis Ck Account      0830                                        7,645.45
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                                                                             BARFLY VENTURES, LLC                         Page:            6 of 10
                                                                             35 OAKES ST SW STE 400
                                                                             GRAND RAP DS, MI 49503                       Statement Date: 08/31/2020
                                                                                                                          Primary Account: XXXXXX4777




                               CHECKS
MGMCSTMTN 200901-18754-0006




                               Date      Check No     Amount          Date         Check No           Amount       Date      Check No     Amount
                              08/04      83596   *       83.20       08/05         83710                  84.75   08/18       83767         300.00
                              08/07      83618   *      391.94       08/05         83711                  17.93   08/24       83768       3,229.00
                              08/06      83639   *    2,015.00       08/05         83712                 107.33   08/20       83769          27.00
                              08/05      83654           32.00       08/05         83713                 149.98   08/18       83770         303.62
                              08/04      83655   *    1,166.17       08/03         83714                 900.00   08/18       83771       1,810.51
                              08/03      83659          325.00       08/04         83715                 220.58   08/18       83772       3,025.20
                              08/03      83660          325.00       08/04         83716                 277.38   08/18       83773         303.62
                              08/03      83661          325.00       08/04         83717                 834.94   08/18       83774         303.62
                              08/03      83662          325.00       08/03         83718               1,039.14   08/18       83775         421.71
                              08/03      83663          325.00       08/04         83719 *               465.98   08/18       83776         340.00
                              08/03      83664          325.00       08/13         83721              16,480.49   08/18       83777         486.00
                              08/03      83665          325.00       08/11         83722                 354.04   08/20       83778          66.25
                              08/03      83666          325.00       08/12         83723                 190.24   08/19       83779         584.31
                              08/03      83667          325.00       08/12         83724                 253.35   08/20       83780         195.00
                              08/03      83668   *      325.00       08/12         83725               1,968.91   08/20       83781   *     110.00
                              08/03      83670          325.00       08/12         83726               3,191.68   08/18       83783   *     350.00
                              08/03      83671          325.00       08/13         83727                 245.50   08/17       83786       1,770.93
                              08/03      83672          325.00       08/13         83728                  91.58   08/18       83787   *   1,897.40
                              08/03      83673          325.00       08/13         83729                 350.00   08/26       83789   *      69.55
                              08/03      83674          325.00       08/12         83730                  77.32   08/25       83794         365.76
                              08/03      83675          325.00       08/10         83731                 337.13   08/25       83795         220.37
                              08/03      83676          325.00       08/11         83732                 756.00   08/25       83796   *     148.00
                              08/03      83677          325.00       08/11         83733 *               700.00   08/26       83798       1,446.13
                              08/03      83678          325.00       08/12         83735               5,811.56   08/26       83799          39.95
                              08/03      83679          325.00       08/11         83736                 120.00   08/25       83800         596.40
                              08/03      83680          325.00       08/11         83737                 334.96   08/26       83801          39.95
                              08/03      83681          325.00       08/11         83738                 356.16   08/25       83802   *     110.50
                              08/03      83682          325.00       08/11         83739                 298.54   08/24       83804         874.89
                              08/03      83683          325.00       08/11         83740                 365.14   08/24       83805         207.00
                              08/05      83684           69.55       08/12         83741                 180.00   08/26       83806         287.32
                              08/07      83685          163.20       08/17         83742                 307.00   08/25       83807         387.43
                              08/10      83686          618.29       08/13         83743               1,608.66   08/31       83808       2,421.00
                              08/04      83687          870.09       08/13         83744               1,941.50   08/25       83809         192.00
                              08/03      83688          182.21       08/18         83745                 276.03   08/25       83810       2,738.01
                              08/04      83689        1,773.09       08/26         83746                  30.00   08/25       83811         250.56
                              08/05      83690           90.50       08/18         83747                 475.05   08/25       83812         265.00
                              08/06      83691          463.90       08/18         83748                 752.65   08/25       83813         456.60
                              08/03      83692          107.96       08/18         83749                 238.35   08/27       83814         534.80
                              08/03      83693          501.60       08/19         83750               1,995.00   08/27       83815         497.54
                              08/07      83694          108.30       08/19         83751                 233.50   08/27       83816   *     492.98
                              08/04      83695          178.48       08/20         83752                 239.95   08/24       83818       1,266.65
                              08/07      83696          241.01       08/25         83753               2,345.27   08/25       83819         135.06
                              08/04      83697       11,672.16       08/19         83754               1,586.73   08/25       83820         215.80
                              08/13      83698           60.00       08/19         83755               1,063.87   08/24       83821       1,897.40
                              08/03      83699        2,709.00       08/19         83756                  39.57   08/25       83822   *     202.69
                              08/07      83700           27.00       08/20         83757                 150.00   08/31       83827   *      90.50
                              08/05      83701          900.00       08/18         83758               1,453.11   08/31       83829         702.68
                              08/05      83702        4,316.67       08/19         83759                 487.50   08/31       83830   *     772.93
                              08/04      83703           90.00       08/18         83760               3,098.00   08/31       83834   *     347.02
                              08/04      83704        1,186.01       08/19         83761                  20.00   08/28       83839   *     144.45
                              08/04      83705        2,975.00       08/19         83762                   9.50   08/31       83842         300.00
                              08/04      83706          601.02       08/31         83763                 580.00   08/31       83843   *   4,834.65
                              08/04      83707          747.30       08/31         83764                 580.00   08/31       83847   *     895.62
                              08/05      83708          310.57       08/31         83765                 580.00   08/31       83854       1,102.29
                              08/05      83709          107.43       08/31         83766                 580.00   08/31       83855         215.80
                              * Indicates a Gap in Check Number Sequence
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                                                                           35 OAKES ST SW STE 400
                                                                           GRAND RAP DS, MI 49503             Statement Date: 08/31/2020
                                                                                                              Primary Account: XXXXXX4777




                              DEBITS
MGMCSTMTN 200901-18754-0007




                              Date Description                                                                                  Amount
                              08/03   Gordon Food Serv Ar Payment 0001-100246424                                                  240.57
                              08/03   Gordon Food Serv Ar Payment 0001-100112905                                                  634.13
                              08/03   Visa Payment 402884xxxxx7816                                                              3,773.78
                              08/03   Gordon Food Serv Ar Payment 0001-100118234                                                4,221.73
                              08/04   Transfer To Coml Analysis Ck Account       4460                                              27.95
                              08/04   Transfer To Coml Analysis Ck Account        8215                                             27.95
                              08/04   Transfer To Coml Analysis Ck Account        5216                                             27.95
                              08/04   Transfer To Coml Analysis Ck Account        9044                                             57.95
                              08/04   Transfer To Coml Analysis Ck Account        8664                                             57.95
                              08/04   Mthchgs Worldpay Merch Bankcard            Barfly App                                       168.08
                              08/04   Gordon Food Serv Ar Payment 0001-100074259                                                  524.36
                              08/04   Valley City Line Ach Xfer                                                                 1,398.81
                              08/04   Gordon Food Serv Ar Payment 0001-100112905                                                1,641.02
                              08/04   Transfer To Coml Analysis Ck Account       8171                                           1,686.78
                              08/04   Gordon Food Serv Ar Payment 0001-100271780                                                2,785.55
                              08/04   Gordon Food Serv Ar Payment 0001-100119375                                                2,844.28
                              08/04   Gordon Food Serv Ar Payment 0001-100154482                                                2,846.59
                              08/04   Gordon Food Serv Ar Payment 0001-100143273                                                2,914.65
                              08/04   Gordon Food Serv Ar Payment 0001-100018600                                                3,289.82
                              08/04   Gordon Food Serv Ar Payment 0001-100118234                                                3,939.48
                              08/04   Gordon Food Serv Ar Payment 0001-100046117                                                4,724.35
                              08/04   Gordon Food Serv Ar Payment 0001-100246424                                                5,396.78
                              08/04   Gordon Food Serv Ar Payment 0001-100099955                                                6,282.25
                              08/04   Internet Transfer To Internal Bank Ac XXXXXX639 On 8/04/20 At 11:24                      10,000.00
                              08/04   Internet Transfer To Coml Analysis Ck XXXXXX4153 On 8/04/20 At 11:22                     20,000.00
                              08/04   Internet Transfer To Internal Bank Ac XXXXXX639 On 8/04/20 At 11:25                     125,000.00
                              08/05   Transfer To Coml Analysis Ck Account        8215                                             39.03
                              08/05   Transfer To Coml Analysis Ck Account        5216                                             39.03
                              08/05   Transfer To Coml Analysis Ck Account        9044                                             39.03
                              08/05   Transfer To Coml Analysis Ck Account        8664                                             39.03
                              08/05   Enviro-Master In Ach Batch Northern Mi                                                      120.90
                              08/05   Enviro-Master In Ach Batch Grand Rapids                                                   1,336.10
                              08/05   Visa Payment 402884xxxxx7816                                                              1,574.21
                              08/05   Contribute Aegon Usa                                        corp                          2,068.76
                              08/05   Contribute Aegon Usa                                        corp                          2,162.12
                              08/05   Internet Transfer To Internal Bank Ac XXXXXX639 On 8/05/20 At 14:51                      10,000.00
                              08/06   Gordon Food Serv Ar Payment 0001-100074259                                                  552.87
                              08/06   Gordon Food Serv Ar Payment 0001-100271780                                                1,079.60
                              08/06   Gordon Food Serv Ar Payment 0001-100143273                                                1,493.53
                              08/06   Gordon Food Serv Ar Payment 0001-100112905                                                2,246.35
                              08/06   Gordon Food Serv Ar Payment 0001-100118234                                                2,331.88
                              08/06   Gordon Food Serv Ar Payment 0001-100046117                                                2,953.70
                              08/06   Gordon Food Serv Ar Payment 0001-100154482                                                3,641.77
                              08/06   Gordon Food Serv Ar Payment 0001-100246424                                                3,816.46
                              08/06   Gordon Food Serv Ar Payment 0001-100119375                                                4,850.41
                              08/06   Gordon Food Serv Ar Payment 0001-100018600                                                4,954.07
                              08/06   Gordon Food Serv Ar Payment 0001-100099955                                                5,829.24
                              08/06   Internet Transfer To Internal Bank Ac XXXXXX639 On 8/06/20 At 12:21                      31,902.36
                              08/07   Gordon Food Serv Ar Payment 0001-100154482                                                    9.16
                              08/07   Adp Payroll Fees Adp - Fees 10221                                                            39.36
                              08/07   Gordon Food Serv Ar Payment 0001-100118234                                                  117.32
                              08/07   Gordon Food Serv Ar Payment 0001-100018600                                                  212.73
                              08/07   Adp Payroll Fees Adp - Fees 10fb7                                                         2,392.74
                              08/10   Gordon Food Serv Ar Payment 0001-100018600                                                  229.50
                              08/10   Olo - Help@olo.c Purchase Denise Williams                                                   334.31
                              08/10   Olo - Help@olo.c Purchase Denise Williams                                                   336.10
                              08/10   Gordon Food Serv Ar Payment 0001-100112905                                                  464.74
                              08/10   Internet Transfer To Internal Bank Ac XXXXXX639 On 8/10/20 At 13:05                         480.60
                              08/10   Olo - Help@olo.c Purchase Denise Williams                                                 2,145.00
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                                                                           35 OAKES ST SW STE 400
                                                                           GRAND RAP DS, MI 49503             Statement Date: 08/31/2020
                                                                                                              Primary Account: XXXXXX4777




                              DEBITS (Continued)
MGMCSTMTN 200901-18754-0008




                              Date Description                                                                                  Amount
                              08/10   Visa Payment 402884xxxxx7816                                                              3,153.99
                              08/10   Internet Transfer To Internal Bank Ac XXXXXX639 On 8/10/20 At 14:14                       4,391.00
                              08/10   Internet Transfer To Internal Bank Ac XXXXXX639 On 8/10/20 At 14:12                       5,438.45
                              08/10   Gordon Food Serv Ar Payment 0001-100118234                                                6,756.06
                              08/10   Internet Transfer To Internal Bank Ac XXXXXX639 On 8/10/20 At 14:13                       9,035.33
                              08/10   Internet Transfer To Coml Analysis Ck XXXXXX4153 On 8/10/20 At 14:16                     39,386.98
                              08/10   Barfly Ventures 1054 Clm Fund                                                            39,916.74
                              08/11   Transfer To Coml Analysis Ck Account         8215                                            37.32
                              08/11   Ins Prem Enroll 123 Llc Nte*Teladoc Invoice                                                 117.00
                              08/11   Transfer To Coml Analysis Ck Account        0888                                            140.00
                              08/11   Valley City Line Ach Xfer                                                                 1,962.90
                              08/11   Gordon Food Serv Ar Payment 0001-100074259                                                2,061.64
                              08/11   Gordon Food Serv Ar Payment 0001-100271780                                                2,184.53
                              08/11   Gordon Food Serv Ar Payment 0001-100112905                                                2,525.30
                              08/11   Gordon Food Serv Ar Payment 0001-100119375                                                3,390.76
                              08/11   Gordon Food Serv Ar Payment 0001-100154482                                                4,028.81
                              08/11   Gordon Food Serv Ar Payment 0001-100118234                                                4,432.66
                              08/11   Gordon Food Serv Ar Payment 0001-100046117                                                4,480.12
                              08/11   Gordon Food Serv Ar Payment 0001-100018600                                                4,961.37
                              08/11   Gordon Food Serv Ar Payment 0001-100246424                                                4,995.16
                              08/11   Gordon Food Serv Ar Payment 0001-100143273                                                5,407.07
                              08/11   Gordon Food Serv Ar Payment 0001-100099955                                                5,841.74
                              08/12   Gordon Food Serv Ar Payment 0001-100112905                                                   16.90
                              08/12   Gordon Food Serv Ar Payment 0001-100154482                                                   26.68
                              08/12   Enviro-Master In Ach Batch Grand Rapids                                                   1,815.40
                              08/12   Internet Transfer To Coml Analysis Ck XXXXXX4153 On 8/12/20 At 15:26                     27,000.00
                              08/12   Internet Transfer To Internal Bank Ac XXXXXX639 On 8/12/20 At 15:06                      37,903.27
                              08/12   Internet Transfer To Internal Bank Ac XXXXXX639 On 8/12/20 At 15:28                     100,000.00
                              08/13   Gordon Food Serv Ar Payment 0001-100143273                                                1,615.22
                              08/13   Internet Transfer To Internal Bank Ac XXXXXX639 On 8/13/20 At 14:23                       2,714.70
                              08/13   Gordon Food Serv Ar Payment 0001-100099955                                                2,786.95
                              08/13   Gordon Food Serv Ar Payment 0001-100046117                                                2,961.26
                              08/13   Gordon Food Serv Ar Payment 0001-100112905                                                3,234.24
                              08/13   Gordon Food Serv Ar Payment 0001-100074259                                                3,325.84
                              08/13   Gordon Food Serv Ar Payment 0001-100119375                                                3,680.42
                              08/13   Gordon Food Serv Ar Payment 0001-100271780                                                3,820.92
                              08/13   Gordon Food Serv Ar Payment 0001-100154482                                                3,998.33
                              08/13   Gordon Food Serv Ar Payment 0001-100246424                                                4,105.98
                              08/13   Gordon Food Serv Ar Payment 0001-100118234                                                4,665.95
                              08/13   Visa Payment 402884xxxxx7816                                                              5,107.88
                              08/13   Gordon Food Serv Ar Payment 0001-100018600                                                5,314.26
                              08/14   Gordon Food Serv Ar Payment 0001-100018600                                                  135.86
                              08/14   Magii Pension Debits                                                                        250.00
                              08/14   Enviro-Master In Ach Batch Northern Mi                                                      320.90
                              08/17   Transfer To Coml Analysis Ck Account        0888                                             17.30
                              08/17   Gordon Food Serv Ar Payment 0001-100074259                                                   65.43
                              08/17   Transfer To Coml Analysis Ck Account        4460                                             67.30
                              08/17   Transfer To Coml Analysis Ck Account         5216                                            67.30
                              08/17   Transfer To Coml Analysis Ck Account         8664                                            67.30
                              08/17   Transfer To Coml Analysis Ck Account         9044                                            67.60
                              08/17   Transfer To Coml Analysis Ck Account         8215                                            67.90
                              08/17   Commercial Service Charge                                                                   448.49
                              08/17   Gordon Food Serv Ar Payment 0001-100119375                                                  782.51
                              08/17   Gordon Food Serv Ar Payment 0001-100118234                                                5,265.71
                              08/18   Transfer To Coml Analysis Ck Account         9044                                           184.75
                              08/18   Transfer To Coml Analysis Ck Account        0888                                            350.00
                              08/18   Contribute Aegon Usa                                       corp                           2,272.31
                              08/18   Valley City Line Ach Xfer                                                                 2,381.53
                              08/18   Gordon Food Serv Ar Payment 0001-100074259                                                3,058.34
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                                                                           BARFLY VENTURES, LLC               Page:            9 of 10
                                                                           35 OAKES ST SW STE 400
                                                                           GRAND RAP DS, MI 49503             Statement Date: 08/31/2020
                                                                                                              Primary Account: XXXXXX4777




                              DEBITS (Continued)
MGMCSTMTN 200901-18754-0009




                              Date Description                                                                                  Amount
                              08/18   Gordon Food Serv Ar Payment 0001-100112905                                                3,110.30
                              08/18   Gordon Food Serv Ar Payment 0001-100271780                                                3,552.85
                              08/18   Gordon Food Serv Ar Payment 0001-100046117                                                4,483.44
                              08/18   Gordon Food Serv Ar Payment 0001-100246424                                                5,240.59
                              08/18   Gordon Food Serv Ar Payment 0001-100118234                                                5,320.46
                              08/18   Gordon Food Serv Ar Payment 0001-100119375                                                5,343.31
                              08/18   Gordon Food Serv Ar Payment 0001-100143273                                                5,376.77
                              08/18   Gordon Food Serv Ar Payment 0001-100018600                                                5,511.42
                              08/18   Gordon Food Serv Ar Payment 0001-100099955                                                6,624.64
                              08/18   Transfer To Coml Analysis Ck Account        3840                                          7,115.18
                              08/18   Gordon Food Serv Ar Payment 0001-100154482                                                8,347.44
                              08/18   Internet Transfer To Internal Bank Ac XXXXXX639 On 8/18/20 At 8:53                        9,200.00
                              08/18   Internet Transfer To Coml Analysis Ck XXXXXX4153 On 8/18/20 At 9:00                      10,000.00
                              08/18   Internet Transfer To Internal Bank Ac XXXXXX639 On 8/18/20 At 8:56                       10,000.00
                              08/18   Internet Transfer To Internal Bank Ac XXXXXX639 On 8/18/20 At 8:54                       12,000.00
                              08/18   Internet Transfer To Internal Bank Ac XXXXXX639 On 8/18/20 At 8:59                      150,000.00
                              08/19   Gordon Food Serv Ar Payment 0001-100074259                                                   14.70
                              08/19   Gordon Food Serv Ar Payment 0001-100018600                                                   33.92
                              08/19   Gordon Food Serv Ar Payment 0001-100271780                                                   34.48
                              08/19   Gordon Food Serv Ar Payment 0001-100154482                                                   53.98
                              08/19   Gordon Food Serv Ar Payment 0001-100119375                                                   73.61
                              08/19   Gordon Food Serv Ar Payment 0001-100246424                                                   89.65
                              08/19   Transfer To Coml Analysis Ck Account       0888                                             140.00
                              08/19   Enviro-Master In Ach Batch Grand Rapids                                                   1,514.80
                              08/19   Visa Payment 402884xxxxx7816                                                              3,091.29
                              08/19   Transfer To Coml Analysis Ck Account        0830                                          3,226.24
                              08/19   Internet Transfer To Internal Bank Ac XXXXXX639 On 8/19/20 At 13:44                      17,653.36
                              08/20   Transfer To Coml Analysis Ck Account       4460                                             239.16
                              08/20   Transfer To Coml Analysis Ck Account       4123                                             244.27
                              08/20   Gordon Food Serv Ar Payment 0001-100074259                                                1,783.90
                              08/20   Gordon Food Serv Ar Payment 0001-100143273                                                2,325.35
                              08/20   Gordon Food Serv Ar Payment 0001-100099955                                                3,576.38
                              08/20   Gordon Food Serv Ar Payment 0001-100112905                                                3,916.02
                              08/20   Gordon Food Serv Ar Payment 0001-100018600                                                3,966.70
                              08/20   Gordon Food Serv Ar Payment 0001-100118234                                                4,036.52
                              08/20   Gordon Food Serv Ar Payment 0001-100154482                                                4,546.65
                              08/20   Gordon Food Serv Ar Payment 0001-100046117                                                4,574.73
                              08/20   Gordon Food Serv Ar Payment 0001-100271780                                                4,776.12
                              08/20   Gordon Food Serv Ar Payment 0001-100119375                                                4,937.30
                              08/20   Gordon Food Serv Ar Payment 0001-100246424                                                5,941.13
                              08/21   Gordon Food Serv Ar Payment 0001-100112905                                                    9.02
                              08/21   Transfer To Coml Analysis Ck Account        0488                                             21.26
                              08/21   Gordon Food Serv Ar Payment 0001-100074259                                                   76.07
                              08/21   Enviro-Master In Ach Batch Northern Mi                                                      105.00
                              08/21   Gordon Food Serv Ar Payment 0001-100271780                                                  133.96
                              08/21   Gordon Food Serv Ar Payment 0001-100018600                                                  152.03
                              08/21   Gordon Food Serv Ar Payment 0001-100046117                                                  402.17
                              08/21   Internet Transfer To Internal Bank Ac XXXXXX639 On 8/21/20 At 11:52                      17,000.00
                              08/21   Internet Transfer To Coml Analysis Ck XXXXXX4153 On 8/21/20 At 11:53                     33,000.00
                              08/24   Gordon Food Serv Ar Payment 0001-100119375                                                  129.88
                              08/24   Gordon Food Serv Ar Payment 0001-100154482                                                  249.71
                              08/24   Gordon Food Serv Ar Payment 0001-100018600                                                3,616.08
                              08/24   Gordon Food Serv Ar Payment 0001-100118234                                                4,502.47
                              08/25   Transfer To Coml Analysis Ck Account       0888                                              70.00
                              08/25   Valley City Line Ach Xfer                                                                 1,961.67
                              08/25   Gordon Food Serv Ar Payment 0001-100074259                                                2,341.95
                              08/25   Gordon Food Serv Ar Payment 0001-100046117                                                4,488.21
                              08/25   Gordon Food Serv Ar Payment 0001-100112905                                                4,586.18
                              08/25   Gordon Food Serv Ar Payment 0001-100018600                                                5,539.31
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                                                                           35 OAKES ST SW STE 400
                                                                           GRAND RAP DS, MI 49503                Statement Date: 08/31/2020
                                                                                                                 Primary Account: XXXXXX4777




                              DEBITS (Continued)
MGMCSTMTN 200901-18754-0010




                              Date Description                                                                                     Amount
                              08/25   Gordon Food Serv Ar Payment 0001-100271780                                                   6,513.07
                              08/25   Gordon Food Serv Ar Payment 0001-100246424                                                   6,949.86
                              08/25   Gordon Food Serv Ar Payment 0001-100099955                                                   6,968.94
                              08/25   Gordon Food Serv Ar Payment 0001-100118234                                                   7,401.19
                              08/25   Per Shawn Blonk                                                                              8,465.33
                              08/25   Gordon Food Serv Ar Payment 0001-100119375                                                   8,861.87
                              08/25   Gordon Food Serv Ar Payment 0001-100154482                                                   8,922.88
                              08/25   Gordon Food Serv Ar Payment 0001-100143273                                                   9,804.38
                              08/25   Barfly Ventures 1054 Sept Fees                                                              20,665.42
                              08/26   Gordon Food Serv Ar Payment 0001-100154482                                                     128.29
                              08/26   Transfer To Coml Analysis Ck Account       4123                                                338.09
                              08/26   Transfer To Coml Analysis Ck Account        9227                                               610.74
                              08/26   Transfer To Coml Analysis Ck Account       1069                                                899.06
                              08/26   Transfer To Coml Analysis Ck Account        3859                                             1,882.19
                              08/26   Transfer To Coml Analysis Ck Account        0451                                             2,666.60
                              08/26   Transfer To Coml Analysis Ck Account       4115                                              2,704.24
                              08/26   Internet Transfer To Internal Bank Ac XXXXXX639 On 8/26/20 At 15:08                          8,100.00
                              08/26   Internet Transfer To Internal Bank Ac XXXXXX639 On 8/26/20 At 15:07                         30,000.00
                              08/26   Internet Transfer To Coml Analysis Ck XXXXXX4153 On 8/26/20 At 15:05                        43,000.00
                              08/26   Internet Transfer To Internal Bank Ac XXXXXX639 On 8/26/20 At 12:14                        220,513.61
                              08/27   Gordon Food Serv Ar Payment 0001-100074259                                                   1,661.66
                              08/27   Enviro-Master In Ach Batch Grand Rapids                                                      1,766.80
                              08/27   Gordon Food Serv Ar Payment 0001-100143273                                                   2,086.12
                              08/27   Gordon Food Serv Ar Payment 0001-100046117                                                   2,545.33
                              08/27   Gordon Food Serv Ar Payment 0001-100118234                                                   3,072.45
                              08/27   Gordon Food Serv Ar Payment 0001-100018600                                                   3,572.90
                              08/27   Gordon Food Serv Ar Payment 0001-100271780                                                   3,783.02
                              08/27   Gordon Food Serv Ar Payment 0001-100112905                                                   4,324.03
                              08/27   Gordon Food Serv Ar Payment 0001-100099955                                                   4,414.95
                              08/27   Gordon Food Serv Ar Payment 0001-100246424                                                   5,112.79
                              08/27   Gordon Food Serv Ar Payment 0001-100154482                                                   6,096.28
                              08/27   Gordon Food Serv Ar Payment 0001-100119375                                                   6,293.22
                              08/27   Internet Transfer To Internal Bank Ac XXXXXX639 On 8/27/20 At 13:18                         42,345.00
                              08/28   Gordon Food Serv Ar Payment 0001-100112905                                                      19.49
                              08/28   Gordon Food Serv Ar Payment 0001-100018600                                                      74.78
                              08/28   Gordon Food Serv Ar Payment 0001-100271780                                                      77.48
                              08/28   Enviro-Master In Ach Batch Northern Mi                                                         120.90
                              08/28   Gordon Food Serv Ar Payment 0001-100154482                                                     289.51
                              08/31   Gordon Food Serv Ar Payment 0001-100112905                                                      92.51
                              08/31   Transfer To Coml Analysis Ck Account       0888                                                315.20
                              08/31   Gordon Food Serv Ar Payment 0001-100246424                                                   1,117.65
                              08/31   Gordon Food Serv Ar Payment 0001-100154482                                                   2,913.02
                              08/31   Gordon Food Serv Ar Payment 0001-100119375                                                   3,155.13
                              08/31   Gordon Food Serv Ar Payment 0001-100018600                                                   3,162.65
                              08/31   Gordon Food Serv Ar Payment 0001-100118234                                                   5,251.67

                              DAILY BALANCE
                                Date                  Balance             Date                      Balance   Date            Balance
                                 08/03              290,078.37           08/12                101,304.27      08/21        195,368.37
                                 08/04               99,933.13           08/13                 80,608.33      08/24        457,056.24
                                 08/05              110,046.47           08/14                147,667.99      08/25        412,091.80
                                 08/06               80,488.05           08/17                395,324.68      08/26        121,111.49
                                 08/07              140,553.67           08/18                173,713.33      08/27         71,206.62
                                 08/10              236,066.06           08/19                183,441.26      08/28        140,320.92
                                 08/11              236,571.86           08/20                185,439.08      08/31        396,742.46
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                                                  BarFly Ventures
                                                Reconciliation Report
                                                         As Of 08/30/2020
                                                Account: Checking - BarFly Oper Merc
Statement Ending Balance                                                                                                140,320.92
Deposits in Transit                                                                                                       3,926.92
Outstanding Checks and Charges                                                                                          -78,930.69
Adjusted Bank Balance                                                                                                   65,317.15


Book Balance                                                                                                             65,317.15
Adjustments*                                                                                                                  0.00
Adjusted Book Balance                                                                                                   65,317.15




                                 Total Checks and Charges Cleared             530,224.99   Total Deposits Cleared       475,177.54



Deposits
Name                             Memo                                         Date              Doc No       Cleared     In Transit
General Ledger Entry             GFS             HCHL                        07/17/2020                                      13.80
General Ledger Entry             GFS             HCDT                        07/17/2020                                      16.56
General Ledger Entry             GFS             HCEL                        07/17/2020                                      11.04
General Ledger Entry             GFS             HCLN                        07/17/2020                                      14.74
General Ledger Entry             GFS             HCAA                        07/17/2020                                      24.84
General Ledger Entry             GFS             HCIN                        07/17/2020                                        8.16
General Ledger Entry             GFS             HCBL                        07/17/2020                                        8.28
General Ledger Entry             GFS             GRBC                        07/17/2020                                        5.72
General Ledger Entry             Paytronix E-Gift Card Payment               07/20/2020             eft                      25.00
General Ledger Entry             Paytronix E-Gift Card Payment               07/23/2020             eft                      25.00
General Ledger Entry             Reversed -- VISA PAYMENT 402884XXXXX7816    08/03/2020             eft                   3,773.78
General Ledger Entry             Interco CASH                                08/24/2020             eft     13,677.31
General Ledger Entry             Paytronix E-Gift Card Payment AMEX          08/24/2020             eft         96.38
General Ledger Entry             Interco CASH                                08/24/2020             eft     36,722.58
General Ledger Entry             Interco CASH                                08/24/2020             eft     34,980.00
General Ledger Entry             Interco CASH                                08/24/2020             eft     33,476.70
General Ledger Entry             Interco CASH                                08/24/2020             eft     30,450.40
General Ledger Entry             Interco CASH                                08/24/2020             eft     28,451.54
General Ledger Entry             Interco CASH                                08/24/2020             eft     27,303.62
General Ledger Entry             Interco CASH                                08/24/2020             eft     19,694.07
General Ledger Entry             Interco CASH                                08/24/2020             eft     17,751.50
General Ledger Entry             Interco CASH                                08/24/2020             eft     17,708.19
General Ledger Entry             Interco CASH                                08/24/2020             eft     17,348.66
General Ledger Entry             Interco CASH                                08/25/2020             eft      2,117.18
General Ledger Entry             Interco CASH                                08/25/2020             eft      2,272.60
General Ledger Entry             Interco CASH                                08/25/2020             eft     18,919.09
General Ledger Entry             Interco CASH                                08/25/2020             eft      9,506.47
General Ledger Entry             Interco CASH                                08/25/2020             eft      6,571.58
General Ledger Entry             Interco CASH                                08/25/2020             eft      3,760.38
General Ledger Entry             Interco CASH                                08/25/2020             eft      3,757.31
General Ledger Entry             Interco CASH                                08/25/2020             eft      3,726.40
General Ledger Entry             Interco CASH                                08/25/2020             eft      3,344.63
General Ledger Entry             Interco CASH                                08/25/2020             eft      2,873.38
General Ledger Entry             Interco CASH                                08/25/2020             eft      2,838.26
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Grubhub                                                                          08/25/2020                 1,341.58
Grubhub                                                                          08/25/2020                 1,894.55
Grubhub                                                                          08/25/2020                 4,281.86
General Ledger Entry               Interco CASH                                  08/26/2020          eft    7,484.66
General Ledger Entry               Interco CASH                                  08/26/2020          eft    2,837.85
General Ledger Entry               Interco CASH                                  08/26/2020          eft    1,540.72
General Ledger Entry               Interco CASH                                  08/26/2020          eft    1,278.24
General Ledger Entry               Interco CASH                                  08/26/2020          eft    8,633.94
General Ledger Entry               Interco CASH                                  08/27/2020          eft    1,419.54
General Ledger Entry               Paytronix E-Gift Card Payment                 08/27/2020          eft     130.00
General Ledger Entry               Interco CASH                                  08/27/2020          eft     548.35
General Ledger Entry               Interco CASH                                  08/27/2020          eft     625.37
General Ledger Entry               Interco CASH                                  08/27/2020          eft    6,212.60
General Ledger Entry               Interco CASH                                  08/27/2020          eft    4,266.10
General Ledger Entry               Interco CASH                                  08/27/2020          eft    3,552.04
General Ledger Entry               Interco CASH                                  08/27/2020          eft    3,292.84
General Ledger Entry               Interco CASH                                  08/27/2020          eft    3,197.47
General Ledger Entry               Interco CASH                                  08/27/2020          eft    8,477.74
General Ledger Entry               Interco CASH                                  08/27/2020          eft    2,210.32
General Ledger Entry               Interco CASH                                  08/27/2020          eft    2,010.59
General Ledger Entry               Blackhawk Payment                             08/27/2020          eft    1,381.25
City of Grand Rapids               HCGR Window Repair Reimbursement              08/27/2020                 1,345.79
City of Kansas City                Catered Event Refund                          08/27/2020                   25.00
General Ledger Entry               Paytronix E-Gift Card Payment                 08/28/2020          eft     145.00
General Ledger Entry               Interco CASH                                  08/28/2020          eft   10,634.63
General Ledger Entry               Interco CASH                                  08/28/2020          eft    9,212.47
General Ledger Entry               Interco CASH                                  08/28/2020          eft    8,511.37
General Ledger Entry               Interco CASH                                  08/28/2020          eft    7,429.71
General Ledger Entry               Interco CASH                                  08/28/2020          eft    4,597.77
General Ledger Entry               Interco CASH                                  08/28/2020          eft    4,184.87
General Ledger Entry               Interco CASH                                  08/28/2020          eft    3,645.21
General Ledger Entry               Interco CASH                                  08/28/2020          eft    3,640.18
General Ledger Entry               Interco CASH                                  08/28/2020          eft    2,876.34
General Ledger Entry               Interco CASH                                  08/28/2020          eft    1,791.99
General Ledger Entry               Interco CASH                                  08/28/2020          eft   13,142.59
General Ledger Entry               GFS            HCAA                           08/28/2020                   28.78
Total Deposits                                                                                             ########      3,926.92



Checks and Charges
Name                               Memo                                            Date        Check No     Cleared    Outstanding
Recovery Allies of West M chigan                                                 09/25/2019       81620                     100.00
Breanne Millstein                                                                01/02/2020       82781                      16.00
Innovo Development Group,- RO                                                    03/05/2020       83448                     360.51
General Ledger Entry               PNC and US Bank Transfer                      05/06/2020          eft                 28,500.00
Enroll123, LLC                                                                   05/13/2020          eft                     18.00
Jill Spruit                                                                      05/28/2020       83530                     165.00
General Ledger Entry               AVIDPAY BARFLY VENTURES REF*CK*83218*200214*M 05/29/2020                                 450.00
General Ledger Entry               HCRO ACCIDENT FUND ONLINE PAY                 06/04/2020          eft                     57.95
General Ledger Entry               HCKC ACCIDENT FUND ONLINE PAY                 06/04/2020          eft                     57.95
General Ledger Entry               HCMN ACCIDENT FUND ONLINE PAY                 06/04/2020          eft                     57.95
General Ledger Entry               HCMD ACCIDENT FUND ONLINE PAY                 06/04/2020          eft                     27.95
General Ledger Entry               HCMN ACCIDENT FUND ONLINE PAY                 06/04/2020          eft                     17.50
General Ledger Entry               GRBC ACCIDENT FUND ONLINE PAY                 06/04/2020          eft                     27.95
General Ledger Entry               HCLV ACCIDENT FUND ONLINE PAY                 06/04/2020          eft                     22.95
General Ledger Entry               HCLV ACCIDENT FUND ONLINE PAY                 06/04/2020                                  17.50
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General Ledger Entry                    HCRO ACCIDENT FUND ONLINE PAY                  06/04/2020                             17.50
General Ledger Entry                    HCKC ACCIDENT FUND ONLINE PAY                  06/04/2020                             17.50
General Ledger Entry                    HCMD ACCIDENT FUND ONLINE PAY                  06/04/2020                             17.50
General Ledger Entry                    HCKZ ACCIDENT FUND ONLINE PAY                  06/05/2020          eft                57.95
City of Grand Rapids Income Tax Dept                                                   06/05/2020       83545               1,497.00
Kentucky Department of Revenue                                                         06/05/2020       83546               1,216.00
Lexington-Fayette Divis on of Revenue                                                  06/05/2020       83547                100.00
General Ledger Entry                    HCBEL ACCIDENT FUND ONLINE PAY                 06/05/2020                             17.50
General Ledger Entry                    HCKZ ACCIDENT FUND ONLINE PAY                  06/05/2020                             17.50
General Ledger Entry                    HCLN ACCIDENT FUND ONLINE PAY                  06/10/2020          eft                80.00
General Ledger Entry                    HCEL ACCIDENT FUND ONLINE PAY                  06/10/2020          eft                27.95
General Ledger Entry                    HCAA ACCIDENT FUND ONLINE PAY                  06/10/2020                             17.50
General Ledger Entry                    HCLN ACCIDENT FUND ONLINE PAY                  06/10/2020                             17.50
General Ledger Entry                    HCEL ACCIDENT FUND ONLINE PAY                  06/10/2020                             17.50
Valley C ty Linen                                                                      06/16/2020          eft              1,224.21
General Ledger Entry                    HCKC ACCIDENT FUND ONLINE PAY                  06/18/2020          eft               686.67
Valley C ty Linen                                                                      06/29/2020       adj CC               212.00
Valley C ty Linen                                                                      06/29/2020       adj CC               212.00
Valley C ty Linen                                                                      06/29/2020       adj CC               212.00
Valley C ty Linen                                                                      06/29/2020       adj CC               212.00
Valley C ty Linen                                                                      06/29/2020       adj CC               212.00
Valley C ty Linen                                                                      06/29/2020       adj CC               212.00
United States Treasury                                                                 07/23/2020       83658                815.34
Omega :Yeast Labs                                                                      08/06/2020       83734                642.00
Brydon, Swearengen & England P.C                                                       08/12/2020       83746       30.00
Deatons Mechanical Co                                                                  08/12/2020       83753    2,345.27
Kent County Health Department                                                          08/12/2020       83763                580.00
Kent County Health Department                                                          08/12/2020       83764                580.00
Kent County Health Department                                                          08/12/2020       83765                580.00
Kent County Health Department                                                          08/12/2020       83766                580.00
Michigan Restaurant Association                                                        08/12/2020       83768    3,229.00
General Ledger Entry                                                                   08/15/2020
                                        Reversed -- GORDON FOOD SERV AR PAYMENT 0001-100                   eft                11.75
Advantage Water Cond. Inc.                                                             08/19/2020       83789       69.55
Arrowaste Inc.                                                                         08/19/2020       83790               1,052.46
Arrowaste Inc.                                                                         08/19/2020       83791                461.77
Arrowaste Inc.                                                                         08/19/2020       83792               1,238.48
Arrowaste Inc.                                                                         08/19/2020       83793                877.76
AT_T                                                                                   08/19/2020       83794     365.76
AT_T                                                                                   08/19/2020       83795     220.37
Carlin, Edwards, Brown PLLC                                                            08/19/2020       83796     148.00
City of Detro t                                                                        08/19/2020       83797                173.00
City of Kalamazoo                                                                      08/19/2020       83798    1,446.13
Comcast                                                                                08/19/2020       83799       39.95
Comcast                                                                                08/19/2020       83800     596.40
Comcast                                                                                08/19/2020       83801       39.95
Cozzini Bros Inc                                                                       08/19/2020       83802     110.50
Deatons Mechanical Co                                                                  08/19/2020       83803                551.00
ECOLAB                                                                                 08/19/2020       83804     874.89
Ecolab Pest Elim Div                                                                   08/19/2020       83805     207.00
fintech                                                                                08/19/2020       83806     287.32
Great America Financial Services                                                       08/19/2020       83807     387.43
Hoekstra Electrical Serv ces                                                           08/19/2020       83808               2,421.00
Integr ty Business Solutions                                                           08/19/2020       83809     192.00
Kone Inc                                                                               08/19/2020       83810    2,738.01
Middleton Printing                                                                     08/19/2020       83811     250.56
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R3 Continuum                                                                 08/19/2020       83812     265.00
Sonitrol Great Lakes - Michigan                                              08/19/2020       83813     456.60
TDS                                                                          08/19/2020       83814     534.80
TDS                                                                          08/19/2020       83815     497.54
TDS                                                                          08/19/2020       83816     492.98
The Lock Up Storage Centers                                                  08/19/2020       83817                227.60
United Electrical Contractors                                                08/19/2020       83818    1,266.65
Uribe Refuse Serv ces                                                        08/19/2020       83819     135.06
Welders Supply Company                                                       08/19/2020       83820     215.80
Wisely Inc.                                                                  08/19/2020       83821    1,897.40
AT_T                                                                         08/20/2020       83822     202.69
Gordon Food Service                                                          08/24/2020         eft     129.88
Gordon Food Service                                                          08/24/2020         eft     249.71
Gordon Food Service                                                          08/24/2020         eft    3,616.08
Gordon Food Service                                                          08/24/2020         eft    4,502.47
Gordon Food Service                                                          08/25/2020         eft    5,539.31
General Ledger Entry                   VISA PAYMENT 402884XXXXX7816          08/25/2020         eft    8,465.33
Valley C ty Linen                                                            08/25/2020         eft    1,961.67
Gordon Food Service                                                          08/25/2020         eft    2,341.95
Gordon Food Service                                                          08/25/2020         eft    6,513.07
ASR Health Benefits                                                          08/25/2020         eft   20,665.42
Gordon Food Service                                                          08/25/2020         eft    9,804.38
Gordon Food Service                                                          08/25/2020         eft    8,861.87
Gordon Food Service                                                          08/25/2020         eft    6,968.94
Gordon Food Service                                                          08/25/2020         eft    7,401.19
Gordon Food Service                                                          08/25/2020         eft    4,586.18
Gordon Food Service                                                          08/25/2020         eft    6,949.86
Gordon Food Service                                                          08/25/2020         eft    8,922.88
Gordon Food Service                                                          08/25/2020         eft    4,488.21
General Ledger Entry                   Interco CASH                          08/25/2020         eft       70.00
General Ledger Entry                   PNC, Chemical and US Bank Transfer    08/26/2020           0   30,000.00
General Ledger Entry                   PNC, Chemical and US Bank Transfer    08/26/2020           0    8,100.00
General Ledger Entry                   PNC, Chemical and US Bank Transfer    08/26/2020         eft   43,000.00
Gordon Food Service                                                          08/26/2020         eft     128.29
General Ledger Entry                   Interco CASH                          08/26/2020         eft    2,704.24
General Ledger Entry                   Interco CASH                          08/26/2020         eft    2,666.60
General Ledger Entry                   Interco CASH                          08/26/2020         eft    1,882.19
General Ledger Entry                   Interco CASH                          08/26/2020         eft     899.06
General Ledger Entry                   Interco CASH                          08/26/2020         eft     610.74
General Ledger Entry                   Interco CASH                          08/26/2020         eft     338.09
787 Networks                                                                 08/26/2020       83823                497.70
Aspen Waste Systems Inc                                                      08/26/2020       83824                727.88
Bright House Networks                                                        08/26/2020       83825                588.97
Comcast                                                                      08/26/2020       83826                950.52
Cozzini Bros Inc                                                             08/26/2020       83827                 90.50
DIRECTV                                                                      08/26/2020       83828                304.99
ECOLAB                                                                       08/26/2020       83829                702.68
Ecolab Pest Elim Div                                                         08/26/2020       83830                772.93
Empire Disposal                                                              08/26/2020       83831                480.00
Engineered Protection Systems Inc                                            08/26/2020       83832               1,357.74
FedEx                                                                        08/26/2020       83833                 98.76
Ferris Coffee & Nut Company, Inc                                             08/26/2020       83834                347.02
Hoekstra Electrical Serv ces                                                 08/26/2020       83835                525.50
Holston Gases                                                                08/26/2020       83836                229.24
HotSchedules.com, Inc                                                        08/26/2020       83837               6,204.93
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Humid ty Controls LLC                                                      08/26/2020        83838                  60.00
Integr ty Business Solutions                                               08/26/2020        83839      144.45
Keg Logistics LLC                                                          08/26/2020        83840                 756.00
Kidwell, Inc.                                                              08/26/2020        83841                 190.97
Michigan Natural Storage Co                                                08/26/2020        83842                 300.00
Mutual of Omaha                                                            08/26/2020        83843                4,834.65
One Way Products                                                           08/26/2020        83844                1,446.90
Paytronix Systems, Inc.                                                    08/26/2020        83845                5,173.58
Printing Productions Ink                                                   08/26/2020        83846                 188.54
Sonitrol Great Lakes - Michigan                                            08/26/2020        83847                 895.62
Sonitrol of Lexington, Inc.                                                08/26/2020        83848                 142.53
Star 2 Star Communications LLC                                             08/26/2020        83849                 107.56
TalentReef                                                                 08/26/2020        83850                 900.00
VSP Insurance Co.                                                          08/26/2020        83851                 584.07
VSP Insurance Co.                                                          08/26/2020        83852                 128.67
VSP Insurance Co.                                                          08/26/2020        83853                 131.82
Waste Management of Michigan                                               08/26/2020        83854                1,102.29
Welders Supply Company                                                     08/26/2020        83855                 215.80
Swanel Beverage Inc                                                        08/26/2020        83856                 901.18
Airgas USA LLC - Rental                      BILLPMT                       08/26/2020   7.24138E+13     657.69
NuArx Inc.                                   BILLPMT                       08/26/2020   7.24138E+13    3,102.65
Av dXchange Inc.                             BILLPMT                       08/26/2020   7.24138E+13    1,707.15
Century Link Communications                  BILLPMT                       08/26/2020   7.24138E+13     290.88
Creative Ice                                 BILLPMT                       08/26/2020   7.24138E+13      89.00
Driscon LLC                                  BILLPMT                       08/26/2020   7.24138E+13      84.55
DVCLEANINDY, LLC                             BILLPMT                       08/26/2020   7.24138E+13    3,325.00
Grand Rap ds Graphix                         BILLPMT                       08/26/2020   7.24138E+13    1,890.00
My Green Michigan LLC                        BILLPMT                       08/26/2020   7.24138E+13     464.50
NuCO2                                        BILLPMT                       08/26/2020   7.24138E+13     430.05
Premier Building Maintenance                 BILLPMT                       08/26/2020   7.24138E+13    2,727.50
R. L. Schrieber                              BILLPMT                       08/26/2020   7.24138E+13     168.96
Rotella's Italian Bakery, Inc.               BILLPMT                       08/26/2020   7.24138E+13     531.02
Sparkling Windows Corp.                      BILLPMT                       08/26/2020   7.24138E+13     560.00
Timothy Gauthier                             BILLPMT                       08/26/2020   7.24138E+13    1,237.50
Town Center Inc.                             BILLPMT                       08/26/2020   7.24138E+13    3,172.70
Unifirst Corporation - Lincoln               BILLPMT                       08/26/2020   7.24138E+13     206.53
Jaffe, Ra tt, Heuer and Weiss Professional   BILLPMT                       08/26/2020   7.24138E+13   20,040.00
Rock Creek Advisors LLC                      BILLPMT                       08/26/2020   7.24138E+13   99,695.76
Sugar Felsenthal Grais & Helsinger LLP       BILLPMT                       08/26/2020   7.24138E+13   26,235.00
Warner Norcross _ Juddd, LLP                 BILLPMT                       08/26/2020   7.24138E+13   53,855.17
Rick Smith                                                                 08/26/2020   7.24138E+13      42.00
Gordon Food Service                                                        08/27/2020           eft    6,293.22
Gordon Food Service                                                        08/27/2020           eft    4,414.95
Gordon Food Service                                                        08/27/2020           eft    1,661.66
Gordon Food Service                                                        08/27/2020           eft    3,572.90
Gordon Food Service                                                        08/27/2020           eft    4,324.03
Gordon Food Service                                                        08/27/2020           eft    2,545.33
Gordon Food Service                                                        08/27/2020           eft    2,086.12
Gordon Food Service                                                        08/27/2020           eft    5,112.79
Gordon Food Service                                                        08/27/2020           eft    3,783.02
Gordon Food Service                                                        08/27/2020           eft    3,072.45
Gordon Food Service                                                        08/27/2020           eft    6,096.28
Enviro-Master of West Michigan                                             08/27/2020           eft    1,766.80
Swept Away                                   BILLPMT                       08/27/2020   7.24138E+13    2,345.00
Mastodon Ventures, Inc.                      BILLPMT                       08/27/2020   7.24138E+13   40,000.00
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Gordon Food Service                                                08/28/2020         eft       74.78
Gordon Food Service                                                08/28/2020         eft       77.48
Enviro-Master of West Michigan                                     08/28/2020         eft     120.90
Gordon Food Service                                                08/28/2020         eft     289.51
Gordon Food Service                                                08/28/2020         eft       19.49
Total Checks and Charges                                                                    ########    78,930.69
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General Ledger Entry               Interco CASH                       08/18/2020          eft      1,556.70
General Ledger Entry               Interco CASH                       08/19/2020          eft      3,534.37
General Ledger Entry               Interco CASH                       08/19/2020          eft      9,128.38
General Ledger Entry               Interco CASH                       08/19/2020          eft      7,571.56
General Ledger Entry               Interco CASH                       08/19/2020          eft      7,090.01
General Ledger Entry               Interco CASH                       08/19/2020          eft      3,608.82
General Ledger Entry               Interco CASH                       08/19/2020          eft      3,226.37
General Ledger Entry               Interco CASH                       08/19/2020          eft      2,359.76
General Ledger Entry               Interco CASH                       08/19/2020          eft      1,984.38
General Ledger Entry               Interco CASH                       08/19/2020          eft      1,501.16
General Ledger Entry               Interco CASH                       08/19/2020          eft      1,484.38
General Ledger Entry               Interco CASH                       08/19/2020          eft       184.75
General Ledger Entry               Interco CASH                       08/20/2020          eft      3,160.55
General Ledger Entry               Interco CASH                       08/20/2020          eft      3,007.76
General Ledger Entry               Interco CASH                       08/20/2020          eft      2,372.27
General Ledger Entry               Interco CASH                       08/20/2020          eft      1,203.93
General Ledger Entry               Blackhawk Payment                  08/20/2020          eft      1,338.75
General Ledger Entry               Paytronix E-Gift Card Payment      08/20/2020          eft        85.00
General Ledger Entry               Interco CASH                       08/20/2020          eft     10,393.01
General Ledger Entry               Interco CASH                       08/20/2020          eft      9,902.22
General Ledger Entry               Interco CASH                       08/20/2020          eft      5,184.91
General Ledger Entry               Interco CASH                       08/20/2020          eft      3,837.63
General Ledger Entry               Interco CASH                       08/20/2020          eft      3,656.40
General Ledger Entry               Interco CASH                       08/20/2020          eft      3,507.82
General Ledger Entry               Interco CASH                       08/21/2020          eft     10,704.62
General Ledger Entry               Interco CASH                       08/21/2020          eft      9,304.70
General Ledger Entry               Interco CASH                       08/21/2020          eft      9,222.43
General Ledger Entry               Interco CASH                       08/21/2020          eft      8,272.10
General Ledger Entry               Interco CASH                       08/21/2020          eft      7,115.68
General Ledger Entry               Interco CASH                       08/21/2020          eft      5,332.85
General Ledger Entry               Interco CASH                       08/21/2020          eft      4,179.82
General Ledger Entry               Interco CASH                       08/21/2020          eft      3,746.66
General Ledger Entry               Interco CASH                       08/21/2020          eft      2,777.40
General Ledger Entry               Interco CASH                       08/21/2020          eft        97.54
General Ledger Entry               Paytronix E-Gift Card Payment      08/21/2020          eft        75.00
Total Deposits                                                                                  460,501.30      3,926.92



Checks and Charges
Name                               Memo                                 Date        Check No       Cleared    Outstanding
Recovery Allies of West M chigan                                      09/25/2019       81620                       100.00
Breanne Millstein                                                     01/02/2020       82781                        16.00
Innovo Development Group,- RO                                         03/05/2020       83448                       360.51
General Ledger Entry               PNC and US Bank Transfer           05/06/2020          eft                   28,500.00
Enroll123, LLC                                                        05/13/2020          eft                       18.00
Jill Spruit                                                           05/28/2020       83530                       165.00
General Ledger Entry               AVIDPAY BARFLY VENTURES REF*CK*    05/29/2020                                   450.00
General Ledger Entry               HCMD ACCIDENT FUND ONLINE PAY      06/04/2020          eft                       27.95
General Ledger Entry               HCRO ACCIDENT FUND ONLINE PAY      06/04/2020          eft                       57.95
General Ledger Entry               HCLV ACCIDENT FUND ONLINE PAY      06/04/2020          eft                       22.95
General Ledger Entry               GRBC ACCIDENT FUND ONLINE PAY      06/04/2020          eft                       27.95
General Ledger Entry               HCMN ACCIDENT FUND ONLINE PAY     9 06/04/2020         eft                       17.50
General Ledger Entry               HCMN ACCIDENT FUND ONLINE PAY      06/04/2020          eft                       57.95
General Ledger Entry               HCKC ACCIDENT FUND ONLINE PAY      06/04/2020          eft                       57.95
General Ledger Entry               HCMD ACCIDENT FUND ONLINE PAY      06/04/2020                                    17.50
General Ledger Entry               HCLV ACCIDENT FUND ONLINE PAY      06/04/2020                                    17.50
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General Ledger Entry                    HCKC ACCIDENT FUND ONLINE PAY     06/04/2020                           17.50
General Ledger Entry                    HCRO ACCIDENT FUND ONLINE PAY     06/04/2020                           17.50
General Ledger Entry                    HCKZ ACCIDENT FUND ONLINE PAY     06/05/2020        eft                57.95
City of Grand Rapids Income Tax Dept                                      06/05/2020     83545               1,497.00
Kentucky Department of Revenue                                            06/05/2020     83546               1,216.00
Lexington-Fayette Divis on of Revenue                                     06/05/2020     83547                100.00
General Ledger Entry                    HCKZ ACCIDENT FUND ONLINE PAY     06/05/2020                           17.50
General Ledger Entry                    HCBEL ACCIDENT FUND ONLINE PAY   9 06/05/2020                          17.50
General Ledger Entry                    HCEL ACCIDENT FUND ONLINE PAY     06/10/2020        eft                27.95
General Ledger Entry                    HCLN ACCIDENT FUND ONLINE PAY     06/10/2020        eft                80.00
General Ledger Entry                    HCEL ACCIDENT FUND ONLINE PAY     06/10/2020                           17.50
General Ledger Entry                    HCAA ACCIDENT FUND ONLINE PAY     06/10/2020                           17.50
General Ledger Entry                    HCLN ACCIDENT FUND ONLINE PAY     06/10/2020                           17.50
Valley C ty Linen                                                         06/16/2020        eft              1,224.21
General Ledger Entry                    HCKC ACCIDENT FUND ONLINE PAY     06/18/2020        eft               686.67
Enroll123, LLC                                                            06/24/2020     83556      54.00
Valley C ty Linen                                                         06/29/2020     adj CC               212.00
Valley C ty Linen                                                         06/29/2020     adj CC               212.00
Valley C ty Linen                                                         06/29/2020     adj CC               212.00
Valley C ty Linen                                                         06/29/2020     adj CC               212.00
Valley C ty Linen                                                         06/29/2020     adj CC               212.00
Valley C ty Linen                                                         06/29/2020     adj CC               212.00
TIAA Commercial Finance, Inc.                                             07/09/2020     83607     367.36
TIAA Commercial Finance, Inc.                                             07/09/2020     83609     344.51
United States Treasury                                                    07/23/2020     83658                815.34
Omega :Yeast Labs                                                         08/06/2020     83734                642.00
Terminix Processing Center                                                08/06/2020     83742     307.00
AT_T                                                                      08/12/2020     83745     276.03
Brydon, Swearengen & England P.C                                          08/12/2020     83746                 30.00
Comcast                                                                   08/12/2020     83747     475.05
Comcast                                                                   08/12/2020     83748     752.65
Comcast                                                                   08/12/2020     83749     238.35
Coverall of Western M chigan                                              08/12/2020     83750    1,995.00
Cozzini Bros Inc                                                          08/12/2020     83751     233.50
CTS Telecom Inc                                                           08/12/2020     83752     239.95
Deatons Mechanical Co                                                     08/12/2020     83753               2,345.27
ECOLAB                                                                    08/12/2020     83754    1,586.73
Ecolab Pest Elim Div                                                      08/12/2020     83755    1,063.87
FedEx                                                                     08/12/2020     83756      39.57
Freds Key Service                                                         08/12/2020     83757     150.00
Great America Financial Services                                          08/12/2020     83758    1,453.11
Hoekstra Electrical Serv ces                                              08/12/2020     83759     487.50
Irvine Tile, Inc.                                                         08/12/2020     83760    3,098.00
K-Data Systems LLC                                                        08/12/2020     83761      20.00
Kaat's Water Condit oning, Inc.                                           08/12/2020     83762        9.50
Kent County Health Department                                             08/12/2020     83763                580.00
Kent County Health Department                                             08/12/2020     83764                580.00
Kent County Health Department                                             08/12/2020     83765                580.00
Kent County Health Department                                             08/12/2020     83766                580.00
Michigan Natural Storage Co                                               08/12/2020     83767     300.00
Michigan Restaurant Association                                           08/12/2020     83768               3,229.00
Midwest Cutlery Service                                                   08/12/2020     83769      27.00
NCR Corporation                                                           08/12/2020     83770     303.62
NCR Corporation                                                           08/12/2020     83771    1,810.51
NCR Corporation                                                           08/12/2020     83772    3,025.20
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NCR Corporation                                                                      08/12/2020           83773        303.62
NCR Corporation                                                                      08/12/2020           83774        303.62
NCR Corporation                                                                      08/12/2020           83775        421.71
SHMG Occupational Health                                                             08/12/2020           83776        340.00
Steptoe & Johnson PLLC                                                               08/12/2020           83777        486.00
Swanel Beverage Inc                                                                  08/12/2020           83778          66.25
TDS                                                                                  08/12/2020           83779        584.31
Terminix Processing Center                                                           08/12/2020           83780        195.00
Terminix Processing Center                                                           08/12/2020           83781        110.00
Lincoln Nat onal Life Insurance Company                                              08/13/2020           83783        350.00
Wisely Inc.                                                                          08/13/2020           83786       1,770.93
Wisely Inc.                                                                          08/13/2020           83787       1,897.40
General Ledger Entry                      Reversed -- GORDON FOOD SERV AR PAYME 08/15/2020                    eft                11.75
General Ledger Entry                      P8 2020 - Mercantile Bank Charges (Corp)   08/17/2020               eft      448.49
General Ledger Entry                      Interco CASH                               08/17/2020               eft        67.90
General Ledger Entry                      Interco CASH                               08/17/2020               eft        67.60
General Ledger Entry                      Interco CASH                               08/17/2020               eft        67.30
General Ledger Entry                      Interco CASH                               08/17/2020               eft        67.30
General Ledger Entry                      Interco CASH                               08/17/2020               eft        67.30
General Ledger Entry                      Interco CASH                               08/17/2020               eft        17.30
Gordon Food Service                                                                  08/17/2020               eft        65.43
Gordon Food Service                                                                  08/17/2020               eft     5,265.71
Gordon Food Service                                                                  08/17/2020               eft      785.55
Gordon Food Service                                                                  08/17/2020               eft      782.51
Gordon Food Service                                                                  08/17/2020      Vo ded - eft      -785.55
General Ledger Entry                      PNC, Chem cal and US Bank Transfer         08/18/2020                0      9,200.00
General Ledger Entry                      PNC, Chem cal and US Bank Transfer         08/18/2020                0     12,000.00
General Ledger Entry                      PNC, Chem cal and US Bank Transfer         08/18/2020               eft   150,000.00
General Ledger Entry                      PNC, Chem cal and US Bank Transfer         08/18/2020               eft    10,000.00
General Ledger Entry                      CONTRIBUTE AEGON USA                       08/18/2020               eft     2,272.31
General Ledger Entry                      Interco CASH                               08/18/2020               eft     7,115.18
General Ledger Entry                      Interco CASH                               08/18/2020               eft      350.00
General Ledger Entry                      Interco CASH                               08/18/2020               eft      184.75
Gordon Food Service                                                                  08/18/2020               eft     5,340.27
General Ledger Entry                      PNC, Chem cal and US Bank Transfer         08/18/2020               eft    10,000.00
Gordon Food Service                                                                  08/18/2020               eft     4,483.44
Gordon Food Service                                                                  08/18/2020               eft     5,376.77
Valley C ty Linen                                                                    08/18/2020               eft     2,381.53
Gordon Food Service                                                                  08/18/2020               eft     5,343.31
Gordon Food Service                                                                  08/18/2020               eft     5,511.42
Gordon Food Service                                                                  08/18/2020               eft     5,240.59
Gordon Food Service                                                                  08/18/2020               eft     6,624.64
Gordon Food Service                                                                  08/18/2020               eft     3,110.30
Gordon Food Service                                                                  08/18/2020               eft     3,552.85
Gordon Food Service                                                                  08/18/2020               eft     3,058.34
Gordon Food Service                                                                  08/18/2020               eft     5,320.46
Gordon Food Service                                                                  08/18/2020               eft     8,347.44
Gordon Food Service                                                                  08/18/2020      Vo ded - eft    -5,340.27
Enroll123, LLC                                                                       08/18/2020   Voided - 83556        -54.00
TIAA Commercial Finance, Inc.                                                        08/18/2020   Voided - 83607       -367.36
TIAA Commercial Finance, Inc.                                                        08/18/2020   Voided - 83609       -344.51
Gordon Food Service                                                                  08/19/2020               eft        89.65
Gordon Food Service                                                                  08/19/2020               eft        14.70
Gordon Food Service                                                                  08/19/2020               eft        34.48
Gordon Food Service                                                                  08/19/2020               eft        33.92
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Gordon Food Service                                               08/19/2020           eft     53.98
General Ledger Entry               Interco CASH                   08/19/2020           eft   3,226.24
General Ledger Entry               Interco CASH                   08/19/2020           eft    140.00
Gordon Food Service                                               08/19/2020           eft     73.61
General Ledger Entry               VISA PAYMENT 402884XXXXX7816   08/19/2020           eft   3,091.29
Enviro-Master of West Michigan                                    08/19/2020           eft   1,514.80
Advantage Water Cond. Inc.                                        08/19/2020        83789                 69.55
Arrowaste Inc.                                                    08/19/2020        83790               1,052.46
Arrowaste Inc.                                                    08/19/2020        83791                461.77
Arrowaste Inc.                                                    08/19/2020        83792               1,238.48
Arrowaste Inc.                                                    08/19/2020        83793                877.76
AT_T                                                              08/19/2020        83794                365.76
AT_T                                                              08/19/2020        83795                220.37
Carlin, Edwards, Brown PLLC                                       08/19/2020        83796                148.00
City of Detro t                                                   08/19/2020        83797                173.00
City of Kalamazoo                                                 08/19/2020        83798               1,446.13
Comcast                                                           08/19/2020        83799                 39.95
Comcast                                                           08/19/2020        83800                596.40
Comcast                                                           08/19/2020        83801                 39.95
Cozzini Bros Inc                                                  08/19/2020        83802                110.50
Deatons Mechanical Co                                             08/19/2020        83803                551.00
ECOLAB                                                            08/19/2020        83804                874.89
Ecolab Pest Elim Div                                              08/19/2020        83805                207.00
fintech                                                           08/19/2020        83806                287.32
Great America Financial Services                                  08/19/2020        83807                387.43
Hoekstra Electrical Serv ces                                      08/19/2020        83808               2,421.00
Integr ty Business Solutions                                      08/19/2020        83809                192.00
Kone Inc                                                          08/19/2020        83810               2,738.01
Middleton Printing                                                08/19/2020        83811                250.56
R3 Continuum                                                      08/19/2020        83812                265.00
Sonitrol Great Lakes - Michigan                                   08/19/2020        83813                456.60
TDS                                                               08/19/2020        83814                534.80
TDS                                                               08/19/2020        83815                497.54
TDS                                                               08/19/2020        83816                492.98
The Lock Up Storage Centers                                       08/19/2020        83817                227.60
United Electrical Contractors                                     08/19/2020        83818               1,266.65
Uribe Refuse Serv ces                                             08/19/2020        83819                135.06
Welders Supply Company                                            08/19/2020        83820                215.80
Wisely Inc.                                                       08/19/2020        83821               1,897.40
ADP, LLC                           BILLPMT                        08/19/2020   7.24138E+13     63.79
Armock Mechanical                  BILLPMT                        08/19/2020   7.24138E+13   1,186.63
Airgas USA LLC - Rental            BILLPMT                        08/19/2020   7.24138E+13    210.71
Best Way Disposal                  BILLPMT                        08/19/2020   7.24138E+13    499.26
Compeat, Inc.                      BILLPMT                        08/19/2020   7.24138E+13   3,177.00
Domant Property Services           BILLPMT                        08/19/2020   7.24138E+13    837.89
Grand Rap ds Graphix               BILLPMT                        08/19/2020   7.24138E+13    970.00
Indeed Inc                         BILLPMT                        08/19/2020   7.24138E+13    100.00
Insite Business Solutions          BILLPMT                        08/19/2020   7.24138E+13   1,633.59
My Green Michigan LLC              BILLPMT                        08/19/2020   7.24138E+13    464.50
NuCO2                              BILLPMT                        08/19/2020   7.24138E+13    435.54
R. L. Schrieber                    BILLPMT                        08/19/2020   7.24138E+13    132.28
Renee Bodbyl                       BILLPMT                        08/19/2020   7.24138E+13    780.00
Rotella's Italian Bakery, Inc.     BILLPMT                        08/19/2020   7.24138E+13    563.73
Snappy App, Inc.                   BILLPMT                        08/19/2020   7.24138E+13     55.66
Swept Away                         BILLPMT                        08/19/2020   7.24138E+13   2,345.00
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Timothy Gauthier                  BILLPMT                              08/19/2020   7.24138E+13      1,462.50
Town Center Inc.                  BILLPMT                              08/19/2020   7.24138E+13      1,595.28
Zachary McKinstry                 BILLPMT                              08/19/2020   7.24138E+13      1,140.00
General Ledger Entry              Interco CASH                         08/20/2020           eft       244.27
General Ledger Entry              Interco CASH                         08/20/2020           eft       239.16
Gordon Food Service                                                    08/20/2020           eft      4,776.12
Gordon Food Service                                                    08/20/2020           eft      5,941.13
Gordon Food Service                                                    08/20/2020           eft      4,036.52
Gordon Food Service                                                    08/20/2020           eft      3,966.70
Gordon Food Service                                                    08/20/2020           eft      4,574.73
Gordon Food Service                                                    08/20/2020           eft      2,325.35
Gordon Food Service                                                    08/20/2020           eft      1,783.90
Gordon Food Service                                                    08/20/2020           eft      3,576.38
Gordon Food Service                                                    08/20/2020           eft      3,916.02
Gordon Food Service                                                    08/20/2020           eft      4,937.30
Gordon Food Service                                                    08/20/2020           eft      4,546.65
AT_T                                                                   08/20/2020        83822                     202.69
General Ledger Entry              PNC, Chem cal and US Bank Transfer   08/21/2020             0     17,000.00
Gordon Food Service                                                    08/21/2020           eft          9.02
General Ledger Entry              PNC, Chem cal and US Bank Transfer   08/21/2020           eft     33,000.00
Enviro-Master of West Michigan                                         08/21/2020           eft       105.00
Gordon Food Service                                                    08/21/2020           eft        76.07
Gordon Food Service                                                    08/21/2020           eft       402.17
Gordon Food Service                                                    08/21/2020           eft       152.03
Gordon Food Service                                                    08/21/2020           eft       133.96
General Ledger Entry              Interco CASH                         08/21/2020           eft        21.26
Total Checks and Charges                                                                          412,800.92    66,533.76
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General Ledger Entry               Interco CASH                         08/11/2020         eft      1,729.29
General Ledger Entry               Interco CASH                         08/11/2020         eft      1,602.68
General Ledger Entry               Interco CASH                         08/12/2020         eft      3,193.26
General Ledger Entry               Interco CASH                         08/12/2020         eft      2,197.96
General Ledger Entry               Interco CASH                         08/12/2020         eft      1,832.76
General Ledger Entry               Interco CASH                         08/12/2020         eft      1,435.72
General Ledger Entry               Interco CASH                         08/12/2020         eft      1,094.39
General Ledger Entry               Interco CASH                         08/12/2020         eft     10,917.48
General Ledger Entry               Interco CASH                         08/12/2020         eft      5,309.63
General Ledger Entry               Interco CASH                         08/12/2020         eft      5,035.86
General Ledger Entry               Interco CASH                         08/12/2020         eft      4,971.86
General Ledger Entry               Interco CASH                         08/12/2020         eft      3,599.97
General Ledger Entry               Interco CASH                         08/12/2020         eft      3,578.83
General Ledger Entry               Interco CASH                         08/13/2020         eft      4,476.38
General Ledger Entry               Interco CASH                         08/13/2020         eft      4,018.88
General Ledger Entry               Blackhawk Payment                    08/13/2020         eft      1,657.50
General Ledger Entry               Interco CASH                         08/13/2020         eft       977.38
General Ledger Entry               Interco CASH                         08/13/2020         eft      2,174.94
General Ledger Entry               Paytronix E-Gift Card Payment AMEX   08/13/2020         eft        28.90
General Ledger Entry               Interco CASH                         08/13/2020         eft      3,519.33
General Ledger Entry               Interco CASH                         08/13/2020         eft      3,627.44
General Ledger Entry               Interco CASH                         08/13/2020         eft      3,756.78
General Ledger Entry               Interco CASH                         08/13/2020         eft      6,910.73
General Ledger Entry               Interco CASH                         08/13/2020         eft      6,508.58
General Ledger Entry               Interco CASH                         08/13/2020         eft      5,057.14
General Ledger Entry               Interco CASH                         08/13/2020         eft      4,699.76
General Ledger Entry               Interco CASH                         08/14/2020         eft       609.75
General Ledger Entry               GORDON FOOD SERV AR PAYMENT 0001-1 08/14/2020           eft        11.75
General Ledger Entry               Paytronix E-Gift Card Payment        08/14/2020         eft        50.00
General Ledger Entry               Interco CASH                         08/14/2020         eft     12,386.74
General Ledger Entry               Interco CASH                         08/14/2020         eft      9,850.97
General Ledger Entry               Interco CASH                         08/14/2020         eft      9,291.43
General Ledger Entry               Interco CASH                         08/14/2020         eft      6,775.11
General Ledger Entry               Interco CASH                         08/14/2020         eft      6,700.42
General Ledger Entry               Interco CASH                         08/14/2020         eft      6,189.08
General Ledger Entry               Interco CASH                         08/14/2020         eft      4,513.23
General Ledger Entry               Interco CASH                         08/14/2020         eft      4,023.19
General Ledger Entry               Interco CASH                         08/14/2020         eft      3,556.79
General Ledger Entry               Interco CASH                         08/14/2020         eft      2,495.70
General Ledger Entry               Interco CASH                         08/14/2020         eft      1,312.26
Total Deposits                                                                                   417,241.51      3,926.92



Checks and Charges
Name                               Memo                                  Date        Check No       Cleared    Outstanding
Recovery Allies of West M chigan                                        09/25/2019      81620                       100.00
Breanne Millstein                                                       01/02/2020      82781                        16.00
Innovo Development Group,- RO                                           03/05/2020      83448                       360.51
General Ledger Entry               PNC and US Bank Transfer             05/06/2020         eft                   28,500.00
Enroll123, LLC                                                          05/13/2020         eft                       18.00
Jill Spruit                                                             05/28/2020      83530                       165.00
General Ledger Entry               AVIDPAY BARFLY VENTURES REF*CK*832 05/29/2020                                    450.00
General Ledger Entry               HCMN ACCIDENT FUND ONLINE PAY 3879 06/04/2020           eft                       17.50
General Ledger Entry               GRBC ACCIDENT FUND ONLINE PAY 38791 06/04/2020          eft                       27.95
General Ledger Entry               HCMD ACCIDENT FUND ONLINE PAY 3879 06/04/2020           eft                       27.95
General Ledger Entry               HCMN ACCIDENT FUND ONLINE PAY 3879 06/04/2020           eft                       57.95
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Fence Consultants of West Michigan, Inc.                                        08/06/2020        83744      1,941.50
OLO                                                                             08/10/2020           eft     2,145.00
OLO                                                                             08/10/2020           eft      334.31
OLO                                                                             08/10/2020           eft      336.10
Gordon Food Service                                                             08/10/2020           eft      229.50
Gordon Food Service                                                             08/10/2020           eft     6,756.06
ASR Health Benefits                                                             08/10/2020           eft    39,916.74
Gordon Food Service                                                             08/10/2020           eft      464.74
General Ledger Entry                       PNC, Chemical and US Bank Transfer   08/10/2020           eft     9,035.33
General Ledger Entry                       PNC, Chemical and US Bank Transfer   08/10/2020           eft    39,386.98
General Ledger Entry                       PNC, Chemical and US Bank Transfer   08/10/2020           eft     4,391.00
General Ledger Entry                       PNC, Chemical and US Bank Transfer   08/10/2020           eft     5,438.45
General Ledger Entry                       VISA PAYMENT 402884XXXXX7816         08/10/2020           eft     3,153.99
Mark Sellers                               BILLPMT                              08/10/2020   7.24138E+13      480.60
General Ledger Entry                       Interco CASH                         08/11/2020           eft      140.00
General Ledger Entry                       Interco CASH                         08/11/2020           eft        37.32
Gordon Food Service                                                             08/11/2020           eft     2,184.53
Enroll123, LLC                                                                  08/11/2020           eft      117.00
Gordon Food Service                                                             08/11/2020           eft     5,841.74
Gordon Food Service                                                             08/11/2020           eft     4,961.37
Gordon Food Service                                                             08/11/2020           eft     4,480.12
Gordon Food Service                                                             08/11/2020           eft     3,390.76
Gordon Food Service                                                             08/11/2020           eft     2,525.30
Gordon Food Service                                                             08/11/2020           eft     2,061.64
Valley C ty Linen                                                               08/11/2020           eft     1,962.90
Gordon Food Service                                                             08/11/2020           eft     4,028.81
Gordon Food Service                                                             08/11/2020           eft     4,432.66
Gordon Food Service                                                             08/11/2020           eft     5,407.07
Gordon Food Service                                                             08/11/2020           eft     4,995.16
Enviro-Master of West Michigan                                                  08/12/2020           eft     1,815.40
Gordon Food Service                                                             08/12/2020           eft        26.68
General Ledger Entry                       PNC, Chemical and US Bank Transfer   08/12/2020           eft   100,000.00
General Ledger Entry                       PNC, Chemical and US Bank Transfer   08/12/2020           eft    27,000.00
Gordon Food Service                                                             08/12/2020           eft        16.90
AT_T                                                                            08/12/2020        83745                  276.03
Brydon, Swearengen & England P.C                                                08/12/2020        83746                   30.00
Comcast                                                                         08/12/2020        83747                  475.05
Comcast                                                                         08/12/2020        83748                  752.65
Comcast                                                                         08/12/2020        83749                  238.35
Coverall of Western M chigan                                                    08/12/2020        83750                 1,995.00
Cozzini Bros Inc                                                                08/12/2020        83751                  233.50
CTS Telecom Inc                                                                 08/12/2020        83752                  239.95
Deatons Mechanical Co                                                           08/12/2020        83753                 2,345.27
ECOLAB                                                                          08/12/2020        83754                 1,586.73
Ecolab Pest Elim Div                                                            08/12/2020        83755                 1,063.87
FedEx                                                                           08/12/2020        83756                   39.57
Freds Key Service                                                               08/12/2020        83757                  150.00
Great America Financial Services                                                08/12/2020        83758                 1,453.11
Hoekstra Electrical Serv ces                                                    08/12/2020        83759                  487.50
Irvine Tile, Inc.                                                               08/12/2020        83760                 3,098.00
K-Data Systems LLC                                                              08/12/2020        83761                   20.00
Kaat's Water Condit oning, Inc.                                                 08/12/2020        83762                     9.50
Kent County Health Department                                                   08/12/2020        83763                  580.00
Kent County Health Department                                                   08/12/2020        83764                  580.00
Kent County Health Department                                                   08/12/2020        83765                  580.00
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Kent County Health Department                                            08/12/2020           83766                 580.00
Michigan Natural Storage Co                                              08/12/2020           83767                 300.00
Michigan Restaurant Association                                          08/12/2020           83768                3,229.00
Midwest Cutlery Service                                                  08/12/2020           83769                  27.00
NCR Corporation                                                          08/12/2020           83770                 303.62
NCR Corporation                                                          08/12/2020           83771                1,810.51
NCR Corporation                                                          08/12/2020           83772                3,025.20
NCR Corporation                                                          08/12/2020           83773                 303.62
NCR Corporation                                                          08/12/2020           83774                 303.62
NCR Corporation                                                          08/12/2020           83775                 421.71
SHMG Occupational Health                                                 08/12/2020           83776                 340.00
Steptoe & Johnson PLLC                                                   08/12/2020           83777                 486.00
Swanel Beverage Inc                                                      08/12/2020           83778                  66.25
TDS                                                                      08/12/2020           83779                 584.31
Terminix Processing Center                                               08/12/2020           83780                 195.00
Terminix Processing Center                                               08/12/2020           83781                 110.00
Wisely Inc.                                                              08/12/2020           83782    1,897.40
Wisely Inc.                                                              08/12/2020   Voided - 83782   -1,897.40
A & L Janitorial Inc.                     BILLPMT                        08/12/2020    7.24138E+13       564.48
Allegra                                   BILLPMT                        08/12/2020    7.24138E+13     2,321.33
Armock Mechanical                         BILLPMT                        08/12/2020    7.24138E+13       342.02
Boss Business Solutions                   BILLPMT                        08/12/2020    7.24138E+13     7,703.50
Creative Ice                              BILLPMT                        08/12/2020    7.24138E+13     1,130.00
Domant Property Services                  BILLPMT                        08/12/2020    7.24138E+13       837.89
Dover Grease Traps, Inc.                  BILLPMT                        08/12/2020    7.24138E+13     1,575.25
DVCLEANINDY, LLC                          BILLPMT                        08/12/2020    7.24138E+13     1,475.87
ID Watchdog, Inc.                         BILLPMT                        08/12/2020    7.24138E+13       377.25
Indeed Inc                                BILLPMT                        08/12/2020    7.24138E+13     2,500.00
Infinisource Benefit Services             BILLPMT                        08/12/2020    7.24138E+13        63.15
Insite Business Solutions                 BILLPMT                        08/12/2020    7.24138E+13     1,286.42
My Green Michigan LLC                     BILLPMT                        08/12/2020    7.24138E+13       464.50
NRL Consulting                            BILLPMT                        08/12/2020    7.24138E+13     8,683.08
Premier Building Maintenance              BILLPMT                        08/12/2020    7.24138E+13     2,557.50
R. L. Schrieber                           BILLPMT                        08/12/2020    7.24138E+13       268.82
Rotella's Italian Bakery, Inc.            BILLPMT                        08/12/2020    7.24138E+13       229.48
Swept Away                                BILLPMT                        08/12/2020    7.24138E+13     2,345.00
Timothy Gauthier                          BILLPMT                        08/12/2020    7.24138E+13     1,155.00
Town Center Inc.                          BILLPMT                        08/12/2020    7.24138E+13     1,591.30
Unifirst Corporation - Lincoln            BILLPMT                        08/12/2020    7.24138E+13       431.43
General Ledger Entry                      VISA PAYMENT 402884XXXXX7816   08/13/2020              eft   5,107.88
Gordon Food Service                                                      08/13/2020              eft   2,786.95
Gordon Food Service                                                      08/13/2020              eft   5,314.26
Gordon Food Service                                                      08/13/2020              eft   3,998.33
Gordon Food Service                                                      08/13/2020              eft   3,325.84
Gordon Food Service                                                      08/13/2020              eft   3,680.42
Gordon Food Service                                                      08/13/2020              eft   2,961.26
Gordon Food Service                                                      08/13/2020              eft   4,105.98
Gordon Food Service                                                      08/13/2020              eft   4,665.95
Gordon Food Service                                                      08/13/2020              eft   3,234.24
Gordon Food Service                                                      08/13/2020              eft   1,615.22
Gordon Food Service                                                      08/13/2020              eft   3,820.92
Lincoln Nat onal Life Insurance Company                                  08/13/2020           83783                 350.00
Wisely Inc.                                                              08/13/2020           83784    1,770.93
Wisely Inc.                                                              08/13/2020           83785    1,897.40
Wisely Inc.                                                              08/13/2020           83786                1,770.93
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Wisely Inc.                                                              08/13/2020           83787                   1,897.40
DTE Energy                                                               08/13/2020           83788           5.94
Wisely Inc.                                                              08/13/2020   Voided - 83784     -1,770.93
Wisely Inc.                                                              08/13/2020   Voided - 83785     -1,897.40
DTE Energy                                                               08/13/2020   Voided - 83788         -5.94
Grand Rap ds Graphix                 BILLPMT                             08/13/2020    7.24138E+13        2,714.70
Magii Pension Services                                                   08/14/2020              eft       250.00
Gordon Food Service                                                      08/14/2020              eft       135.86
Enviro-Master of West Michigan                                           08/14/2020              eft       320.90
General Ledger Entry                 Reversed -- GORDON FOOD SERV AR PAY 08/15/2020              eft                     11.75
Total Checks and Charges                                                                               410,127.19    71,079.20
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                                              BarFly Ventures
                                            Reconciliation Report
                                                    As Of 08/09/2020
                                           Account: Checking - BarFly Oper Merc
Statement Ending Balance                                                                                                 140,553.67
Deposits in Transit                                                                                                        3,926.92
Outstanding Checks and Charges                                                                                           -75,420.25
Adjusted Bank Balance                                                                                                    69,060.34


Book Balance                                                                                                              69,060.34
Adjustments*                                                                                                                   0.00
Adjusted Book Balance                                                                                                    69,060.34




                                  Total Checks and Charges Cleared        336,332.89   Total Deposits Cleared            344,448.92



Deposits
Name                              Memo                                    Date               Doc No         Cleared       In Transit
General Ledger Entry              GFS            HCDT                   07/17/2020                                            16.56
General Ledger Entry              GFS            HCBL                   07/17/2020                                              8.28
General Ledger Entry              GFS            HCIN                   07/17/2020                                              8.16
General Ledger Entry              GFS            HCAA                   07/17/2020                                            24.84
General Ledger Entry              GFS            HCLN                   07/17/2020                                            14.74
General Ledger Entry              GFS            HCEL                   07/17/2020                                            11.04
General Ledger Entry              GFS            GRBC                   07/17/2020                                              5.72
General Ledger Entry              GFS            HCHL                   07/17/2020                                            13.80
General Ledger Entry              Paytronix E-Gift Card Payment         07/20/2020                eft                         25.00
General Ledger Entry              Paytronix E-Gift Card Payment         07/23/2020                eft                         25.00
General Ledger Entry              Interco CASH                          08/03/2020                eft      21,524.07
General Ledger Entry              Interco CASH                          08/03/2020                eft      20,414.94
General Ledger Entry              Interco CASH                          08/03/2020                eft      19,465.38
General Ledger Entry              Interco CASH                          08/03/2020                eft      17,392.65
General Ledger Entry              Interco CASH                          08/03/2020                eft      22,271.37
General Ledger Entry              Interco CASH                          08/03/2020                eft      22,939.26
General Ledger Entry              Reversed -- VISA PAYMENT 402884XXXXX78 08/03/2020               eft                      3,773.78
General Ledger Entry              Paytronix E-Gift Card Payment         08/03/2020                eft           100.00
General Ledger Entry              Paytronix E-Gift Card Payment         08/03/2020                eft            50.00
General Ledger Entry              Paytronix E-Gift Card Payment         08/03/2020                eft            50.00
General Ledger Entry              Interco CASH                          08/03/2020                eft       2,347.82
General Ledger Entry              Interco CASH                          08/03/2020                eft       9,775.91
General Ledger Entry              Interco CASH                          08/03/2020                eft      12,966.34
General Ledger Entry              Interco CASH                          08/03/2020                eft      15,990.71
General Ledger Entry              Interco CASH                          08/03/2020                eft      14,462.40
General Ledger Entry              Interco CASH                          08/04/2020                eft       4,011.96
General Ledger Entry              Interco CASH                          08/04/2020                eft       3,681.27
General Ledger Entry              Interco CASH                          08/04/2020                eft       3,660.40
General Ledger Entry              Interco CASH                          08/04/2020                eft       3,097.66
General Ledger Entry              Interco CASH                          08/04/2020                eft       3,064.90
General Ledger Entry              Interco CASH                          08/04/2020                eft       2,910.23
General Ledger Entry              Interco CASH                          08/04/2020                eft       2,250.64
General Ledger Entry              Interco CASH                          08/04/2020                eft       1,412.32
General Ledger Entry              Interco CASH                          08/04/2020                eft           856.39
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General Ledger Entry               Interco CASH                         08/04/2020         eft       677.74
General Ledger Entry               Paytronix E-Gift Card Payment        08/04/2020         eft        50.00
General Ledger Entry               ACH Return Compeat                   08/04/2020                  2,965.20
General Ledger Entry               Interco CASH                         08/05/2020         eft     10,837.45
General Ledger Entry               Interco CASH                         08/05/2020         eft      4,445.43
General Ledger Entry               Interco CASH                         08/05/2020         eft      3,783.64
General Ledger Entry               Interco CASH                         08/05/2020         eft      3,498.15
General Ledger Entry               Interco CASH                         08/05/2020         eft      3,105.99
General Ledger Entry               Interco CASH                         08/05/2020         eft      2,674.74
General Ledger Entry               Interco CASH                         08/05/2020         eft      2,103.09
General Ledger Entry               Interco CASH                         08/05/2020         eft      1,236.64
General Ledger Entry               Interco CASH                         08/05/2020         eft      1,076.25
General Ledger Entry               Interco CASH                         08/05/2020         eft       826.16
General Ledger Entry               Interco CASH                         08/05/2020         eft        80.72
General Ledger Entry               Paytronix E-Gift Card Payment        08/05/2020         eft        50.00
General Ledger Entry               Interco CASH                         08/06/2020         eft      2,204.77
General Ledger Entry               Interco CASH                         08/06/2020         eft      1,851.70
General Ledger Entry               Interco CASH                         08/06/2020         eft       441.48
General Ledger Entry               Interco CASH                         08/06/2020         eft       106.80
General Ledger Entry               Blackhawk Payment                    08/06/2020         eft      1,190.00
General Ledger Entry               Paytronix E-Gift Card Payment        08/06/2020         eft        25.00
General Ledger Entry               Paytronix E-Gift Card Payment AMEX   08/06/2020         eft        48.16
General Ledger Entry               Interco CASH                         08/06/2020         eft      7,717.05
General Ledger Entry               Interco CASH                         08/06/2020         eft      7,666.09
General Ledger Entry               Interco CASH                         08/06/2020         eft      4,862.77
General Ledger Entry               Interco CASH                         08/06/2020         eft      3,622.76
General Ledger Entry               Interco CASH                         08/06/2020         eft      3,191.27
General Ledger Entry               Interco CASH                         08/06/2020         eft      2,987.02
General Ledger Entry               Interco CASH                         08/06/2020         eft      2,657.85
General Ledger Entry               Interco CASH                         08/07/2020         eft     10,564.41
General Ledger Entry               Interco CASH                         08/07/2020         eft     10,137.12
General Ledger Entry               Interco CASH                         08/07/2020         eft     10,010.26
General Ledger Entry               Interco CASH                         08/07/2020         eft      6,907.85
General Ledger Entry               Interco CASH                         08/07/2020         eft      4,699.55
General Ledger Entry               Interco CASH                         08/07/2020         eft      4,172.11
General Ledger Entry               Interco CASH                         08/07/2020         eft      4,080.09
General Ledger Entry               Interco CASH                         08/07/2020         eft      3,948.38
General Ledger Entry               Interco CASH                         08/07/2020         eft      3,739.37
General Ledger Entry               Interco CASH                         08/07/2020         eft      2,552.22
General Ledger Entry               Interco CASH                         08/07/2020         eft      1,871.66
General Ledger Entry               Interco CASH                         08/07/2020         eft      1,005.00
General Ledger Entry               Paytronix E-Gift Card Payment        08/07/2020         eft        30.00
General Ledger Entry               GFS            HCLN                  08/07/2020                    50.36
Total Deposits                                                                                   344,448.92      3,926.92



Checks and Charges
Name                               Memo                                  Date        Check No       Cleared    Outstanding
Recovery Allies of West M chigan                                        09/25/2019      81620                       100.00
Breanne Millstein                                                       01/02/2020      82781                        16.00
Innovo Development Group,- RO                                           03/05/2020      83448                       360.51
General Ledger Entry               PNC and US Bank Transfer             05/06/2020         eft                   28,500.00
Enroll123, LLC                                                          05/13/2020         eft                       18.00
Jill Spruit                                                             05/28/2020      83530                       165.00
General Ledger Entry               AVIDPAY BARFLY VENTURES REF*CK*83218 05/29/2020                                  450.00
General Ledger Entry               HCMD ACCIDENT FUND ONLINE PAY 387919 06/04/2020         eft                       27.95
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General Ledger Entry                    HCRO ACCIDENT FUND ONLINE PAY     06/04/2020        eft                57.95
General Ledger Entry                    HCLV ACCIDENT FUND ONLINE PAY     06/04/2020        eft                22.95
General Ledger Entry                    GRBC ACCIDENT FUND ONLINE PAY     06/04/2020        eft                27.95
General Ledger Entry                    HCMN ACCIDENT FUND ONLINE PAY     06/04/2020        eft                17.50
General Ledger Entry                    HCMN ACCIDENT FUND ONLINE PAY     06/04/2020        eft                57.95
General Ledger Entry                    HCKC ACCIDENT FUND ONLINE PAY     06/04/2020        eft                57.95
General Ledger Entry                    HCMD ACCIDENT FUND ONLINE PAY     06/04/2020                           17.50
General Ledger Entry                    HCLV ACCIDENT FUND ONLINE PAY     06/04/2020                           17.50
General Ledger Entry                    HCKC ACCIDENT FUND ONLINE PAY     06/04/2020                           17.50
General Ledger Entry                    HCRO ACCIDENT FUND ONLINE PAY     06/04/2020                           17.50
General Ledger Entry                    HCKZ ACCIDENT FUND ONLINE PAY     06/05/2020        eft                57.95
City of Grand Rapids Income Tax Dept                                      06/05/2020     83545               1,497.00
Kentucky Department of Revenue                                            06/05/2020     83546               1,216.00
Lexington-Fayette Divis on of Revenue                                     06/05/2020     83547                100.00
General Ledger Entry                    HCKZ ACCIDENT FUND ONLINE PAY     06/05/2020                           17.50
General Ledger Entry                    HCBEL ACCIDENT FUND ONLINE PAY   9 06/05/2020                          17.50
General Ledger Entry                    HCEL ACCIDENT FUND ONLINE PAY     06/10/2020        eft                27.95
General Ledger Entry                    HCLN ACCIDENT FUND ONLINE PAY     06/10/2020        eft                80.00
General Ledger Entry                    HCEL ACCIDENT FUND ONLINE PAY     06/10/2020                           17.50
General Ledger Entry                    HCAA ACCIDENT FUND ONLINE PAY     06/10/2020                           17.50
General Ledger Entry                    HCLN ACCIDENT FUND ONLINE PAY     06/10/2020                           17.50
Valley C ty Linen                                                         06/16/2020        eft              1,224.21
General Ledger Entry                    HCKC ACCIDENT FUND ONLINE PAY     06/18/2020        eft               686.67
Enroll123, LLC                                                            06/24/2020     83556                 54.00
Valley C ty Linen                                                         06/29/2020     adj CC               212.00
Valley C ty Linen                                                         06/29/2020     adj CC               212.00
Valley C ty Linen                                                         06/29/2020     adj CC               212.00
Valley C ty Linen                                                         06/29/2020     adj CC               212.00
Valley C ty Linen                                                         06/29/2020     adj CC               212.00
Valley C ty Linen                                                         06/29/2020     adj CC               212.00
Excel Pest Control - Lincoln                                              07/09/2020     83596      83.20
TIAA Commercial Finance, Inc.                                             07/09/2020     83607                367.36
TIAA Commercial Finance, Inc.                                             07/09/2020     83609                344.51
Perrigo Printing                                                          07/16/2020     83618     391.94
Beer City Glass                                                           07/22/2020     83639    2,015.00
Washtenaw County Environmental Health                                     07/22/2020     83654      32.00
West Michigan Tag _ Label                                                 07/22/2020     83655    1,166.17
United States Treasury                                                    07/23/2020     83658                815.34
U.S. Trustees                                                             07/27/2020     83659     325.00
U.S. Trustees                                                             07/27/2020     83660     325.00
U.S. Trustees                                                             07/27/2020     83661     325.00
U.S. Trustees                                                             07/27/2020     83662     325.00
U.S. Trustees                                                             07/27/2020     83663     325.00
U.S. Trustees                                                             07/27/2020     83664     325.00
U.S. Trustees                                                             07/27/2020     83665     325.00
U.S. Trustees                                                             07/27/2020     83666     325.00
U.S. Trustees                                                             07/27/2020     83667     325.00
U.S. Trustees                                                             07/27/2020     83668     325.00
U.S. Trustees                                                             07/27/2020     83670     325.00
U.S. Trustees                                                             07/27/2020     83671     325.00
U.S. Trustees                                                             07/27/2020     83672     325.00
U.S. Trustees                                                             07/27/2020     83673     325.00
U.S. Trustees                                                             07/27/2020     83674     325.00
U.S. Trustees                                                             07/27/2020     83675     325.00
U.S. Trustees                                                             07/27/2020     83676     325.00
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U.S. Trustees                                                                07/27/2020           83677      325.00
U.S. Trustees                                                                07/27/2020           83678      325.00
U.S. Trustees                                                                07/27/2020           83679      325.00
U.S. Trustees                                                                07/27/2020           83680      325.00
U.S. Trustees                                                                07/27/2020           83681      325.00
U.S. Trustees                                                                07/27/2020           83682      325.00
U.S. Trustees                                                                07/27/2020           83683      325.00
Advantage Water Cond. Inc.                                                   07/30/2020           83684       69.55
Ambius                                                                       07/30/2020           83685      163.20
Bright House Networks                                                        07/30/2020           83686                618.29
Circuit Electric Inc.                                                        07/30/2020           83687      870.09
City of Ann Arbor                                                            07/30/2020           83688      182.21
Comcast                                                                      07/30/2020           83689     1,773.09
Cozzini Bros Inc                                                             07/30/2020           83690       90.50
CTS Telecom Inc                                                              07/30/2020           83691      463.90
ECOLAB                                                                       07/30/2020           83692      107.96
Ecolab Pest Elim Div                                                         07/30/2020           83693      501.60
FedEx                                                                        07/30/2020           83694      108.30
Great Lakes West                                                             07/30/2020           83695      178.48
Holston Gases                                                                07/30/2020           83696      241.01
HotSchedules.com, Inc                                                        07/30/2020           83697    11,672.16
Humid ty Controls LLC                                                        07/30/2020           83698                 60.00
LASEP, LLC                                                                   07/30/2020           83699     2,709.00
Midwest Cutlery Service                                                      07/30/2020           83700       27.00
Organicycle                                                                  07/30/2020           83701      900.00
Paytronix Systems, Inc.                                                      07/30/2020           83702     4,316.67
Plaza Storage, LLC                                                           07/30/2020           83703       90.00
SafeCare                                                                     07/30/2020           83704     1,186.01
SHMG Occupational Health                                                     07/30/2020           83705     2,975.00
Sonitrol Great Lakes - Michigan                                              07/30/2020           83706      601.02
Sonitrol Great Lakes - Michigan                                              07/30/2020           83707      747.30
Stanley Convergent Secur ty Solut ons, Inc.                                  07/30/2020           83708      310.57
Star 2 Star Communications LLC                                               07/30/2020           83709      107.43
Star 2 Star Communications LLC                                               07/30/2020           83710       84.75
Star 2 Star Communications LLC                                               07/30/2020           83711       17.93
Star 2 Star Communications LLC                                               07/30/2020           83712      107.33
Star 2 Star Communications LLC                                               07/30/2020           83713      149.98
TalentReef                                                                   07/30/2020           83714      900.00
VSP Insurance Co.                                                            07/30/2020           83715      220.58
VSP Insurance Co.                                                            07/30/2020           83716      277.38
VSP Insurance Co.                                                            07/30/2020           83717      834.94
Waste Management of Michigan                                                 07/30/2020           83718     1,039.14
Best Way Disposal                                                            07/31/2020           83719      465.98
General Ledger Entry                          VISA PAYMENT 402884XXXXX7816   08/02/2020              eft    3,773.78
Gordon Food Service                                                          08/03/2020              eft     240.57
Gordon Food Service                                                          08/03/2020              eft    4,221.73
Gordon Food Service                                                          08/03/2020              eft     634.13
787 Networks                                                                 08/03/2020           83720      497.70
787 Networks                                  Pa d on AP credit card         08/03/2020   Voided - 83720     -497.70
Gordon Food Service                                                          08/04/2020              eft    3,939.48
Gordon Food Service                                                          08/04/2020              eft    5,396.78
Gordon Food Service                                                          08/04/2020              eft    3,289.82
Gordon Food Service                                                          08/04/2020              eft    2,846.59
Gordon Food Service                                                          08/04/2020              eft     524.36
Gordon Food Service                                                          08/04/2020              eft    6,282.25
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Gordon Food Service                                                                 08/04/2020      eft     2,785.55
Gordon Food Service                                                                 08/04/2020      eft     1,641.02
Gordon Food Service                                                                 08/04/2020      eft     2,844.28
Gordon Food Service                                                                 08/04/2020      eft     4,724.35
Gordon Food Service                                                                 08/04/2020      eft     2,914.65
Valley C ty Linen                                                                   08/04/2020      eft     1,398.81
General Ledger Entry                      Interco CASH                              08/04/2020      eft     1,686.78
General Ledger Entry                      Interco CASH                              08/04/2020      eft        57.95
General Ledger Entry                      Interco CASH                              08/04/2020      eft        57.95
General Ledger Entry                      Interco CASH                              08/04/2020      eft        27.95
General Ledger Entry                      Interco CASH                              08/04/2020      eft        27.95
General Ledger Entry                      Interco CASH                              08/04/2020      eft        27.95
General Ledger Entry                      PNC, Chemical and US Bank Transfer        08/04/2020      eft    10,000.00
General Ledger Entry                      PNC, Chemical and US Bank Transfer        08/04/2020      eft   125,000.00
General Ledger Entry                      PNC, Chemical and US Bank Transfer        08/04/2020      eft    20,000.00
General Ledger Entry                      Worldpay Monthly Payment - BFCorp         08/04/2020      eft      168.08
City of Grand Rapids Treasurer                                                      08/04/2020    83721                16,480.49
Enviro-Master of West Michigan                                                      08/05/2020      eft      120.90
General Ledger Entry                      VISA PAYMENT 402884XXXXX7816              08/05/2020      eft     1,574.21
General Ledger Entry                      Interco CASH                              08/05/2020      eft        39.03
General Ledger Entry                      Interco CASH                              08/05/2020      eft        39.03
General Ledger Entry                      Interco CASH                              08/05/2020      eft        39.03
General Ledger Entry                      Interco CASH                              08/05/2020      eft        39.03
General Ledger Entry                      Aline Transfer                            08/05/2020      eft    10,000.00
General Ledger Entry                      CONTRIBUTE AEGON USA                      08/05/2020      eft     2,068.76
General Ledger Entry                      CONTRIBUTE AEGON USA                      08/05/2020      eft     2,162.12
General Ledger Entry                      Enviro-Master In ACH Batch Grand Rapids   08/05/2020      eft     1,336.10
Gordon Food Service                                                                 08/06/2020      eft     4,954.07
Gordon Food Service                                                                 08/06/2020      eft     2,953.70
Gordon Food Service                                                                 08/06/2020      eft     4,850.41
Gordon Food Service                                                                 08/06/2020      eft     5,829.24
Gordon Food Service                                                                 08/06/2020      eft      552.87
Gordon Food Service                                                                 08/06/2020      eft     2,246.35
Gordon Food Service                                                                 08/06/2020      eft     3,816.46
Gordon Food Service                                                                 08/06/2020      eft     1,493.53
Gordon Food Service                                                                 08/06/2020      eft     2,331.88
Gordon Food Service                                                                 08/06/2020      eft     1,079.60
Gordon Food Service                                                                 08/06/2020      eft     3,641.77
AT_T                                                                                08/06/2020    83722                  354.04
Comcast                                                                             08/06/2020    83723                  190.24
Comcast                                                                             08/06/2020    83724                  253.35
Comcast                                                                             08/06/2020    83725                 1,968.91
Comcast                                                                             08/06/2020    83726                 3,191.68
Cozzini Bros Inc                                                                    08/06/2020    83727                  245.50
Deatons Mechanical Co                                                               08/06/2020    83728                   91.58
Empire Disposal                                                                     08/06/2020    83729                  350.00
FedEx                                                                               08/06/2020    83730                   77.32
GTT Commun cations                                                                  08/06/2020    83731                  337.13
Keg Logistics LLC                                                                   08/06/2020    83732                  756.00
Lincoln Nat onal Life Insurance Company                                             08/06/2020    83733                  700.00
Omega :Yeast Labs                                                                   08/06/2020    83734                  642.00
Paytronix Systems, Inc.                                                             08/06/2020    83735                 5,811.56
Ray's Trash Service, Inc.                                                           08/06/2020    83736                  120.00
Sonitrol Great Lakes - Michigan                                                     08/06/2020    83737                  334.96
Sonitrol Great Lakes - Michigan                                                     08/06/2020    83738                  356.16
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Sonitrol Great Lakes - Michigan                                                     08/06/2020         83739                     298.54
Stanley Convergent Secur ty Solut ons, Inc.                                         08/06/2020         83740                     365.14
Terminix Processing Center                                                          08/06/2020         83741                     180.00
Terminix Processing Center                                                          08/06/2020         83742                     307.00
West Michigan Tag _ Label                                                           08/06/2020         83743                   1,608.66
Fence Consultants of West Michigan, Inc.                                            08/06/2020         83744                   1,941.50
A & L Janitorial Inc.                         BILLPMT                               08/06/2020    7.24138E+13      1,129.10
Andrew Woodruff                               BILLPMT                               08/06/2020    7.24138E+13      2,000.00
Boss Business Solutions                       BILLPMT                               08/06/2020    7.24138E+13       972.00
Busscher's Pumping, Inc.                      BILLPMT                               08/06/2020    7.24138E+13       350.00
Anthony Carpenter                             BILLPMT                               08/06/2020    7.24138E+13       800.00
Comfort Systems USA Indiana                   BILLPMT                               08/06/2020    7.24138E+13      1,672.05
Compeat, Inc.                                 BILLPMT                               08/06/2020    7.24138E+13      3,550.20
Domant Property Services                      BILLPMT                               08/06/2020    7.24138E+13       837.89
Dover Grease Traps, Inc.                      BILLPMT                               08/06/2020    7.24138E+13       503.00
Driscon LLC                                   BILLPMT                               08/06/2020    7.24138E+13      3,700.00
HOODZ North America                           BILLPMT                               08/06/2020    7.24138E+13      3,204.86
Leonard's Syrups                              BILLPMT                               08/06/2020    7.24138E+13       828.00
My Green Michigan LLC                         BILLPMT                               08/06/2020    7.24138E+13       464.50
NuCO2                                         BILLPMT                               08/06/2020    7.24138E+13      1,109.53
Premier Building Maintenance                  BILLPMT                               08/06/2020    7.24138E+13      5,051.75
Professional Maintenance of Michigan, Inc     BILLPMT                               08/06/2020    7.24138E+13       362.00
R. L. Schrieber                               BILLPMT                               08/06/2020    7.24138E+13       990.74
Rotella's Italian Bakery, Inc.                BILLPMT                               08/06/2020    7.24138E+13       183.99
Sparkling Windows Corp.                       BILLPMT                               08/06/2020    7.24138E+13       140.00
Swept Away                                    BILLPMT                               08/06/2020    7.24138E+13      2,345.00
Timothy Gauthier                              BILLPMT                               08/06/2020    7.24138E+13      1,282.50
Unifirst Corporation - M chigan               BILLPMT                               08/06/2020    7.24138E+13       200.35
Unifirst Corporation - Lincoln                BILLPMT                               08/06/2020    7.24138E+13       224.90
Gordon Food Service                                                                 08/07/2020            eft          9.16
Gordon Food Service                                                                 08/07/2020            eft       212.73
Gordon Food Service                                                                 08/07/2020            eft       117.32
General Ledger Entry                          ADP PAYROLL FEES ADP - FEES 10FB7 5756608/07/2020           eft      2,392.74
General Ledger Entry                          ADP PAYROLL FEES ADP - FEES 10221 6073 08/07/2020           eft        39.36
Total Checks and Charges                                                                                        336,332.89    75,420.25
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                                                    Return Service Requested                                         Page:             1 of 4
                                                                                                                     Statement Date: 08/31/2020
                                                                                                                     Primary Account: XXXXXX4123
                                                                         07001
                                                                                                                     Documents:       0

                                                                                                                     Period: 07/31/20 to 08/31/20
MGMCSTMTN 200901-09713-0001




                                                                                                                     E
                                                            9 VOLT LLC                                        <T> 30-0
                                                            DBA HOPCAT                                               0
                                                            OPERATING                                                0
                                                            35 OAKES ST SW STE 400
                                                            GRAND RAPIDS, MI 49503




                              COMMERCIAL ANALYSIS CHECKING ACCOUNT                                                       Account: XXXXXX4123
                               Last Statement     Previous Balance        This Statement    Current Balance     Total Credits       Total Debits
                                  07/31/20              0.00                     08/31/20        0.00          236,866.66 (139)    236,866.66 (49)


                              CREDITS
                              Date Description                                                                                             Amount
                              08/03   Postmates Inc. 1010 Aug 1 St-Q5k3v1p3m3a5                                                               22.23
                              08/03   Postmates Inc. 1010 Jul 3 St-F9i2o2j3h5q1                                                               31.05
                              08/03   Postmates Inc. 1010 Jul 3 St-V3a4y3r6g8v5                                                              121.12
                              08/03   Comb. Dep. 5/3 Bankcard Sys Worldpay Comb. Dep. Term                                                   161.54
                              08/03   Comb. Dep. 5/3 Bankcard Sys Worldpay Comb. Dep. Term                                                   321.26
                              08/03   American Express Settlement XXXXXX6973                                                                 350.63
                              08/03   Doordash, Inc. 25 Ionia A St-H3p4l1u6x9e2                                                              407.90
                              08/03   Comb. Dep. 5/3 Bankcard Sys Worldpay Comb. Dep. Term                                                   426.46
                              08/03   American Express Settlement XXXXXX6973                                                                 654.40
                              08/03   Comb. Dep. Worldpay Worldpay Comb. Dep. Term                                                         4,284.51
                              08/03   Comb. Dep. Worldpay Worldpay Comb. Dep. Term                                                         5,916.48
                              08/03   Comb. Dep. Worldpay Worldpay Comb. Dep. Term                                                         6,767.80
                              08/04   Postmates Inc. 1010 Aug 2 St-E4f7g4o7w9r8                                                               39.39
                              08/04   American Express Settlement XXXXXX6973                                                                 368.40
                              08/04   Comb. Dep. 5/3 Bankcard Sys Worldpay Comb. Dep. Term                                                   820.91
                              08/04   Doordash, Inc. 25 Ionia A St-S9t8b8a1h4d3                                                            1,409.32
                              08/04   Comb. Dep. Worldpay Worldpay Comb. Dep. Term                                                         3,181.60
                              08/05   Postmates Inc. 1010 Aug 3 St-L0k3m4q3s2h1                                                               19.44
                              08/05   American Express Settlement XXXXXX6973                                                                 231.30
                              08/05   Doordash, Inc. 25 Ionia A St-L1m9r1y9p9d6                                                              776.30
                              08/05   Comb. Dep. 5/3 Bankcard Sys Worldpay Comb. Dep. Term                                                 1,013.55
                              08/05   Comb. Dep. Worldpay Worldpay Comb. Dep. Term                                                         3,660.70
                              08/06   Postmates Inc. 1010 Aug 4 St-Z3z6r0i6b1s7                                                               31.32
                              08/06   American Express Settlement XXXXXX6973                                                                 200.80
                              08/06   Comb. Dep. 5/3 Bankcard Sys Worldpay Comb. Dep. Term                                                   224.80
                              08/06   Doordash, Inc. 25 Ionia A St-P6p4t8m1k7k3                                                              737.56
                              08/07   Postmates Inc. 1010 Aug 5 St-L0n5d3m2e0k7                                                               44.94
                              08/07   American Express Settlement XXXXXX6973                                                                 197.61
                              08/07   Comb. Dep. 5/3 Bankcard Sys Worldpay Comb. Dep. Term                                                   489.68
                              08/07   Doordash, Inc. 25 Ionia A St-N8u1u5t5m9t4                                                            1,080.52
                              08/07   Comb. Dep. Worldpay Worldpay Comb. Dep. Term                                                         3,835.88
                              08/07   Comb. Dep. Worldpay Worldpay Comb. Dep. Term                                                         4,915.78
                              08/10   Postmates Inc. 1010 Aug 7 St-C4q0f4p0o8a7                                                               51.51
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                                                                             9 VOLT LLC                               Page:            3 of 4
                                                                             DBA HOPCAT
                                                                             OPERAT NG                                Statement Date: 08/31/2020
                                                                             35 OAKES ST SW STE 400                   Primary Account: XXXXXX4123
                                                                             GRAND RAP DS, MI 49503




                               CREDITS (Continued)
MGMCSTMTN 200901-09713-0003




                              Date Description                                                                                          Amount
                              08/21   Comb. Dep. Worldpay Worldpay Comb. Dep. Term                                                      4,490.02
                              08/21   Comb. Dep. Worldpay Worldpay Comb. Dep. Term                                                      4,578.49
                              08/24   Postmates Inc. 1010 Aug 2 St-I9d7i9a1j1h2                                                            93.39
                              08/24   Postmates Inc. 1010 Aug 2 St-Z0e6l1s1l5h9                                                           163.10
                              08/24   Comb. Dep. 5/3 Bankcard Sys Worldpay Comb. Dep. Term                                                167.16
                              08/24   Postmates Inc. 1010 Aug 2 St-X3t1p6v0d1q4                                                           244.77
                              08/24   American Express Settlement XXXXXX6973                                                              374.78
                              08/24   Comb. Dep. 5/3 Bankcard Sys Worldpay Comb. Dep. Term                                                461.90
                              08/24   Comb. Dep. 5/3 Bankcard Sys Worldpay Comb. Dep. Term                                                818.44
                              08/24   Doordash, Inc. 25 Ionia A St-R5n1w4f8k6k3                                                           859.55
                              08/24   American Express Settlement XXXXXX6973                                                            1,087.92
                              08/24   Comb. Dep. Worldpay Worldpay Comb. Dep. Term                                                      7,083.21
                              08/24   Comb. Dep. Worldpay Worldpay Comb. Dep. Term                                                      8,506.49
                              08/24   Comb. Dep. Worldpay Worldpay Comb. Dep. Term                                                     10,589.69
                              08/25   Postmates Inc. 1010 Aug 2 St-X5x5c6l2z3q5                                                            17.80
                              08/25   American Express Settlement XXXXXX6973                                                              230.61
                              08/25   Comb. Dep. 5/3 Bankcard Sys Worldpay Comb. Dep. Term                                              1,099.37
                              08/25   Doordash, Inc. 25 Ionia A St-A7z3g3p4w1z5                                                         2,518.53
                              08/26   Postmates Inc. 1010 Aug 2 St-K8r3d2e3k1d7                                                            73.86
                              08/26   Transfer From Coml Analysis Ck Account      4777                                                    338.09
                              08/26   American Express Settlement XXXXXX6973                                                              392.96
                              08/26   Comb. Dep. 5/3 Bankcard Sys Worldpay Comb. Dep. Term                                                726.22
                              08/26   Doordash, Inc. 25 Ionia A St-G2b5z8z1y0s1                                                         1,191.91
                              08/26   Comb. Dep. Worldpay Worldpay Comb. Dep. Term                                                      5,149.79
                              08/27   Postmates Inc. 1010 Aug 2 St-X7t9b5p1i5h8                                                            73.35
                              08/27   American Express Settlement XXXXXX6973                                                              262.04
                              08/27   Comb. Dep. 5/3 Bankcard Sys Worldpay Comb. Dep. Term                                                337.54
                              08/27   Doordash, Inc. 25 Ionia A St-P8u2p9y4o6d4                                                         1,118.30
                              08/27   Comb. Dep. Worldpay Worldpay Comb. Dep. Term                                                      5,811.37
                              08/28   Postmates Inc. 1010 Aug 2 St-J3r7e5s1q7z1                                                            55.86
                              08/28   American Express Settlement XXXXXX6973                                                              166.58
                              08/28   Comb. Dep. 5/3 Bankcard Sys Worldpay Comb. Dep. Term                                                402.01
                              08/28   Doordash, Inc. 25 Ionia A St-X3n8f1r7h9o7                                                         1,180.27
                              08/28   Comb. Dep. Worldpay Worldpay Comb. Dep. Term                                                      5,624.99
                              08/31   Postmates Inc. 1010 Aug 2 St-C2x2p8d5v5l2                                                            47.57
                              08/31   Postmates Inc. 1010 Aug 2 St-M5r0j8x3u7s4                                                           145.33
                              08/31   American Express Settlement XXXXXX6973                                                              313.48
                              08/31   Postmates Inc. 1010 Aug 2 St-W8g6g1p1a0k8                                                           318.48
                              08/31   Comb. Dep. 5/3 Bankcard Sys Worldpay Comb. Dep. Term                                                554.61
                              08/31   Comb. Dep. 5/3 Bankcard Sys Worldpay Comb. Dep. Term                                                591.61
                              08/31   American Express Settlement XXXXXX6973                                                              865.26
                              08/31   Comb. Dep. 5/3 Bankcard Sys Worldpay Comb. Dep. Term                                                886.98
                              08/31   Doordash, Inc. 25 Ionia A St-P1s9f0w1i8e1                                                           922.08
                              08/31   Comb. Dep. Worldpay Worldpay Comb. Dep. Term                                                      5,672.66
                              08/31   Comb. Dep. Worldpay Worldpay Comb. Dep. Term                                                      7,698.09
                              08/31   Comb. Dep. Worldpay Worldpay Comb. Dep. Term                                                      7,953.76
                              08/31   Comb. Dep. Worldpay Worldpay Comb. Dep. Term                                                     10,960.27

                               CHECKS
                               Date      Check No     Amount          Date         Check No           Amount   Date      Check No     Amount
                              08/26       12729       7,179.44
                              * Indicates a Gap in Check Number Sequence
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                                                                            9 VOLT LLC                              Page:            4 of 4
                                                                            DBA HOPCAT
                                                                            OPERAT NG                               Statement Date: 08/31/2020
                                                                            35 OAKES ST SW STE 400                  Primary Account: XXXXXX4123
                                                                            GRAND RAP DS, MI 49503




                              DEBITS
MGMCSTMTN 200901-09713-0004




                              Date Description                                                                                        Amount
                              08/03   Transfer To Coml Analysis Ck Account         4777                                              19,465.38
                              08/04   Red Tap Draught Sale                                                                              450.00
                              08/04   Mthchgs Worldpay Merch Bankcard             Hopcat                                              1,709.22
                              08/04   Transfer To Coml Analysis Ck Account         4777                                               3,660.40
                              08/05   Billng Vantiv_intg_pymt Merch Bankcard          Hopcat Grand Rapids - Ecomm                       317.08
                              08/05   Restaurant Techn Cash Conc                                                                        938.78
                              08/05   Transfer To Coml Analysis Ck Account         4777                                               4,445.43
                              08/06   Henry A. Fox Sal Fintecheft XX-XXX1129                                                            129.00
                              08/06   Alliance Beverag Fintecheft XX-XXX1129                                                            186.00
                              08/06   West Side Beer D Fintecheft XX-XXX1129                                                            438.00
                              08/06   Transfer To Coml Analysis Ck Account         4777                                                 441.48
                              08/07   Transfer To Coml Analysis Ck Account         4777                                              10,564.41
                              08/10   Olo - Help@olo.c Purchase Denise Willison                                                         661.85
                              08/10   Transfer To Coml Analysis Ck Account         4777                                              22,863.31
                              08/11   Fintech.net Fintecheft XX-XXX1129                                                                  37.32
                              08/11   Transfer To Coml Analysis Ck Account         4777                                               6,415.87
                              08/12   Imperial Beverag Fintecheft XX-XXX1129                                                             35.00
                              08/12   Transfer To Coml Analysis Ck Account         4777                                               1,435.72
                              08/13   M4 C.i.c, Llc Fintecheft XX-XXX1129                                                                60.00
                              08/13   West Side Beer D Fintecheft XX-XXX1129                                                            268.00
                              08/13   Alliance Beverag Fintecheft XX-XXX1129                                                            460.05
                              08/13   Transfer To Coml Analysis Ck Account         4777                                               4,476.38
                              08/14   Transfer To Coml Analysis Ck Account         4777                                               9,291.43
                              08/17   Commercial Service Charge                                                                          91.17
                              08/17   Imperial Beverag Fintecheft XX-XXX1129                                                            319.00
                              08/17   Transfer To Coml Analysis Ck Account         4777                                              25,046.75
                              08/18   Henry A. Fox Sal Fintecheft XX-XXX1129                                                             96.75
                              08/18   Transfer To Coml Analysis Ck Account         4777                                               8,560.52
                              08/19   Transfer To Coml Analysis Ck Account         4777                                               7,090.01
                              08/20   Henry A. Fox Sal Fintecheft XX-XXX1129                                                             96.75
                              08/20   West Side Beer D Fintecheft XX-XXX1129                                                            307.60
                              08/20   Support Positive Solutio 1/11/12-12/1/12                                                          333.72
                              08/20   M4 C.i.c, Llc Fintecheft XX-XXX1129                                                               540.00
                              08/20   Alliance Beverag Fintecheft XX-XXX1129                                                            970.85
                              08/21   Imperial Beverag Fintecheft XX-XXX1129                                                          1,206.70
                              08/21   Transfer To Coml Analysis Ck Account         4777                                               9,304.70
                              08/24   Transfer To Coml Analysis Ck Account         4777                                              30,450.40
                              08/25   Alliance Beverag Fintecheft XX-XXX1129                                                            109.00
                              08/25   Transfer To Coml Analysis Ck Account         4777                                               3,757.31
                              08/26   State Of Michnws Liquorsale #xxxxx6779                                                            693.39
                              08/27   M4 C.i.c, Llc Fintecheft XX-XXX1129                                                                31.20
                              08/27   West Side Beer D Fintecheft XX-XXX1129                                                            179.00
                              08/27   Henry A. Fox Sal Fintecheft XX-XXX1129                                                            180.75
                              08/27   State Of Michgwl Liquorsale #xxxxx9409                                                            241.45
                              08/27   Alliance Beverag Fintecheft XX-XXX1129                                                            757.60
                              08/27   Transfer To Coml Analysis Ck Account         4777                                               6,212.60
                              08/28   Transfer To Coml Analysis Ck Account         4777                                               7,429.71
                              08/31   Transfer To Coml Analysis Ck Account         4777                                              36,930.18

                              DAILY BALANCE
                                Date                   Balance            Date                       Balance    Date            Balance
                                 08/03                                    08/12                                08/21
                                 08/04                                    08/13                                08/24
                                 08/05                                    08/14                                08/25
                                 08/06                                    08/17                                08/26
                                 08/07                                    08/18                                08/27
                                 08/10                                    08/19                                08/28
                                 08/11                                    08/20                                08/31
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                                       BarFly Ventures
                                     Reconciliation Report
                                                   As Of 08/30/2020
                                     Account: Checking - HopCat Operating
Statement Ending Balance                                                                                           0.00

Deposits in Transit                                                                                           37,595.33

Outstanding Checks and Charges                                                                                     0.00

Adjusted Bank Balance                                                                                         37,595.33



Book Balance                                                                                                  37,595.33

Adjustments*                                                                                                       0.00

Adjusted Book Balance                                                                                         37,595.33




                            Total Checks and Charges Cleared          199,986.08 Total Deposits Cleared      199,986.08




Deposits
Name                        Memo                                  Date               Doc No       Cleared     In Transit

General Ledger Entry        AMEX                                      06/30/2020                    166.16

General Ledger Entry        AMEX                                      07/16/2020                    200.80

General Ledger Entry        WORLD PAY - OLO AMEX                      07/24/2020                     45.00

General Ledger Entry        WORLD PAY - OLO AMEX                      07/26/2020                                  36.86

General Ledger Entry        AMEX                                      07/26/2020                                 297.00

General Ledger Entry        AMEX                                      07/27/2020                    162.92

General Ledger Entry        WORLD PAY - OLO AMEX                      07/30/2020                                  36.63

General Ledger Entry        WORLDPAY                                  07/31/2020                  4,284.51

General Ledger Entry        AMEX                                      07/31/2020                    295.44

General Ledger Entry        AMEX                                      08/01/2020                    324.91

General Ledger Entry        WORLDPAY                                  08/01/2020                  6,767.80

General Ledger Entry        WORLD PAY - OLO TENDER                    08/01/2020                    820.91

General Ledger Entry        AMEX                                      08/02/2020                    380.70

General Ledger Entry        WORLDPAY                                  08/02/2020                  5,916.48

General Ledger Entry        WORLD PAY - OLO TENDER                    08/02/2020                  1,013.55

General Ledger Entry        WORLD PAY - OLO TENDER                    08/03/2020                    224.80

General Ledger Entry        WORLDPAY                                  08/03/2020                  3,181.60

General Ledger Entry        Postmates Sales HCGR 08.03.20             08/03/2020                     22.23

General Ledger Entry        DoorDash Sales HCGR 08.03.20              08/03/2020                    407.90

General Ledger Entry        Postmates Sales HCGR 08.03.20             08/03/2020                    121.12

General Ledger Entry        Postmates Sales HCGR 08.03.20             08/03/2020                     31.05

General Ledger Entry        AMEX                                      08/03/2020                    239.49

General Ledger Entry        Postmates Sales HCGR 08.04.20             08/04/2020                     39.39
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General Ledger Entry     DoorDash Sales HCGR 08.04.20         08/04/2020          1,409.32

General Ledger Entry     AMEX                                 08/04/2020           207.75

General Ledger Entry     WORLDPAY                             08/04/2020          3,660.70

General Ledger Entry     WORLD PAY - OLO TENDER               08/04/2020           454.00

General Ledger Entry     Unknown WORLDPAY Variance HCGR       08/05/2020   eft        1.04

General Ledger Entry     Postmates Sales HCGR 08.05.20        08/05/2020            19.44

General Ledger Entry     DoorDash Sales HCGR 08.05.20         08/05/2020           776.30

General Ledger Entry     WORLDPAY                             08/05/2020          4,915.78

General Ledger Entry     WORLD PAY - OLO TENDER               08/05/2020           295.10

General Ledger Entry     AMEX                                 08/05/2020           137.69

General Ledger Entry     WORLD PAY - OLO AMEX                 08/05/2020                      67.15

General Ledger Entry     DoorDash Sales HCGR 08.06.20         08/06/2020           737.56

General Ledger Entry     WORLDPAY                             08/06/2020          3,835.88

General Ledger Entry     Postmates Sales HCGR 08.06.20        08/06/2020            31.32

General Ledger Entry     AMEX                                 08/06/2020           230.79

General Ledger Entry     WORLD PAY - OLO TENDER               08/06/2020           335.21

General Ledger Entry     WORLD PAY - OLO TENDER               08/07/2020           588.28

General Ledger Entry     WORLDPAY                             08/07/2020          6,902.53

General Ledger Entry     AMEX                                 08/07/2020            37.80

General Ledger Entry     WORLD PAY - OLO AMEX                 08/07/2020            15.75

General Ledger Entry     Postmates Sales HCGR 08.07.20        08/07/2020            44.94

General Ledger Entry     DoorDash Sales HCGR 08.07.20         08/07/2020          1,080.52

General Ledger Entry     AMEX                                 08/08/2020                     303.33

General Ledger Entry     WORLDPAY                             08/08/2020          7,990.79

General Ledger Entry     WORLD PAY - OLO AMEX                 08/08/2020                      33.88

General Ledger Entry     WORLD PAY - OLO TENDER               08/08/2020           567.01

General Ledger Entry     Unknown AMEX Variance HCGR           08/09/2020   eft        3.12

General Ledger Entry     WORLDPAY                             08/09/2020          5,893.45

General Ledger Entry     WORLD PAY - OLO TENDER               08/09/2020           373.76

General Ledger Entry     AMEX                                 08/09/2020           239.77

General Ledger Entry     WORLD PAY - OLO AMEX                 08/09/2020            13.52

General Ledger Entry     Unknown AMEX Variance HCGR           08/10/2020   eft        2.11

General Ledger Entry     Postmates Sales HCGR 08.10.20        08/10/2020           239.53

General Ledger Entry     Postmates Sales HCGR 08.10.20        08/10/2020            51.51

General Ledger Entry     Postmates Sales HCGR 08.10.20        08/10/2020            94.64

General Ledger Entry     WORLDPAY                             08/10/2020          3,254.33

General Ledger Entry     DoorDash Sales HCGR 08.10.20         08/10/2020           533.41

General Ledger Entry     WORLD PAY - OLO TENDER               08/10/2020           470.75

General Ledger Entry     Unknown AMEX Variance HCGR           08/11/2020   eft        5.71

General Ledger Entry     Unknown AMEX Variance HCGR           08/11/2020   eft        5.10

General Ledger Entry     WORLD PAY - OLO AMEX                 08/11/2020                      12.99

General Ledger Entry     Postmates Sales HCGR 08.11.20        08/11/2020            58.83

General Ledger Entry     DoorDash Sales HCGR 08.11.20         08/11/2020          2,327.82

General Ledger Entry     WORLDPAY                             08/11/2020          3,299.85
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General Ledger Entry     WORLD PAY - OLO TENDER               08/11/2020           210.47

General Ledger Entry     AMEX                                 08/11/2020           556.93

General Ledger Entry     WORLDPAY                             08/12/2020          3,866.61

General Ledger Entry     DoorDash Sales HCGR 08.12.20         08/12/2020          1,026.45

General Ledger Entry     Postmates Sales HCGR 08.12.20        08/12/2020            70.51

General Ledger Entry     AMEX                                 08/12/2020           369.87

General Ledger Entry     WORLD PAY - OLO TENDER               08/12/2020           578.63

General Ledger Entry     WORLDPAY                             08/13/2020          4,013.84

General Ledger Entry     Postmates Sales HCGR 08.13.20        08/13/2020            70.10

General Ledger Entry     AMEX                                 08/13/2020                      155.02

General Ledger Entry     DoorDash Sales HCGR 08.13.20         08/13/2020           872.93

General Ledger Entry     WORLD PAY - OLO TENDER               08/13/2020           408.76

General Ledger Entry     DoorDash Sales HCGR 08.14.20         08/14/2020          1,099.21

General Ledger Entry     AMEX                                 08/14/2020                      152.88

General Ledger Entry     WORLDPAY                             08/14/2020                     6,342.52

General Ledger Entry     WORLD PAY - OLO TENDER               08/14/2020           862.38

General Ledger Entry     Postmates Sales HCGR 08.14.20        08/14/2020           101.30

General Ledger Entry     AMEX                                 08/15/2020           425.42

General Ledger Entry     WORLD PAY - OLO TENDER               08/15/2020           718.75

General Ledger Entry     WORLDPAY                             08/15/2020          9,386.36

General Ledger Entry     WORLDPAY                             08/16/2020          5,808.07

General Ledger Entry     WORLD PAY - OLO TENDER               08/16/2020           529.36

General Ledger Entry     AMEX                                 08/16/2020           547.24

General Ledger Entry     WORLD PAY - OLO AMEX                 08/16/2020            47.44

General Ledger Entry     Unknown WORLDPAY Variance HCGR       08/17/2020   eft        3.25

General Ledger Entry     WORLD PAY - OLO TENDER               08/17/2020           462.62

General Ledger Entry     Postmates Sales HCGR 08.17.20        08/17/2020            57.41

General Ledger Entry     Postmates Sales HCGR 08.17.20        08/17/2020           230.59

General Ledger Entry     AMEX                                 08/17/2020           231.80

General Ledger Entry     DoorDash Sales HCGR 08.17.20         08/17/2020           660.11

General Ledger Entry     Postmates Sales HCGR 08.17.20        08/17/2020           130.54

General Ledger Entry     WORLDPAY                             08/17/2020          4,865.83

General Ledger Entry     Unknown AMEX Variance HCGR           08/18/2020   eft        2.51

General Ledger Entry     Unknown AMEX Variance HCGR           08/18/2020   eft        3.56

General Ledger Entry     Unknown AMEX Variance HCGR           08/18/2020   eft      10.29

General Ledger Entry     WORLD PAY - OLO TENDER               08/18/2020           382.99

General Ledger Entry     WORLDPAY                             08/18/2020          5,087.49

General Ledger Entry     AMEX                                 08/18/2020           259.14

General Ledger Entry     DoorDash Sales HCGR 08.18.20         08/18/2020          2,418.44

General Ledger Entry     Postmates Sales HCGR 08.18.20        08/18/2020            79.06

General Ledger Entry     DoorDash Sales HCGR 08.19.20         08/19/2020          1,249.72

General Ledger Entry     AMEX                                 08/19/2020           303.40

General Ledger Entry     WORLD PAY - OLO TENDER               08/19/2020           167.16

General Ledger Entry     WORLDPAY                             08/19/2020          4,490.02
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General Ledger Entry     Interco CASH                         08/20/2020   eft     244.27

General Ledger Entry     DoorDash Sales HCGR 08.20.20         08/20/2020          1,202.99

General Ledger Entry     Postmates Sales HCGR 08.20.20        08/20/2020            88.98

General Ledger Entry     AMEX                                 08/20/2020           387.37

General Ledger Entry     WORLD PAY - OLO TENDER               08/20/2020           461.90

General Ledger Entry     WORLDPAY                             08/20/2020          4,578.49

General Ledger Entry     Postmates Sales HCGR 08.21.20        08/21/2020            46.39

General Ledger Entry     WORLD PAY - OLO TENDER               08/21/2020           818.44

General Ledger Entry     WORLDPAY                             08/21/2020          7,083.21

General Ledger Entry     DoorDash Sales HCGR 08.21.20         08/21/2020           720.46

General Ledger Entry     AMEX                                 08/21/2020                     298.83

General Ledger Entry     AMEX                                 08/22/2020                     769.99

General Ledger Entry     WORLDPAY                             08/22/2020         10,589.69

General Ledger Entry     WORLD PAY - OLO TENDER               08/22/2020          1,099.37

General Ledger Entry     WORLD PAY - OLO AMEX                 08/22/2020            55.74

General Ledger Entry     AMEX                                 08/23/2020           238.53

General Ledger Entry     WORLDPAY                             08/23/2020          8,506.49

General Ledger Entry     WORLD PAY - OLO TENDER               08/23/2020           726.22

General Ledger Entry     Unknown AMEX Variance HCGR           08/24/2020   eft        4.91

General Ledger Entry     DoorDash Sales HCGR 08.24.20         08/24/2020           859.55

General Ledger Entry     Postmates Sales HCGR 08.24.20        08/24/2020            93.39

General Ledger Entry     Postmates Sales HCGR 08.24.20        08/24/2020           244.77

General Ledger Entry     Postmates Sales HCGR 08.24.20        08/24/2020           163.10

General Ledger Entry     WORLD PAY - OLO TENDER               08/24/2020           337.34

General Ledger Entry     AMEX                                 08/24/2020                     406.16

General Ledger Entry     WORLDPAY                             08/24/2020          5,149.79

General Ledger Entry     WORLDPAY                             08/25/2020          5,811.37

General Ledger Entry     DoorDash Sales HCGR 08.25.20         08/25/2020          2,518.53

General Ledger Entry     Postmates Sales HCGR 08.25.20        08/25/2020            17.80

General Ledger Entry     AMEX                                 08/25/2020                     271.65

General Ledger Entry     WORLD PAY - OLO TENDER               08/25/2020           401.87

General Ledger Entry     Unknown WORLDPAY Variance HCGR       08/26/2020   eft        0.20

General Ledger Entry     Interco CASH                         08/26/2020   eft     338.09

General Ledger Entry     Unknown WORLDPAY Variance HCGR       08/26/2020   eft        0.14

General Ledger Entry     Unknown AMEX Variance HCGR           08/26/2020   eft        5.59

General Ledger Entry     Postmates Sales HCGR 08.26.20        08/26/2020            73.86

General Ledger Entry     DoorDash Sales HCGR 08.26.20         08/26/2020          1,191.91

General Ledger Entry     WORLDPAY                             08/26/2020          5,624.99

General Ledger Entry     WORLD PAY - OLO TENDER               08/26/2020           554.61

General Ledger Entry     WORLD PAY - OLO AMEX                 08/26/2020                      33.66

General Ledger Entry     AMEX                                 08/26/2020                     138.87

General Ledger Entry     Unknown AMEX Variance HCGR           08/27/2020   eft        2.90

General Ledger Entry     Postmates Sales HCGR 08.27.20        08/27/2020            55.86

General Ledger Entry     DoorDash Sales HCGR 08.27.20         08/27/2020          1,118.30
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General Ledger Entry             WORLD PAY - OLO TENDER                08/27/2020                   591.61

General Ledger Entry             AMEX                                  08/27/2020                   324.52

General Ledger Entry             WORLDPAY                              08/27/2020                  5,672.66

General Ledger Entry             Postmates Sales HCGR 08.27.20         08/27/2020                    73.35

General Ledger Entry             Unknown AMEX Variance HCGR            08/28/2020         eft          0.42

General Ledger Entry             WORLDPAY                              08/28/2020                                7,953.76

General Ledger Entry             DoorDash Sales HCGR 08.28.20          08/28/2020                  1,180.27

General Ledger Entry             AMEX                                  08/28/2020                   156.69

General Ledger Entry             WORLD PAY - OLO TENDER                08/28/2020                                  886.98

General Ledger Entry             WORLD PAY - OLO AMEX                  08/28/2020                                   69.65

General Ledger Entry             AMEX                                  08/29/2020                                  669.16

General Ledger Entry             WORLD PAY - OLO TENDER                08/29/2020                  1,022.40

General Ledger Entry             WORLDPAY                              08/29/2020                               10,960.27

General Ledger Entry             WORLDPAY                              08/30/2020                                7,698.09

General Ledger Entry             WORLD PAY - OLO TENDER                08/30/2020                   502.09

General Ledger Entry             WORLD PAY - OLO AMEX                  08/30/2020                    66.28

General Ledger Entry             AMEX                                  08/30/2020                   522.35

Total Deposits                                                                                  199,986.08     37,595.33




Checks and Charges
Name                             Memo                                 Date          Check No       Cleared    Outstanding

General Ledger Entry             Interco CASH                          08/03/2020         eft     19,465.38

Red Tap Solutions                                                      08/04/2020         eft       450.00

General Ledger Entry             Unknown WORLDPAY Variance HCGR        08/04/2020         eft          1.38

General Ledger Entry             Interco CASH                          08/04/2020         eft      3,660.40

General Ledger Entry             Unknown WORLDPAY Variance HCGR        08/04/2020         eft          3.26

Restaurant Technologies, Inc                                           08/05/2020        EFT        938.78

General Ledger Entry             Interco CASH                          08/05/2020         eft      4,445.43

General Ledger Entry             Unknown AMEX Variance HCGR            08/05/2020         eft          1.51

General Ledger Entry             Unknown AMEX Variance HCGR            08/05/2020         eft          5.64

West Side Beer Distributing                                            08/06/2020        EFT        438.00

General Ledger Entry             Interco CASH                          08/06/2020         eft       441.48

Henry A. Fox Sales Co.                                                 08/06/2020        EFT        129.00

Alliance Beverage Distributing LLC                                     08/06/2020        EFT        186.00

General Ledger Entry             Interco CASH                          08/07/2020         eft     10,564.41

General Ledger Entry             Unknown WORLDPAY Variance HCGR        08/07/2020         eft        12.41

General Ledger Entry             WorldPay Monthly Charges - P8 2020    08/08/2020         eft      1,709.22

General Ledger Entry             Vantiv Monthly Charges - P8 2020      08/08/2020         eft       317.08

OLO                                                                    08/10/2020        EFT        661.85

General Ledger Entry             Interco CASH                          08/10/2020         eft     22,863.31

General Ledger Entry             Unknown AMEX Variance HCGR            08/10/2020         eft          3.37

General Ledger Entry             Unknown AMEX Variance HCGR            08/11/2020         eft          7.23

General Ledger Entry             Unknown AMEX Variance HCGR            08/11/2020         eft          0.21

General Ledger Entry             Unknown AMEX Variance HCGR            08/11/2020         eft          8.36
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General Ledger Entry             Interco CASH                                      08/11/2020       eft      6,415.87

fintech                                                                            08/11/2020       EFT        37.32

General Ledger Entry             Interco CASH                                      08/12/2020       eft      1,435.72

Imperial Beverage                                                                  08/12/2020       EFT        35.00

West Side Beer Distributing                                                        08/13/2020       EFT       268.00

General Ledger Entry             Interco CASH                                      08/13/2020       eft      4,476.38

Alliance Beverage Distributing LLC                                                 08/13/2020       EFT       460.05

M4 C.I.C. LLC                                                                      08/13/2020       EFT        60.00

General Ledger Entry             Interco CASH                                      08/14/2020       eft      9,291.43

Imperial Beverage                                                                  08/17/2020       EFT       319.00

General Ledger Entry             Mercantile Monthly Bank Charges - P8 2020         08/17/2020       eft        91.17

General Ledger Entry             Interco CASH                                      08/17/2020       eft     25,046.75

General Ledger Entry             Unknown AMEX Variance HCGR                        08/17/2020       eft          2.90

Michigan Dept of Treasury                                                          08/17/2020     12729      7,179.44

Henry A. Fox Sales Co.                                                             08/18/2020       EFT        96.75

General Ledger Entry             Interco CASH                                      08/18/2020       eft      8,560.52

General Ledger Entry             Interco CASH                                      08/19/2020       eft      7,090.01

West Side Beer Distributing                                                        08/20/2020       EFT       307.60

Henry A. Fox Sales Co.                                                             08/20/2020       EFT        96.75

M4 C.I.C. LLC                                                                      08/20/2020       EFT       540.00

Alliance Beverage Distributing LLC                                                 08/20/2020       EFT       970.85

General Ledger Entry             Positive Solutions Support - Monthly Transact on P8 08/20/2020     eft       333.72

Imperial Beverage                                                                  08/21/2020       EFT      1,206.70

General Ledger Entry             Interco CASH                                      08/21/2020       eft      9,304.70

General Ledger Entry             Unknown AMEX Variance HCGR                        08/21/2020       eft          2.39

General Ledger Entry             Unknown AMEX Variance HCGR                        08/24/2020       eft          0.18

General Ledger Entry             Unknown AMEX Variance HCGR                        08/24/2020       eft          0.76

General Ledger Entry             Interco CASH                                      08/24/2020       eft     30,450.40

Alliance Beverage Distributing LLC                                                 08/25/2020       EFT       109.00

General Ledger Entry             Interco CASH                                      08/25/2020       eft      3,757.31

State of Michigan - MLCC                                                           08/26/2020       EFT       693.39

M4 C.I.C. LLC                                                                      08/27/2020       EFT        31.20

West Side Beer Distributing                                                        08/27/2020       EFT       179.00

Henry A. Fox Sales Co.                                                             08/27/2020       EFT       180.75

Alliance Beverage Distributing LLC                                                 08/27/2020       EFT       757.60

State of Michigan - MLCC                                                           08/27/2020       EFT       241.45

General Ledger Entry             Interco CASH                                      08/27/2020       eft      6,212.60

General Ledger Entry             Interco CASH                                      08/28/2020       eft      7,429.71

Total Checks and Charges                                                                                  199,986.08    0.00
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                                                                         50 AMP FUSE, LLC             Page:            2 of 4
                                                                         DBA STELLA'S LOUNGE
                                                                         OPERAT NG                    Statement Date: 08/31/2020
                                                                         35 OAKES ST SW STE 400       Primary Account: XXXXXX4115
                                                                         GRAND RAP DS, MI 49503




                              CREDITS (Continued)
MGMCSTMTN 200901-09712-0002




                              Date Description                                                                          Amount
                              08/11   Stellas Lounge - Cn 33806 St-G8v0a4s1m4m9                                           504.14
                              08/11   Postmates Inc. 53 Commerc St-F1t8q4b0o0i3                                           571.93
                              08/11   Comb. Dep. Worldpay Worldpay Comb. Dep. Term                                      3,911.51
                              08/12   American Express Settlement XXXXXX7013                                              123.60
                              08/12   Stellas Lounge - Cn 33806 St-C5w8h0l6w3k0                                           271.75
                              08/12   Comb. Dep. Worldpay Worldpay Comb. Dep. Term                                      2,797.91
                              08/13   American Express Settlement XXXXXX7013                                               45.11
                              08/13   Stellas Lounge - Cn 33806 St-B3z0a3s2i8h7                                           182.75
                              08/13   Comb. Dep. Worldpay Worldpay Comb. Dep. Term                                      3,791.02
                              08/14   Payment Alliance Eftransact 05-Xcvula                                                 1.01
                              08/14   American Express Settlement XXXXXX7013                                              121.35
                              08/14   Stellas Lounge - Cn 33806 St-C2z3u4v4c5f5                                           294.05
                              08/14   Grubhub Inc Aug Actvty 20081412_2r_tku                                              689.37
                              08/14   Doordash, Inc. Commerce A St-Q7f6f0r1p2o0                                         2,516.23
                              08/14   Comb. Dep. Worldpay Worldpay Comb. Dep. Term                                      3,153.10
                              08/17   American Express Settlement XXXXXX7013                                               72.11
                              08/17   Stellas Lounge - Cn 33806 St-R4x7b4s9u6k6                                           290.69
                              08/17   Stellas Lounge - Cn 33806 St-Z7d3u8w7r4h1                                           330.70
                              08/17   Stellas Lounge - Cn 33806 St-T8k4f0d8i8z0                                           452.78
                              08/17   American Express Settlement XXXXXX7013                                              511.55
                              08/17   Comb. Dep. Worldpay Worldpay Comb. Dep. Term                                      4,221.82
                              08/17   Comb. Dep. Worldpay Worldpay Comb. Dep. Term                                      4,489.32
                              08/17   Comb. Dep. Worldpay Worldpay Comb. Dep. Term                                      6,207.52
                              08/18   American Express Settlement XXXXXX7013                                               97.81
                              08/18   Stellas Lounge - Cn 33806 St-Q1e2b0k4a0q8                                           168.55
                              08/18   Postmates Inc. 53 Commerc St-Z2t1a4a3l2k3                                           552.88
                              08/18   Comb. Dep. Worldpay Worldpay Comb. Dep. Term                                      4,414.88
                              08/19   Stellas Lounge - Cn 33806 St-G5l2w3p0y7v8                                           105.81
                              08/19   American Express Settlement XXXXXX7013                                              245.01
                              08/19   Comb. Dep. Worldpay Worldpay Comb. Dep. Term                                      3,258.00
                              08/20   American Express Settlement XXXXXX7013                                              124.52
                              08/20   Stellas Lounge - Cn 33806 St-R4f4b5j3c4c8                                           185.36
                              08/20   Comb. Dep. Worldpay Worldpay Comb. Dep. Term                                      3,597.40
                              08/21   Stellas Lounge - Cn 33806 St-N2y6f0x4r7r5                                           111.82
                              08/21   American Express Settlement XXXXXX7013                                              146.36
                              08/21   Grubhub Inc Aug Actvty 20082119_2r_tku                                              764.70
                              08/21   Comb. Dep. Worldpay Worldpay Comb. Dep. Term                                      2,948.45
                              08/21   Doordash, Inc. Commerce A St-J3r9i2b9k6u2                                         3,212.15
                              08/24   American Express Settlement XXXXXX7013                                              144.30
                              08/24   Stellas Lounge - Cn 33806 St-U9r5a7h3n0m0                                           247.98
                              08/24   American Express Settlement XXXXXX7013                                              354.48
                              08/24   Stellas Lounge - Cn 33806 St-J3v9k7z6g5u3                                           399.06
                              08/24   Stellas Lounge - Cn 33806 St-E9g0w8b9k5o8                                           447.45
                              08/24   Comb. Dep. Worldpay Worldpay Comb. Dep. Term                                      3,299.96
                              08/24   Comb. Dep. Worldpay Worldpay Comb. Dep. Term                                      5,252.84
                              08/24   Comb. Dep. Worldpay Worldpay Comb. Dep. Term                                      7,562.12
                              08/25   Stellas Lounge - Cn 33806 St-T3b5e1p1n5j3                                            66.46
                              08/25   American Express Settlement XXXXXX7013                                              121.24
                              08/25   Postmates Inc. 53 Commerc St-K7u4r1t4y5r7                                           464.01
                              08/25   Comb. Dep. Worldpay Worldpay Comb. Dep. Term                                      4,677.10
                              08/26   American Express Settlement XXXXXX7013                                              169.66
                              08/26   Stellas Lounge - Cn 33806 St-G4o9n5h1u1d8                                           259.70
                              08/26   Transfer From Coml Analysis Ck Account     4777                                   2,704.24
                              08/26   Comb. Dep. Worldpay Worldpay Comb. Dep. Term                                      3,650.98
                              08/27   Stellas Lounge - Cn 33806 St-J1h4v9b5f2u8                                           256.48
                              08/27   American Express Settlement XXXXXX7013                                              395.02
                              08/27   Comb. Dep. Worldpay Worldpay Comb. Dep. Term                                      3,110.26
                              08/28   Stellas Lounge - Cn 33806 St-G1s5b1d4r1s1                                           169.82
                              08/28   American Express Settlement XXXXXX7013                                              191.53
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                                           Case:20-01947-jwb         Doc #:338-1 Filed: 09/28/2020           Page 48 of 74
                                                                          50 AMP FUSE, LLC                      Page:            4 of 4
                                                                          DBA STELLA'S LOUNGE
                                                                          OPERAT NG                             Statement Date: 08/31/2020
                                                                          35 OAKES ST SW STE 400                Primary Account: XXXXXX4115
                                                                          GRAND RAP DS, MI 49503




                              DEBITS (Continued)
MGMCSTMTN 200901-09712-0004




                              Date Description                                                                                    Amount
                              08/25   State Of Michimp Liquorsale #xxxxx3205                                                        112.48
                              08/25   Henry A. Fox Sal Fintecheft XX-XXX3684                                                        201.40
                              08/25   West Side Beer D Fintecheft XX-XXX3684                                                        224.50
                              08/25   State Of Michnws Liquorsale #xxxxx2573                                                      1,064.03
                              08/25   Transfer To Coml Analysis Ck Account       4777                                             3,726.40
                              08/27   State Of Michgwl Liquorsale #xxxxx8866                                                         30.96
                              08/27   State Of Michgwl Liquorsale #xxxxx6346                                                        437.96
                              08/27   Transfer To Coml Analysis Ck Account       4777                                             3,292.84
                              08/28   Transfer To Coml Analysis Ck Account       4777                                             8,511.37
                              08/31   Imperial Beverag Fintecheft XX-XXX3684                                                        150.00
                              08/31   Transfer To Coml Analysis Ck Account       4777                                            17,538.45

                              DAILY BALANCE
                                Date                  Balance            Date                      Balance   Date            Balance
                                 08/03                                  08/12                                08/21
                                 08/04                                  08/13                                08/24
                                 08/05                                  08/14                                08/25
                                 08/06                                  08/17                                08/26
                                 08/07                                  08/18                                08/27
                                 08/10                                  08/19                                08/28
                                 08/11                                  08/20                                08/31
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                                      BarFly Ventures
                                    Reconciliation Report
                                                  As Of 08/30/2020
                                    Account: Checking - Stella's Operating
Statement Ending Balance                                                                                        0.00

Deposits in Transit                                                                                        22,635.88

Outstanding Checks and Charges                                                                                  0.00

Adjusted Bank Balance                                                                                      22,635.88



Book Balance                                                                                               22,635.88

Adjustments*                                                                                                    0.00

Adjusted Book Balance                                                                                      22,635.88




                            Total Checks and Charges Cleared         146,774.24 Total Deposits Cleared    146,774.24




Deposits
Name                        Memo                                     Date           Doc No      Cleared    In Transit

General Ledger Entry        AMEX                                     07/11/2020                   52.96

General Ledger Entry        AMEX                                     07/24/2020                   13.90

General Ledger Entry        AMEX                                     07/30/2020                  126.06

General Ledger Entry        WORLDPAY                                 07/30/2020                3,240.92

General Ledger Entry        AMEX                                     07/31/2020                               127.83

General Ledger Entry        WORLDPAY                                 07/31/2020                5,778.22

General Ledger Entry        WORLDPAY                                 08/01/2020                5,991.12

General Ledger Entry        AMEX                                     08/01/2020                  172.97

General Ledger Entry        AMEX                                     08/02/2020                  190.54

General Ledger Entry        WORLDPAY                                 08/02/2020                3,466.53

General Ledger Entry        WORLDPAY                                 08/03/2020                3,271.57

General Ledger Entry        AMEX                                     08/03/2020                   66.65

General Ledger Entry        Unknown AMEX Variance STELLAS            08/04/2020         eft        8.95

General Ledger Entry        Unknown AMEX Variance STELLAS            08/04/2020         eft        3.00

General Ledger Entry        AMEX                                     08/04/2020                  234.42

General Ledger Entry        WORLDPAY                                 08/04/2020                2,366.87

General Ledger Entry        Postmates Sales Stellas 08.05.20         08/05/2020                  654.45

General Ledger Entry        WORLDPAY                                 08/05/2020                2,727.68

General Ledger Entry        AMEX                                     08/05/2020                  127.00

General Ledger Entry        Unknown AMEX Variance STELLAS            08/06/2020         eft        0.63

General Ledger Entry        AMEX                                     08/06/2020                               129.52

General Ledger Entry        WORLDPAY                                 08/06/2020                3,745.72

General Ledger Entry        GRUBHUB Sales Stellas 08.07.20           08/07/2020                  419.99
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General Ledger Entry     DoorDash Sales Stellas 08.07.20         08/07/2020         2,648.11

General Ledger Entry     GRUBHUB Sales Stellas 08.07.20          08/07/2020          657.05

General Ledger Entry     AMEX                                    08/07/2020           29.19

General Ledger Entry     WORLDPAY                                08/07/2020         3,899.28

General Ledger Entry     WORLDPAY                                08/08/2020         6,669.72

General Ledger Entry     AMEX                                    08/08/2020          122.76

General Ledger Entry     WORLDPAY                                08/09/2020         3,911.51

General Ledger Entry     AMEX                                    08/09/2020           14.84

General Ledger Entry     WORLDPAY                                08/10/2020         2,797.91

General Ledger Entry     AMEX                                    08/10/2020          127.53

General Ledger Entry     Postmates Sales Stellas 08.11.20        08/11/2020          571.93

General Ledger Entry     WORLDPAY                                08/11/2020         3,791.02

General Ledger Entry     AMEX                                    08/11/2020           46.72

General Ledger Entry     WORLDPAY                                08/12/2020         3,153.10

General Ledger Entry     AMEX                                    08/12/2020          125.41

General Ledger Entry     WORLDPAY                                08/13/2020         4,221.82

General Ledger Entry     AMEX                                    08/13/2020           74.67

General Ledger Entry     AMEX                                    08/14/2020          211.69

General Ledger Entry     GRUBHUB Sales Stellas 08.14.20          08/14/2020          689.37

General Ledger Entry     DoorDash Sales Stellas 08.14.20         08/14/2020         2,516.23

General Ledger Entry     Alliance         Stella                 08/14/2020             1.01

General Ledger Entry     WORLDPAY                                08/14/2020         4,489.32

General Ledger Entry     WORLDPAY                                08/15/2020         6,207.52

General Ledger Entry     AMEX                                    08/15/2020                    317.19

General Ledger Entry     AMEX                                    08/16/2020          101.57

General Ledger Entry     WORLDPAY                                08/16/2020         4,414.88

General Ledger Entry     AMEX                                    08/17/2020          253.12

General Ledger Entry     WORLDPAY                                08/17/2020         3,258.00

General Ledger Entry     Postmates Sales Stellas 08.18.20        08/18/2020          552.88

General Ledger Entry     AMEX                                    08/18/2020                    129.20

General Ledger Entry     WORLDPAY                                08/18/2020         3,597.40

General Ledger Entry     WORLDPAY                                08/19/2020         2,948.45

General Ledger Entry     AMEX                                    08/19/2020          151.50

General Ledger Entry     Unknown AMEX Variance STELLAS           08/20/2020   eft       0.88

General Ledger Entry     AMEX                                    08/20/2020          149.31

General Ledger Entry     WORLDPAY                                08/20/2020         3,299.96

General Ledger Entry     AMEX                                    08/21/2020          205.85

General Ledger Entry     WORLDPAY                                08/21/2020         5,252.84

General Ledger Entry     GRUBHUB Sales Stellas 08.21.20          08/21/2020          764.70

General Ledger Entry     DoorDash Sales Stellas 08.21.20         08/21/2020         3,212.15

General Ledger Entry     AMEX                                    08/22/2020          160.00

General Ledger Entry     WORLDPAY                                08/22/2020         7,565.83

General Ledger Entry     AMEX                                    08/23/2020          125.40

General Ledger Entry     WORLDPAY                                08/23/2020         4,677.10
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General Ledger Entry       AMEX                                 08/24/2020                   175.75

General Ledger Entry       WORLDPAY                             08/24/2020                  3,650.98

General Ledger Entry       WORLDPAY                             08/25/2020                  3,110.26

General Ledger Entry       AMEX                                 08/25/2020                   408.44

General Ledger Entry       Postmates Sales Stellas 08.25.20     08/25/2020                   464.01

General Ledger Entry       Interco CASH                         08/26/2020         eft      2,704.24

General Ledger Entry       AMEX                                 08/26/2020                   198.20

General Ledger Entry       WORLDPAY                             08/26/2020                  4,450.55

General Ledger Entry       CASH DEPOSIT                         08/26/2020                                  765.00

General Ledger Entry       AMEX                                 08/27/2020                   123.64

General Ledger Entry       WORLDPAY                             08/27/2020                                3,684.77

General Ledger Entry       Unknown AMEX Variance STELLAS        08/28/2020         eft          0.99

General Ledger Entry       GRUBHUB Sales Stellas 08.28.20       08/28/2020                   849.56

General Ledger Entry       CHOWNOW Sales Entry Stellas          08/28/2020                  7,015.44

General Ledger Entry       AMEX                                 08/28/2020                   121.82

General Ledger Entry       WORLDPAY                             08/28/2020                                4,956.74

General Ledger Entry       DoorDash Sales Stellas 08.28.20      08/28/2020                  2,849.91

General Ledger Entry       AMEX                                 08/29/2020                                  417.18

General Ledger Entry       WORLDPAY                             08/29/2020                                7,594.37

General Ledger Entry       AMEX                                 08/30/2020                   320.77

General Ledger Entry       WORLDPAY                             08/30/2020                                4,514.08

Total Deposits                                                                           146,774.24     22,635.88




Checks and Charges
Name                       Memo                                 Date         Check No       Cleared    Outstanding

Imperial Beverage                                               08/03/2020        EFT        186.00

General Ledger Entry       Interco CASH                         08/03/2020         eft     15,990.71

Red Tap Solutions                                               08/04/2020         eft       275.00

State of Michigan - MLCC                                        08/04/2020        EFT       1,143.98

Henry A. Fox Sales Co.                                          08/04/2020        EFT        367.10

General Ledger Entry       Interco CASH                         08/04/2020         eft      3,681.27

General Ledger Entry       Unknown AMEX Variance STELLAS        08/04/2020         eft          5.83

General Ledger Entry       Interco CASH                         08/05/2020         eft      3,105.99

General Ledger Entry       CHOWNOW 08.05.20 Entry Stellas       08/05/2020                   149.00

State of Michigan - MLCC                                        08/06/2020        EFT         80.24

State of Michigan - MLCC                                        08/06/2020        EFT        755.96

General Ledger Entry       Interco CASH                         08/06/2020         eft      2,204.77

General Ledger Entry       Unknown AMEX Variance STELLAS        08/06/2020         eft          2.40

General Ledger Entry       Unknown AMEX Variance STELLAS        08/07/2020         eft          3.98

General Ledger Entry       Interco CASH                         08/07/2020         eft      3,948.38

General Ledger Entry       WorldPay Monthly Charges - P8 2020   08/08/2020         eft      1,727.70

General Ledger Entry       Interco CASH                         08/10/2020         eft     15,474.49

General Ledger Entry       Unknown AMEX Variance STELLAS        08/10/2020         eft        13.00

General Ledger Entry       Unknown AMEX Variance STELLAS        08/10/2020         eft          0.68
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Henry A. Fox Sales Co.                                                            08/11/2020       EFT      24.35

fintech                                                                           08/11/2020       EFT      37.32

Alliance Beverage Distributing LLC                                                08/11/2020       EFT     262.40

West Side Beer Distributing                                                       08/11/2020       EFT     174.00

General Ledger Entry             Unknown AMEX Variance STELLAS                    08/11/2020       eft        0.37

General Ledger Entry             Interco CASH                                     08/11/2020       eft    4,503.98

General Ledger Entry             Unknown AMEX Variance STELLAS                    08/12/2020       eft        1.81

General Ledger Entry             Interco CASH                                     08/12/2020       eft    3,193.26

General Ledger Entry             Unknown AMEX Variance STELLAS                    08/13/2020       eft        1.61

General Ledger Entry             Interco CASH                                     08/13/2020       eft    4,018.88

General Ledger Entry             Unknown AMEX Variance STELLAS                    08/14/2020       eft        4.05

General Ledger Entry             Interco CASH                                     08/14/2020       eft    6,775.11

Imperial Beverage                                                                 08/17/2020       EFT     330.00

General Ledger Entry             Unknown AMEX Variance STELLAS                    08/17/2020       eft        2.56

General Ledger Entry             Mercantile Monthly Bank Charges - P8 2020        08/17/2020       eft      85.92

General Ledger Entry             Interco CASH                                     08/17/2020       eft   16,160.57

General Ledger Entry             Unknown AMEX Variance STELLAS                    08/17/2020       eft        7.42

Michigan Dept of Treasury                                                         08/17/2020     42924    6,784.58

Henry A. Fox Sales Co.                                                            08/18/2020       EFT     133.70

West Side Beer Distributing                                                       08/18/2020       EFT     206.00

State of Michigan - MLCC                                                          08/18/2020       EFT     376.19

Alliance Beverage Distributing LLC                                                08/18/2020       EFT     448.50

State of Michigan - MLCC                                                          08/18/2020       EFT     340.41

General Ledger Entry             Interco CASH                                     08/18/2020       eft    3,729.32

General Ledger Entry             Unknown AMEX Variance STELLAS                    08/18/2020       eft        3.76

General Ledger Entry             Unknown AMEX Variance STELLAS                    08/19/2020       eft        8.11

General Ledger Entry             Interco CASH                                     08/19/2020       eft    3,608.82

General Ledger Entry             Interco CASH                                     08/20/2020       eft    3,656.40

General Ledger Entry             Positive Solutions Support - Monthly Transact on P 08/20/2020             250.88

General Ledger Entry             Interco CASH                                     08/21/2020       eft    7,115.68

General Ledger Entry             Unknown AMEX Variance STELLAS                    08/21/2020       eft        5.14

Imperial Beverage                                                                 08/21/2020       EFT      67.80

General Ledger Entry             Unknown WORLDPAY Variance STELLAS                08/24/2020       eft        3.71

General Ledger Entry             Unknown AMEX Variance STELLAS                    08/24/2020       eft        5.01

General Ledger Entry             Interco CASH                                     08/24/2020       eft   17,708.19

General Ledger Entry             Unknown AMEX Variance STELLAS                    08/24/2020       eft        1.76

State of Michigan - MLCC                                                          08/25/2020       EFT     112.48

State of Michigan - MLCC                                                          08/25/2020       EFT    1,064.03

Henry A. Fox Sales Co.                                                            08/25/2020       EFT     201.40

West Side Beer Distributing                                                       08/25/2020       EFT     224.50

General Ledger Entry             Unknown AMEX Variance STELLAS                    08/25/2020       eft        1.52

General Ledger Entry             Interco CASH                                     08/25/2020       eft    3,726.40

General Ledger Entry             Unknown AMEX Variance STELLAS                    08/26/2020       eft        3.31

General Ledger Entry             Interco CASH                                     08/27/2020       eft    3,292.84
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State of Michigan - MLCC                                      08/27/2020   EFT       437.96

State of Michigan - MLCC                                      08/27/2020   EFT        30.96

General Ledger Entry       Unknown AMEX Variance STELLAS      08/27/2020   eft        13.42

General Ledger Entry       Interco CASH                       08/28/2020   eft      8,511.37

Total Checks and Charges                                                         146,774.24    0.00
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                                                     Return Service Requested                                               Page:             1 of 1
                                                                                                                            Statement Date: 08/31/2020
                                                                                                                            Primary Account: XXXXXX4460
                                                                          07001
                                                                                                                            Documents:       0

                                                                                                                            Period: 07/31/20 to 08/31/20
MGMCSTMTN 200901-09903-0001




                                                                                                                             E
                                                             LUCK OF THE IRISH, LLC                                   <T> 30-0
                                                             DBA MCFADDENS RESTAURANT AND                                    0
                                                             SALOON                                                          0
                                                             35 OAKES ST SW STE 400
                                                             GRAND RAPIDS, MI 49503




                              COMMERCIAL ANALYSIS CHECKING ACCOUNT                                                               Account: XXXXXX4460
                               Last Statement     Previous Balance         This Statement           Current Balance     Total Credits      Total Debits
                                   07/31/20              0.00                     08/31/20               0.00             334.41 (3)        334.41 (3)


                              CREDITS
                              Date Description                                                                                                   Amount
                              08/04 Transfer From Coml Analysis Ck Account                   4777                                                   27.95
                              08/17 Transfer From Coml Analysis Ck Account                   4777                                                   67.30
                              08/20 Transfer From Coml Analysis Ck Account                   4777                                                  239.16

                              DEBITS
                              Date Description                                                                                                   Amount
                              08/04 Mthchgs Worldpay Merch Bankcard                     Mcfaddens Restaurant And Salo                               27.95
                              08/17 Commercial Service Charge                                                                                       67.30
                              08/20 Support Positive Solutio 11/1/11-10/1/12                                                                       239.16

                              DAILY BALANCE
                                Date                  Balance                   Date                  Balance            Date              Balance
                                 08/04                                          08/17                                    08/20
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                                                    Return Service Requested                                        Page:             1 of 3
                                                                                                                    Statement Date: 08/31/2020
                                                                                                                    Primary Account: XXXXXX1069
                                                                         07001
                                                                                                                    Documents:       0

                                                                                                                    Period: 07/31/20 to 08/31/20
MGMCSTMTN 200901-10062-0001




                                                                                                                     E
                                                            GRBC HOLDINGS, LLC                                <T> 30-0
                                                            DBA GRAND RAPIDS BREWING CO                              0
                                                            35 OAKES ST SW STE 400                                   0
                                                            GRAND RAPIDS, MI 49503




                              COMMERCIAL ANALYSIS CHECKING ACCOUNT                                                       Account: XXXXXX1069
                               Last Statement     Previous Balance        This Statement    Current Balance     Total Credits      Total Debits
                                  07/31/20              0.00                     08/31/20        0.00           98,592.07 (96)    98,592.07 (33)


                              CREDITS
                              Date Description                                                                                           Amount
                              08/03   Grand Rapids Bre Cn 33563 St-Y9p9i9v6a9p7                                                             33.38
                              08/03   Grand Rapids Bre Cn 33563 St-N3n9e8j0m9j0                                                             73.48
                              08/03   Grand Rapids Bre Cn 33563 St-M1n8r5h2v3y4                                                             97.70
                              08/03   American Express Settlement XXXXXX6957                                                               241.21
                              08/03   Grand Rapids Bre Cn 33563 St-P7j9v1i5o0a5                                                            387.26
                              08/03   American Express Settlement XXXXXX6957                                                               755.35
                              08/03   Comb. Dep. Worldpay Worldpay Comb. Dep. Term                                                       1,539.08
                              08/03   Comb. Dep. Worldpay Worldpay Comb. Dep. Term                                                       2,397.22
                              08/03   Comb. Dep. Worldpay Worldpay Comb. Dep. Term                                                       4,251.23
                              08/04   American Express Settlement XXXXXX6957                                                                70.28
                              08/04   Comb. Dep. Worldpay Worldpay Comb. Dep. Term                                                       1,943.56
                              08/05   American Express Settlement XXXXXX6957                                                                66.26
                              08/05   Grand Rapids Bre Cn 33563 St-G9e9q2q8f6i9                                                            262.11
                              08/05   Comb. Dep. Worldpay Worldpay Comb. Dep. Term                                                         971.79
                              08/06   American Express Settlement XXXXXX6957                                                                70.05
                              08/06   Grand Rapids Bre Cn 33563 St-M0f1k9b1h7b3                                                             72.19
                              08/06   Comb. Dep. Worldpay Worldpay Comb. Dep. Term                                                       1,709.46
                              08/07   American Express Settlement XXXXXX6957                                                                16.06
                              08/07   Grubhub Inc Aug Actvty 20080705uo61shk                                                                45.50
                              08/07   Grand Rapids Bre Cn 33563 St-Y6k1o1n1c6v0                                                             71.26
                              08/07   Grubhub Inc Jul Actvty 20080701uo61shk                                                                89.72
                              08/07   Doordash, Inc. Ionia Ave St-B3i3z9h3m3j6                                                             348.50
                              08/07   Comb. Dep. Worldpay Worldpay Comb. Dep. Term                                                       1,981.18
                              08/10   Grand Rapids Bre Cn 33563 St-Q9d8p2r4a4d5                                                             19.75
                              08/10   Grand Rapids Bre Cn 33563 St-N8a8x8i0a2r3                                                             60.40
                              08/10   Grand Rapids Bre Cn 33563 St-Z3l6w2i3n4o8                                                             61.52
                              08/10   Grand Rapids Bre Cn 33563 St-I9d0r5z3d9l9                                                            177.62
                              08/10   American Express Settlement XXXXXX6957                                                               215.71
                              08/10   American Express Settlement XXXXXX6957                                                               244.24
                              08/10   Comb. Dep. Worldpay Worldpay Comb. Dep. Term                                                       1,454.99
                              08/10   Comb. Dep. Worldpay Worldpay Comb. Dep. Term                                                       3,386.94
                              08/10   Comb. Dep. Worldpay Worldpay Comb. Dep. Term                                                       4,994.14
                              08/11   Comb. Dep. Worldpay Worldpay Comb. Dep. Term                                                       1,640.00
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                                                                         GRBC HOLD NGS, LLC              Page:            2 of 3
                                                                         DBA GRAND RAP DS BREWING CO
                                                                         35 OAKES ST SW STE 400          Statement Date: 08/31/2020
                                                                         GRAND RAP DS, MI 49503          Primary Account: XXXXXX1069




                              CREDITS (Continued)
MGMCSTMTN 200901-10062-0002




                              Date Description                                                                             Amount
                              08/12   Grand Rapids Bre Cn 33563 St-O4i7z6f1n5c0                                               66.54
                              08/12   American Express Settlement XXXXXX6957                                                 267.84
                              08/12   Comb. Dep. Worldpay Worldpay Comb. Dep. Term                                         1,498.38
                              08/13   American Express Settlement XXXXXX6957                                                 179.91
                              08/13   Comb. Dep. Worldpay Worldpay Comb. Dep. Term                                         1,995.03
                              08/14   Grand Rapids Bre Cn 33563 St-M4v6w0e8y2c5                                                9.70
                              08/14   Grubhub Inc Aug Actvty 20081412uo61shk                                                  30.97
                              08/14   American Express Settlement XXXXXX6957                                                  78.38
                              08/14   Doordash, Inc. Ionia Ave St-Y7u4y8w6m8y3                                               557.81
                              08/14   Comb. Dep. Worldpay Worldpay Comb. Dep. Term                                         1,828.83
                              08/17   Grand Rapids Bre Cn 33563 St-O9k0y6g4d5w6                                               22.57
                              08/17   Grand Rapids Bre Cn 33563 St-M7n6b0i5i5h7                                               70.78
                              08/17   Grand Rapids Bre Cn 33563 St-Z1z5t5x4y7g2                                               92.52
                              08/17   Grand Rapids Bre Cn 33563 St-W5o7x4m4h1h5                                              109.30
                              08/17   American Express Settlement XXXXXX6957                                                 137.41
                              08/17   American Express Settlement XXXXXX6957                                                 698.00
                              08/17   Comb. Dep. Worldpay Worldpay Comb. Dep. Term                                         2,682.45
                              08/17   Comb. Dep. Worldpay Worldpay Comb. Dep. Term                                         3,941.50
                              08/17   Comb. Dep. Worldpay Worldpay Comb. Dep. Term                                         5,986.33
                              08/18   Postmates Inc. 1 Ionia Av St-F8p0c1n8b7c9                                               78.60
                              08/18   American Express Settlement XXXXXX6957                                                 242.43
                              08/18   Comb. Dep. Worldpay Worldpay Comb. Dep. Term                                         2,345.91
                              08/19   Grand Rapids Bre Cn 33563 St-F3q7y2f4j1t3                                               28.47
                              08/19   American Express Settlement XXXXXX6957                                                  71.44
                              08/19   Comb. Dep. Worldpay Worldpay Comb. Dep. Term                                         2,259.85
                              08/20   Grand Rapids Bre Cn 33563 St-X5w8b1w9d5v0                                              122.64
                              08/20   American Express Settlement XXXXXX6957                                                 285.68
                              08/20   Comb. Dep. Worldpay Worldpay Comb. Dep. Term                                         1,571.02
                              08/21   Grand Rapids Bre Cn 33563 St-X6h0p8g5c4x4                                               18.72
                              08/21   American Express Settlement XXXXXX6957                                                  61.66
                              08/21   Grubhub Inc Aug Actvty 20082119uo61shk                                                 201.32
                              08/21   Doordash, Inc. Ionia Ave St-M7i1k7h8w9x9                                               538.41
                              08/21   Comb. Dep. Worldpay Worldpay Comb. Dep. Term                                         2,131.19
                              08/24   Grand Rapids Bre Cn 33563 St-Q2q5x3f5y0t3                                               11.24
                              08/24   Grand Rapids Bre Cn 33563 St-C7j6i9k9r7j8                                               13.72
                              08/24   Grand Rapids Bre Cn 33563 St-U8h4q2k5k5t3                                               28.38
                              08/24   Grand Rapids Bre Cn 33563 St-V0y9l9m4x7i7                                               38.68
                              08/24   American Express Settlement XXXXXX6957                                                 155.17
                              08/24   American Express Settlement XXXXXX6957                                                 658.55
                              08/24   Comb. Dep. Worldpay Worldpay Comb. Dep. Term                                         2,973.42
                              08/24   Comb. Dep. Worldpay Worldpay Comb. Dep. Term                                         3,884.32
                              08/24   Comb. Dep. Worldpay Worldpay Comb. Dep. Term                                         5,913.83
                              08/25   American Express Settlement XXXXXX6957                                                 222.49
                              08/25   Comb. Dep. Worldpay Worldpay Comb. Dep. Term                                         1,894.69
                              08/26   Comb. Dep. Worldpay Worldpay Comb. Dep. Term                                             8.48
                              08/26   Grand Rapids Bre Cn 33563 St-T6e1x1j6o1t2                                               56.51
                              08/26   American Express Settlement XXXXXX6957                                                  78.50
                              08/26   Transfer From Coml Analysis Ck Account     4777                                        899.06
                              08/26   Comb. Dep. Worldpay Worldpay Comb. Dep. Term                                         2,045.55
                              08/27   American Express Settlement XXXXXX6957                                                 253.12
                              08/27   Comb. Dep. Worldpay Worldpay Comb. Dep. Term                                         1,957.20
                              08/28   Grand Rapids Bre Cn 33563 St-A4c9b5q0j2o1                                               41.14
                              08/28   Grubhub Inc Aug Actvty 20082826uo61shk                                                  85.18
                              08/28   American Express Settlement XXXXXX6957                                                 157.87
                              08/28   Doordash, Inc. Ionia Ave St-N9o5x4v5p3a2                                               490.34
                              08/28   Comb. Dep. Worldpay Worldpay Comb. Dep. Term                                         2,870.68
                              08/31   Grand Rapids Bre Cn 33563 St-K1y2s0a8f6o5                                              127.96
                              08/31   American Express Settlement XXXXXX6957                                                 150.74
                              08/31   Grand Rapids Bre Cn 33563 St-J7t0p9x0r8a0                                              177.96
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                                      BarFly Ventures
                                    Reconciliation Report
                                                As Of 08/30/2020
                                      Account: Checking - GRBC Operating
Statement Ending Balance                                                                                   0.00

Deposits in Transit                                                                                   14,042.49

Outstanding Checks and Charges                                                                             0.00

Adjusted Bank Balance                                                                                14,042.49



Book Balance                                                                                          14,042.49

Adjustments*                                                                                               0.00

Adjusted Book Balance                                                                                14,042.49




                           Total Checks and Charges Cleared     84,796.17 Total Deposits Cleared      84,796.17




Deposits
Name                       Memo                                 Date          Doc No      Cleared     In Transit

General Ledger Entry       AMEX                                 06/24/2020                  54.87

General Ledger Entry       AMEX                                 06/26/2020                               144.61

General Ledger Entry       AMEX                                 07/03/2020                  55.64

General Ledger Entry       AMEX                                 07/10/2020                 292.24

General Ledger Entry       AMEX                                 07/30/2020                 249.51

General Ledger Entry       WORLDPAY                             07/31/2020               2,397.22

General Ledger Entry       WORLDPAY                             08/01/2020               4,251.23

General Ledger Entry       AMEX                                 08/01/2020                 415.76

General Ledger Entry       WORLDPAY                             08/02/2020               1,539.08

General Ledger Entry       AMEX                                 08/03/2020                  68.59

General Ledger Entry       WORLDPAY                             08/03/2020               1,943.56

General Ledger Entry       Unknown AMEX Variance GRBC           08/04/2020        eft       11.28

General Ledger Entry       AMEX                                 08/04/2020                  72.44

General Ledger Entry       WORLDPAY                             08/04/2020                 971.79

General Ledger Entry       Unknown AMEX Variance GRBC           08/05/2020        eft       11.39

General Ledger Entry       WORLDPAY                             08/05/2020               1,709.46

General Ledger Entry       AMEX                                 08/05/2020                  16.66

General Ledger Entry       Unknown AMEX Variance GRBC           08/06/2020        eft        1.46

General Ledger Entry       AMEX                                 08/06/2020                 252.90

General Ledger Entry       WORLDPAY                             08/06/2020               1,981.18

General Ledger Entry       GRUBHUB Sales GRBC 08.07.20          08/07/2020                  89.72

General Ledger Entry       GRUBHUB Sales GRBC 08.07.20          08/07/2020                  45.50

General Ledger Entry       DoorDash Sales GRBC 08.07.20         08/07/2020                 348.50
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General Ledger Entry   AMEX                                 08/07/2020          139.02

General Ledger Entry   WORLDPAY                             08/07/2020         3,386.94

General Ledger Entry   AMEX                                 08/08/2020                     84.40

General Ledger Entry   WORLDPAY                             08/08/2020         4,994.14

General Ledger Entry   WORLDPAY                             08/09/2020         1,454.99

General Ledger Entry   Unknown AMEX Variance GRBC           08/10/2020   eft     12.44

General Ledger Entry   WORLDPAY                             08/10/2020         1,640.00

General Ledger Entry   AMEX                                 08/10/2020          277.07

General Ledger Entry   AMEX                                 08/11/2020          186.54

General Ledger Entry   WORLDPAY                             08/11/2020         1,498.38

General Ledger Entry   AMEX                                 08/12/2020           81.13

General Ledger Entry   WORLDPAY                             08/12/2020         1,995.03

General Ledger Entry   WORLDPAY                             08/13/2020         1,828.83

General Ledger Entry   AMEX                                 08/13/2020                    142.24

General Ledger Entry   Unknown AMEX Variance GRBC           08/14/2020   eft      4.32

General Ledger Entry   AMEX                                 08/14/2020                    391.87

General Ledger Entry   GRUBHUB Sales GRBC 08.14.20          08/14/2020           30.97

General Ledger Entry   DoorDash Sales GRBC 08.14.20         08/14/2020          557.81

General Ledger Entry   WORLDPAY                             08/14/2020         2,682.45

General Ledger Entry   WORLDPAY                             08/15/2020         5,986.33

General Ledger Entry   AMEX                                 08/15/2020                    330.14

General Ledger Entry   WORLDPAY                             08/16/2020         3,941.50

General Ledger Entry   AMEX                                 08/16/2020          250.70

General Ledger Entry   AMEX                                 08/17/2020           74.06

General Ledger Entry   WORLDPAY                             08/17/2020         2,345.91

General Ledger Entry   WORLDPAY                             08/18/2020         2,259.85

General Ledger Entry   Postmates Sales GRBC 08.18.20        08/18/2020           78.60

General Ledger Entry   AMEX                                 08/18/2020                    295.95

General Ledger Entry   WORLDPAY                             08/19/2020         1,571.02

General Ledger Entry   AMEX                                 08/19/2020           63.94

General Ledger Entry   AMEX                                 08/20/2020          160.56

General Ledger Entry   WORLDPAY                             08/20/2020         2,131.19

General Ledger Entry   DoorDash Sales GRBC 08.21.20         08/21/2020          538.41

General Ledger Entry   WORLDPAY                             08/21/2020         3,884.32

General Ledger Entry   AMEX                                 08/21/2020          231.80

General Ledger Entry   GRUBHUB Sales GRBC 08.21.20          08/21/2020          201.32

General Ledger Entry   AMEX                                 08/22/2020          449.58

General Ledger Entry   WORLDPAY                             08/22/2020         5,913.83

General Ledger Entry   WORLDPAY                             08/23/2020         2,973.42

General Ledger Entry   AMEX                                 08/23/2020          229.93

General Ledger Entry   WORLDPAY                             08/24/2020         1,903.17

General Ledger Entry   AMEX                                 08/24/2020           81.33

General Ledger Entry   Unknown AMEX Variance GRBC           08/25/2020   eft      2.52

General Ledger Entry   WORLDPAY                             08/25/2020         1,987.16
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General Ledger Entry    AMEX                                  08/25/2020                  261.18

General Ledger Entry    Unknown WORLDPAY Variance GRBC        08/26/2020         eft         2.75

General Ledger Entry    Interco CASH                          08/26/2020         eft      899.06

General Ledger Entry    Unknown AMEX Variance GRBC            08/26/2020         eft         1.84

General Ledger Entry    Unknown WORLDPAY Variance GRBC        08/26/2020         eft         8.48

General Ledger Entry    AMEX                                  08/26/2020                                 163.44

General Ledger Entry    WORLDPAY                              08/26/2020                 1,957.20

General Ledger Entry    Unknown AMEX Variance GRBC            08/27/2020         eft         0.22

General Ledger Entry    WORLDPAY                              08/27/2020                 2,870.68

General Ledger Entry    AMEX                                  08/27/2020                  156.03

General Ledger Entry    WORLDPAY                              08/28/2020                               3,580.66

General Ledger Entry    CHOWNOW Sales Entry GRBC              08/28/2020                 2,047.58

General Ledger Entry    GRUBHUB Sales GRBC 08.28.20           08/28/2020                   85.18

General Ledger Entry    AMEX                                  08/28/2020                  219.97

General Ledger Entry    DoorDash Sales GRBC 08.28.20          08/28/2020                  490.34

General Ledger Entry    AMEX                                  08/29/2020                  758.61

General Ledger Entry    WORLDPAY                              08/29/2020                               5,605.82

General Ledger Entry    AMEX                                  08/30/2020                  226.56

General Ledger Entry    WORLDPAY                              08/30/2020                               3,303.36

Total Deposits                                                                         84,796.17     14,042.49




Checks and Charges
Name                    Memo                                  Date         Check No      Cleared    Outstanding

General Ledger Entry    Interco CASH                          08/03/2020         eft     9,775.91

General Ledger Entry    Interco CASH                          08/04/2020         eft      856.39

General Ledger Entry    Unknown AMEX Variance GRBC            08/04/2020         eft       11.05

General Ledger Entry    Unknown AMEX Variance GRBC            08/04/2020         eft         3.26

Red Tap Solutions                                             08/05/2020        EFT       325.00

General Ledger Entry    Interco CASH                          08/05/2020         eft      826.16

General Ledger Entry    CHOWNOW Sales Entry GRBC              08/05/2020                  149.00

General Ledger Entry    Interco CASH                          08/06/2020         eft     1,851.70

General Ledger Entry    Interco CASH                          08/07/2020         eft     2,552.22

General Ledger Entry    Unknown AMEX Variance GRBC            08/07/2020         eft         0.60

General Ledger Entry    WorldPay Monthly Charges - P8 2020    08/08/2020         eft     1,157.45

General Ledger Entry    Interco CASH                          08/10/2020         eft    10,615.31

fintech                                                       08/11/2020        EFT        37.32

General Ledger Entry    Interco CASH                          08/11/2020         eft     1,602.68

General Ledger Entry    Interco CASH                          08/12/2020         eft     1,832.76

General Ledger Entry    Unknown AMEX Variance GRBC            08/12/2020         eft       10.85

General Ledger Entry    Unknown AMEX Variance GRBC            08/12/2020         eft         9.23

General Ledger Entry    Unknown AMEX Variance GRBC            08/13/2020         eft         6.63

General Ledger Entry    Interco CASH                          08/13/2020         eft     2,174.94

General Ledger Entry    Interco CASH                          08/14/2020         eft     2,495.70

General Ledger Entry    Alliance 05-V1A5GF GRBC               08/14/2020                     9.99
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General Ledger Entry           Unknown AMEX Variance GRBC                       08/17/2020       eft       12.76

General Ledger Entry           Interco CASH                                     08/17/2020       eft    13,530.05

State of Michigan - MLCC                                                        08/17/2020       EFT      129.69

General Ledger Entry           Mercantile Monthly Bank Charges - P8 2020        08/17/2020       eft       81.12

General Ledger Entry           Unknown AMEX Variance GRBC                       08/17/2020       eft         1.61

Michigan Dept of Treasury                                                       08/17/2020     33486     3,088.10

General Ledger Entry           Interco CASH                                     08/18/2020       eft     1,736.23

State of Michigan - MLCC                                                        08/18/2020       EFT      605.71

Red Tap Solutions                                                               08/18/2020       EFT      325.00

General Ledger Entry           Unknown AMEX Variance GRBC                       08/18/2020       eft         8.27

General Ledger Entry           Unknown AMEX Variance GRBC                       08/19/2020       eft         1.00

General Ledger Entry           Interco CASH                                     08/19/2020       eft     2,359.76

General Ledger Entry           Positive Solutions Support - Monthly Transact on P 08/20/2020     eft      410.00

General Ledger Entry           Interco CASH                                     08/20/2020       eft     1,203.93

Restaurant Technologies, Inc                                                    08/20/2020       EFT      365.41

General Ledger Entry           Unknown AMEX Variance GRBC                       08/20/2020       eft         6.56

Imperial Beverage                                                               08/21/2020       EFT      173.90

General Ledger Entry           Unknown AMEX Variance GRBC                       08/21/2020       eft         2.28

General Ledger Entry           Interco CASH                                     08/21/2020       eft     2,777.40

General Ledger Entry           Interco CASH                                     08/24/2020       eft    13,677.31

General Ledger Entry           Unknown AMEX Variance GRBC                       08/24/2020       eft         5.39

General Ledger Entry           Unknown AMEX Variance GRBC                       08/24/2020       eft         6.72

General Ledger Entry           Interco CASH                                     08/25/2020       eft     2,117.18

General Ledger Entry           Unknown WORLDPAY Variance GRBC                   08/25/2020       eft         8.48

General Ledger Entry           Unknown AMEX Variance GRBC                       08/26/2020       eft         2.63

General Ledger Entry           Interco CASH                                     08/27/2020       eft     2,210.32

General Ledger Entry           Interco CASH                                     08/28/2020       eft     3,645.21

Total Checks and Charges                                                                               84,796.17     0.00
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                                                    Return Service Requested                                         Page:             1 of 5
                                                                                                                     Statement Date: 08/31/2020
                                                                                                                     Primary Account: XXXXXX8171
                                                                         07001
                                                                                                                     Documents:       0

                                                                                                                     Period: 07/31/20 to 08/31/20
MGMCSTMTN 200901-10314-0001




                                                                                                                     E
                                                            EL BREWPUB, LLC                                   <T> 30-0
                                                            DBA HOPCAT EAST LANSING                                  0
                                                            35 OAKES ST SW STE 400                                   0
                                                            GRAND RAPIDS, MI 49503




                              COMMERCIAL ANALYSIS CHECKING ACCOUNT                                                       Account: XXXXXX8171
                               Last Statement     Previous Balance        This Statement    Current Balance     Total Credits       Total Debits
                                  07/31/20              0.00                     08/31/20        0.00          236,066.50 (143)    236,066.50 (51)


                              CREDITS
                              Date Description                                                                                             Amount
                              08/03   Postmates Inc. 1050 Jul 3 St-K4v1k3d0i4r5                                                               46.88
                              08/03   Postmates Inc. 1050 Jul 3 St-I3x9j7b1i1j7                                                               74.13
                              08/03   American Express Settlement XXXXXX6999                                                                 117.74
                              08/03   Comb. Dep. 5/3 Bankcard Sys Worldpay Comb. Dep. Term                                                   284.31
                              08/03   Comb. Dep. 5/3 Bankcard Sys Worldpay Comb. Dep. Term                                                   360.13
                              08/03   Comb. Dep. 5/3 Bankcard Sys Worldpay Comb. Dep. Term                                                   428.20
                              08/03   Doordash, Inc. Grove St-T9w1d1p5h5d3                                                                   525.40
                              08/03   American Express Settlement XXXXXX6999                                                                 615.07
                              08/03   Comb. Dep. Worldpay Worldpay Comb. Dep. Term                                                         4,929.73
                              08/03   Comb. Dep. Worldpay Worldpay Comb. Dep. Term                                                         5,973.76
                              08/03   Comb. Dep. Worldpay Worldpay Comb. Dep. Term                                                         7,243.82
                              08/04   Postmates Inc. 1050 Aug 2 St-C3c4v8e2f2x2                                                              103.60
                              08/04   American Express Settlement XXXXXX6999                                                                 290.13
                              08/04   Comb. Dep. 5/3 Bankcard Sys Worldpay Comb. Dep. Term                                                   832.23
                              08/04   Doordash, Inc. Grove St-X1c3y9o0n0o8                                                                 1,611.57
                              08/04   Transfer From Coml Analysis Ck Account      4777                                                     1,686.78
                              08/04   Comb. Dep. Worldpay Worldpay Comb. Dep. Term                                                         3,575.04
                              08/05   Postmates Inc. 1050 Aug 3 St-Q2v5k8u3t3z1                                                              110.56
                              08/05   American Express Settlement XXXXXX6999                                                                 355.64
                              08/05   Comb. Dep. 5/3 Bankcard Sys Worldpay Comb. Dep. Term                                                   459.87
                              08/05   Doordash, Inc. Grove St-B7q3k4d3j6h1                                                                   662.28
                              08/05   Comb. Dep. Worldpay Worldpay Comb. Dep. Term                                                         2,602.27
                              08/06   Postmates Inc. 1050 Aug 4 St-I5h6r7y1z9w1                                                               63.63
                              08/06   Comb. Dep. 5/3 Bankcard Sys Worldpay Comb. Dep. Term                                                   275.89
                              08/06   American Express Settlement XXXXXX6999                                                                 365.08
                              08/06   Doordash, Inc. Grove St-F5y0f8k4f6t4                                                                 1,039.09
                              08/06   Comb. Dep. Worldpay Worldpay Comb. Dep. Term                                                         3,287.29
                              08/07   Postmates Inc. 1050 Aug 5 St-F8t8q9q9y9k1                                                               30.15
                              08/07   Comb. Dep. 5/3 Bankcard Sys Worldpay Comb. Dep. Term                                                   227.21
                              08/07   Grubhub Inc Jul Actvty 20080701tezfwn9                                                                 326.99
                              08/07   Grubhub Inc Aug Actvty 20080705tezfwn9                                                                 337.76
                              08/07   Doordash, Inc. Grove St-V0v1d7g7a5r2                                                                   389.92
                              08/07   American Express Settlement XXXXXX6999                                                                 559.63
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                                                                            EL BREWPUB, LLC                            Page:            4 of 5
                                                                            DBA HOPCAT EAST LANS NG
                                                                            35 OAKES ST SW STE 400                     Statement Date: 08/31/2020
                                                                            GRAND RAP DS, MI 49503                     Primary Account: XXXXXX8171




                              DEBITS
MGMCSTMTN 200901-10314-0004




                              Date Description                                                                                            Amount
                              08/03   State Of Michgwl Liquorsale #xxxxx8966                                                                184.23
                              08/03   Transfer To Coml Analysis Ck Account         4777                                                  20,414.94
                              08/04   Alliance Beverag Fintecheft XX-XXX5334                                                                129.00
                              08/04   Mthchgs Worldpay Merch Bankcard             Hopcat-East Lansing                                     1,695.49
                              08/05   Billng Vantiv_intg_pymt Merch Bankcard           Hopcat East Lansing - Ecomm                          224.10
                              08/05   Restaurant Techn Cash Conc 220597                                                                     468.37
                              08/05   Transfer To Coml Analysis Ck Account         4777                                                   3,498.15
                              08/06   West Side Beer D Fintecheft XX-XXX5334                                                                 29.00
                              08/06   State Of Michnws Liquorsale #xxxxx9561                                                                139.21
                              08/06   Transfer To Coml Analysis Ck Account         4777                                                   4,862.77
                              08/07   Transfer To Coml Analysis Ck Account         4777                                                   1,871.66
                              08/10   Imperial Beverag Fintecheft XX-XXX5334                                                                150.00
                              08/10   Olo - Help@olo.c Purchase Denise Willison                                                             353.78
                              08/10   Transfer To Coml Analysis Ck Account         4777                                                  22,155.21
                              08/11   Fintech.net Fintecheft XX-XXX5334                                                                      37.32
                              08/11   Transfer To Coml Analysis Ck Account         4777                                                   1,729.29
                              08/12   Transfer To Coml Analysis Ck Account         4777                                                   5,035.86
                              08/13   Alliance Beverag Fintecheft XX-XXX5334                                                                168.00
                              08/13   State Of Michnws Liquorsale #xxxxx2276                                                                279.52
                              08/13   Transfer To Coml Analysis Ck Account         4777                                                   3,519.33
                              08/14   Transfer To Coml Analysis Ck Account         4777                                                   9,850.97
                              08/17   Imperial Beverag Fintecheft XX-XXX5334                                                                 55.00
                              08/17   Commercial Service Charge                                                                              89.20
                              08/17   Transfer To Coml Analysis Ck Account         4777                                                  23,865.07
                              08/18   Henry A. Fox Sal Fintecheft XX-XXX5334                                                                168.00
                              08/18   Transfer To Coml Analysis Ck Account         4777                                                   6,678.97
                              08/19   Transfer To Coml Analysis Ck Account         4777                                                   1,501.16
                              08/20   Alliance Beverag Fintecheft XX-XXX5334                                                                109.00
                              08/20   Support Positive Solutio $1596.29 X 1 & $442.61 X 11                                                  623.00
                              08/20   Restaurant Techn Eft Draft                                                                            785.35
                              08/20   Transfer To Coml Analysis Ck Account         4777                                                   3,837.63
                              08/21   Imperial Beverag Fintecheft XX-XXX5334                                                                553.00
                              08/21   Transfer To Coml Analysis Ck Account         4777                                                  10,704.62
                              08/24   State Of Michgwl Liquorsale #xxxxx2020                                                                308.53
                              08/24   Transfer To Coml Analysis Ck Account         4777                                                  28,451.54
                              08/25   West Side Beer D Fintecheft XX-XXX5334                                                                179.00
                              08/25   Alliance Beverag Fintecheft XX-XXX5334                                                                467.00
                              08/25   Transfer To Coml Analysis Ck Account         4777                                                   2,873.38
                              08/26   Imperial Beverag Fintecheft XX-XXX5334                                                                185.00
                              08/26   Transfer To Coml Analysis Ck Account         4777                                                   8,633.94
                              08/27   Henry A. Fox Sal Fintecheft XX-XXX5334                                                                161.40
                              08/27   Imperial Beverag Fintecheft XX-XXX5334                                                                225.85
                              08/27   State Of Michnws Liquorsale #xxxxx3384                                                                363.70
                              08/27   Alliance Beverag Fintecheft XX-XXX5334                                                                387.00
                              08/27   Red Tap Draught Sale                                                                                  900.00
                              08/27   Transfer To Coml Analysis Ck Account         4777                                                   8,477.74
                              08/28   Transfer To Coml Analysis Ck Account         4777                                                   2,876.34
                              08/31   Capitol Beverage Fintecheft XX-XXX5334                                                                240.00
                              08/31   Transfer To Coml Analysis Ck Account          777                                                  43,031.83

                              DAILY BALANCE
                                Date                  Balance             Date                  Balance          Date                Balance
                                 08/03                                    08/12                                  08/21
                                 08/04                                    08/13                                  08/24
                                 08/05                                    08/14                                  08/25
                                 08/06                                    08/17                                  08/26
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                                                               EL BREWPUB, LLC                  Page:            5 of 5
                                                               DBA HOPCAT EAST LANS NG
                                                               35 OAKES ST SW STE 400           Statement Date: 08/31/2020
                                                               GRAND RAP DS, MI 49503           Primary Account: XXXXXX8171




                              DAILY BALANCE (Continued)
                                Date          Balance         Date                 Balance   Date            Balance
MGMCSTMTN 200901-10314-0005




                                08/07                         08/18                          08/27
                                08/10                         08/19                          08/28
                                08/11                         08/20                          08/31
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                                             BarFly Ventures
                                           Reconciliation Report
                                                         As Of 08/30/2020
                                       Account: Checking - EL Brewpub Operating
Statement Ending Balance                                                                                                       0.00

Deposits in Transit                                                                                                       46,938.26

Outstanding Checks and Charges                                                                                               -27.95

Adjusted Bank Balance                                                                                                     46,910.31



Book Balance                                                                                                              46,910.31

Adjustments*                                                                                                                   0.00

Adjusted Book Balance                                                                                                     46,910.31




                            Total Checks and Charges Cleared                       193,343.28 Total Deposits Cleared     193,343.28




Deposits
Name                        Memo                                                  Date            Doc No       Cleared    In Transit

General Ledger Entry        HCEL RETURNED ITEM, UNCOLLECTED FUNDS, ACCIDENT FUND O 06/18/2020                                 27.95

General Ledger Entry        AMEX                                                   06/20/2020                                531.80

General Ledger Entry        WORLD PAY - OLO TENDER                                 06/28/2020                   514.13

General Ledger Entry        WORLD PAY - OLO TENDER                                 07/10/2020                                523.71

General Ledger Entry        WORLD PAY - OLO TENDER                                 07/11/2020                   374.31

General Ledger Entry        AMEX                                                   07/12/2020                   502.20

General Ledger Entry        CASH DEPOSIT                                           07/16/2020                                 43.00

General Ledger Entry        AMEX                                                   07/19/2020                   382.64

General Ledger Entry        WORLD PAY - OLO TENDER                                 07/20/2020                   398.58

General Ledger Entry        WORLD PAY - OLO TENDER                                 07/24/2020                   536.97

General Ledger Entry        AMEX                                                   07/24/2020                   362.94

General Ledger Entry        WORLD PAY - OLO TENDER                                 07/30/2020                   428.20

General Ledger Entry        WORLDPAY                                               07/31/2020                 5,973.76

General Ledger Entry        WORLDPAY                                               08/01/2020                 7,243.82

General Ledger Entry        WORLDPAY                                               08/02/2020                 4,929.73

General Ledger Entry        DoorDash Sales HCEL 08.03.20                           08/03/2020                   525.40

General Ledger Entry        Postmates Sales HCEL 08.03.20                          08/03/2020                    46.88

General Ledger Entry        Postmates Sales HCEL 08.03.20                          08/03/2020                    74.13

General Ledger Entry        WORLD PAY - OLO TENDER                                 08/03/2020                   301.33

General Ledger Entry        WORLDPAY                                               08/03/2020                 3,575.04

General Ledger Entry        AMEX                                                   08/03/2020                   341.81

General Ledger Entry        Interco CASH                                           08/04/2020          eft    1,686.78

General Ledger Entry        Unknown AMEX Variance HCEL                             08/04/2020          eft       10.56
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General Ledger Entry     Unknown WORLDPAY Variance HCEL              08/04/2020      eft       8.73

General Ledger Entry     AMEX                                        08/04/2020             377.31

General Ledger Entry     WORLD PAY - OLO TENDER                      08/04/2020             227.21

General Ledger Entry     WORLDPAY                                    08/04/2020            2,602.27

General Ledger Entry     DoorDash Sales HCEL 08.04.20                08/04/2020            1,611.57

General Ledger Entry     Postmates Sales HCEL 08.04.20               08/04/2020             103.60

General Ledger Entry     Unknown AMEX Variance HCEL                  08/05/2020      eft    117.74

General Ledger Entry     Unknown WORLDPAY Variance HCEL              08/05/2020      eft     10.99

General Ledger Entry     WORLDPAY                                    08/05/2020            3,287.29

General Ledger Entry     Postmates Sales HCEL 08.05.20               08/05/2020             110.56

General Ledger Entry     DoorDash Sales HCEL 08.05.20                08/05/2020             662.28

General Ledger Entry     AMEX                                        08/05/2020             490.38

General Ledger Entry     WORLD PAY - OLO TENDER                      08/05/2020             252.43

General Ledger Entry     DoorDash Sales HCEL 08.06.20                08/06/2020            1,039.09

General Ledger Entry     Postmates Sales HCEL 08.06.20               08/06/2020              63.63

General Ledger Entry     WORLDPAY                                    08/06/2020            3,386.25

General Ledger Entry     WORLD PAY - OLO TENDER                      08/06/2020             310.87

General Ledger Entry     AMEX                                        08/06/2020             367.38

General Ledger Entry     Unknown WORLDPAY Variance HCEL              08/07/2020      eft     23.46

General Ledger Entry     WORLDPAY                                    08/07/2020            4,550.79

General Ledger Entry     WORLD PAY - OLO TENDER                      08/07/2020             496.18

General Ledger Entry     AMEX                                        08/07/2020             317.69

General Ledger Entry     GRUBHUB Sales HCEL 08.07.20                 08/07/2020             337.76

General Ledger Entry     DoorDash Sales HCEL 08.07.20                08/07/2020             389.92

General Ledger Entry     GRUBHUB Sales HCEL 08.07.20                 08/07/2020             326.99

General Ledger Entry     Postmates Sales HCEL 08.07.20               08/07/2020              30.15

General Ledger Entry     Unknown AMEX Variance HCEL                  08/08/2020      eft     38.03

General Ledger Entry     AMEX                                        08/08/2020             569.30

General Ledger Entry     WORLDPAY                                    08/08/2020            6,975.26

General Ledger Entry     WORLD PAY - OLO TENDER                      08/09/2020             351.40

General Ledger Entry     WORLDPAY                                    08/09/2020            4,725.98

General Ledger Entry     AMEX                                        08/09/2020             242.99

General Ledger Entry     WORLDPAY                                    08/10/2020            3,673.22

General Ledger Entry     WORLD PAY - OLO TENDER                      08/10/2020             164.72

General Ledger Entry     AMEX                                        08/10/2020             451.45

General Ledger Entry     DoorDash Sales HCEL 08.10.20                08/10/2020             581.92

General Ledger Entry     Postmates Sales HCEL 08.10.20               08/10/2020              90.65

General Ledger Entry     Postmates Sales HCEL 08.10.20               08/10/2020             170.11

General Ledger Entry     Unknown AMEX Variance HCEL                  08/11/2020      eft     47.22

General Ledger Entry     DoorDash Sales HCEL 08.11.20                08/11/2020            1,466.07

General Ledger Entry     AMEX                                        08/11/2020             203.75

General Ledger Entry     WORLD PAY - OLO TENDER                      08/11/2020             350.17

General Ledger Entry     Postmates Sales HCEL 08.11.20               08/11/2020              53.05

General Ledger Entry     WORLDPAY                                    08/11/2020            3,536.45
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General Ledger Entry     Postmates Sales HCEL 08.12.20               08/12/2020             184.50

General Ledger Entry     AMEX                                        08/12/2020             486.13

General Ledger Entry     WORLD PAY - OLO TENDER                      08/12/2020             338.17

General Ledger Entry     DoorDash Sales HCEL 08.12.20                08/12/2020             413.12

General Ledger Entry     WORLDPAY                                    08/12/2020            3,717.33

General Ledger Entry     AMEX                                        08/13/2020             393.27

General Ledger Entry     WORLD PAY - OLO TENDER                      08/13/2020             404.77

General Ledger Entry     Postmates Sales HCEL 08.13.20               08/13/2020              67.45

General Ledger Entry     WORLDPAY                                    08/13/2020            3,901.92

General Ledger Entry     DoorDash Sales HCEL 08.14.20                08/14/2020             709.16

General Ledger Entry     Postmates Sales HCEL 08.14.20               08/14/2020              56.85

General Ledger Entry     WORLDPAY                                    08/14/2020            5,274.62

General Ledger Entry     WORLD PAY - OLO TENDER                      08/14/2020             696.28

General Ledger Entry     AMEX                                        08/14/2020                       763.38

General Ledger Entry     GRUBHUB Sales HCEL 08.14.20                 08/14/2020             678.61

General Ledger Entry     WORLD PAY - OLO TENDER                      08/15/2020                       518.33

General Ledger Entry     AMEX                                        08/15/2020             623.86

General Ledger Entry     WORLDPAY                                    08/15/2020            7,867.25

General Ledger Entry     WORLDPAY                                    08/16/2020            6,242.86

General Ledger Entry     AMEX                                        08/16/2020             541.71

General Ledger Entry     WORLD PAY - OLO TENDER                      08/16/2020             460.79

General Ledger Entry     Unknown AMEX Variance HCEL                  08/17/2020      eft       9.33

General Ledger Entry     Unknown WORLDPAY Variance HCEL              08/17/2020      eft       0.81

General Ledger Entry     WORLD PAY - OLO TENDER                      08/17/2020             375.23

General Ledger Entry     WORLDPAY                                    08/17/2020            4,371.50

General Ledger Entry     Postmates Sales HCEL 08.17.20               08/17/2020              87.51

General Ledger Entry     Postmates Sales HCEL 08.17.20               08/17/2020              44.17

General Ledger Entry     Postmates Sales HCEL 08.17.20               08/17/2020              51.84

General Ledger Entry     Dan Henry W766899 W8290061 HCEL             08/17/2020             971.20

General Ledger Entry     AMEX                                        08/17/2020                       396.46

General Ledger Entry     DoorDash Sales HCEL 08.17.20                08/17/2020             342.56

General Ledger Entry     Unknown AMEX Variance HCEL                  08/18/2020      eft       5.42

General Ledger Entry     WORLD PAY - OLO TENDER                      08/18/2020             324.19

General Ledger Entry     WORLDPAY                                    08/18/2020            3,953.71

General Ledger Entry     AMEX                                        08/18/2020             336.10

General Ledger Entry     Postmates Sales HCEL 08.18.20               08/18/2020             142.25

General Ledger Entry     DoorDash Sales HCEL 08.18.20                08/18/2020            1,281.54

General Ledger Entry     Unknown AMEX Variance HCEL                  08/19/2020      eft       1.25

General Ledger Entry     Unknown WORLDPAY Variance HCEL              08/19/2020      eft     31.37

General Ledger Entry     WORLD PAY - OLO TENDER                      08/19/2020             358.24

General Ledger Entry     WORLDPAY                                    08/19/2020            3,995.20

General Ledger Entry     AMEX                                        08/19/2020             578.38

General Ledger Entry     Postmates Sales HCEL 08.19.20               08/19/2020              94.99

General Ledger Entry     DoorDash Sales HCEL 08.19.20                08/19/2020             586.14
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General Ledger Entry     WORLD PAY - OLO TENDER                      08/20/2020              305.39

General Ledger Entry     WORLDPAY                                    08/20/2020             5,053.70

General Ledger Entry     AMEX                                        08/20/2020              180.96

General Ledger Entry     Postmates Sales HCEL 08.20.20               08/20/2020               60.61

General Ledger Entry     Postmates Sales HCEL 08.20.20               08/20/2020               21.29

General Ledger Entry     DoorDash Sales HCEL 08.20.20                08/20/2020              640.66

General Ledger Entry     AMEX                                        08/21/2020              668.92

General Ledger Entry     WORLDPAY                                    08/21/2020             7,006.15

General Ledger Entry     DoorDash Sales HCEL 08.21.20                08/21/2020              406.16

General Ledger Entry     WORLD PAY - OLO TENDER                      08/21/2020                        738.53

General Ledger Entry     GRUBHUB Sales HCEL 08.21.20                 08/21/2020              860.54

General Ledger Entry     Unknown WORLDPAY Variance HCEL              08/22/2020      eft        2.35

General Ledger Entry     Unknown WORLDPAY Variance HCEL              08/22/2020      eft        6.70

General Ledger Entry     AMEX                                        08/22/2020              805.63

General Ledger Entry     WORLDPAY                                    08/22/2020            10,359.07

General Ledger Entry     WORLD PAY - OLO TENDER                      08/22/2020                        757.94

General Ledger Entry     Unknown WORLDPAY Variance HCEL              08/23/2020      eft        1.86

General Ledger Entry     Unknown AMEX Variance HCEL                  08/23/2020      eft      22.24

General Ledger Entry     WORLD PAY - OLO TENDER                      08/23/2020              427.78

General Ledger Entry     AMEX                                        08/23/2020              989.70

General Ledger Entry     WORLDPAY                                    08/23/2020             7,744.61

General Ledger Entry     Unknown AMEX Variance HCEL                  08/24/2020      eft      29.40

General Ledger Entry     Unknown WORLDPAY Variance HCEL              08/24/2020      eft        0.35

General Ledger Entry     Postmates Sales HCEL 08.24.20               08/24/2020              122.01

General Ledger Entry     Postmates Sales HCEL 08.24.20               08/24/2020               57.11

General Ledger Entry     DoorDash Sales HCEL 08.24.20                08/24/2020              468.92

General Ledger Entry     WORLD PAY - OLO TENDER                      08/24/2020              426.01

General Ledger Entry     Postmates Sales HCEL 08.24.20               08/24/2020              108.16

General Ledger Entry     AMEX                                        08/24/2020                        858.42

General Ledger Entry     WORLDPAY                                    08/24/2020             6,247.19

General Ledger Entry     Unknown AMEX Variance HCEL                  08/25/2020      eft        0.76

General Ledger Entry     Postmates Sales HCEL 08.25.20               08/25/2020              221.84

General Ledger Entry     WORLDPAY                                    08/25/2020             6,917.74

General Ledger Entry     WORLD PAY - OLO TENDER                      08/25/2020              574.30

General Ledger Entry     DoorDash Sales HCEL 08.25.20                08/25/2020             1,643.95

General Ledger Entry     AMEX                                        08/25/2020                        527.73

General Ledger Entry     Unknown AMEX Variance HCEL                  08/26/2020      eft      24.27

General Ledger Entry     WORLD PAY - OLO TENDER                      08/26/2020              226.30

General Ledger Entry     WORLDPAY                                    08/26/2020             8,682.29

General Ledger Entry     DoorDash Sales HCEL 08.26.20                08/26/2020              635.71

General Ledger Entry     AMEX                                        08/26/2020              821.24

General Ledger Entry     Postmates Sales HCEL 08.26.20               08/26/2020               23.81

General Ledger Entry     Unknown AMEX Variance HCEL                  08/27/2020      eft      17.48

General Ledger Entry     DoorDash Sales HCEL 08.27.20                08/27/2020              775.21
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General Ledger Entry             Postmates Sales HCEL 08.27.20                          08/27/2020                       36.32

General Ledger Entry             AMEX                                                   08/27/2020                                   1,701.12

General Ledger Entry             WORLD PAY - OLO TENDER                                 08/27/2020                       55.60

General Ledger Entry             WORLDPAY                                               08/27/2020                                   6,587.13

General Ledger Entry             GRUBHUB Sales HCEL 08.28.20                            08/28/2020                      716.35

General Ledger Entry             Postmates Sales HCEL 08.28.20                          08/28/2020                      118.35

General Ledger Entry             AMEX                                                   08/28/2020                      797.27

General Ledger Entry             WORLD PAY - OLO TENDER                                 08/28/2020                                     685.70

General Ledger Entry             WORLDPAY                                               08/28/2020                                   8,967.81

General Ledger Entry             DoorDash Sales HCEL 08.28.20                           08/28/2020                      762.15

General Ledger Entry             WORLDPAY                                               08/29/2020                                  12,865.38

General Ledger Entry             AMEX                                                   08/29/2020                      957.00

General Ledger Entry             WORLD PAY - OLO TENDER                                 08/29/2020                      925.91

General Ledger Entry             WORLD PAY - OLO TENDER                                 08/30/2020                                     885.41

General Ledger Entry             AMEX                                                   08/30/2020                      980.91

General Ledger Entry             WORLDPAY                                               08/30/2020                                   9,558.46

Total Deposits                                                                                                      193,343.28     46,938.26




Checks and Charges
Name                             Memo                                                  Date            Check No        Cleared    Outstanding

General Ledger Entry             HCEL RETURNED ITEM, UNCOLLECTED FUNDS, ACCIDENT FUND O 06/16/2020                                      27.95

Michigan Dept of Treasury                                                               07/16/2020          4265       6,274.86

Imperial Beverage                                                                       07/23/2020           EFT                       128.00

Imperial Beverage                                                                       07/23/2020   Voided - EFT                     -128.00

State of Michigan - MLCC                                                                08/03/2020           EFT        184.23

General Ledger Entry             Interco CASH                                           08/03/2020            eft     20,414.94

General Ledger Entry             Unknown WORLDPAY Variance HCEL                         08/04/2020            eft        10.00

Alliance Beverage Distributing LLC                                                      08/04/2020           EFT        129.00

General Ledger Entry             Unknown WORLDPAY Variance HCEL                         08/04/2020            eft        21.08

Restaurant Technologies, Inc                                                            08/05/2020           EFT        468.37

General Ledger Entry             Interco CASH                                           08/05/2020            eft      3,498.15

General Ledger Entry             Unknown AMEX Variance HCEL                             08/05/2020            eft          9.67

General Ledger Entry             Unknown WORLDPAY Variance HCEL                         08/05/2020            eft          0.92

General Ledger Entry             Unknown AMEX Variance HCEL                             08/05/2020            eft        53.85

West Side Beer Distributing                                                             08/06/2020           EFT         29.00

General Ledger Entry             Interco CASH                                           08/06/2020            eft      4,862.77

State of Michigan - MLCC                                                                08/06/2020           EFT        139.21

General Ledger Entry             Unknown AMEX Variance HCEL                             08/07/2020            eft       103.14

General Ledger Entry             Unknown AMEX Variance HCEL                             08/07/2020            eft        21.67

General Ledger Entry             Interco CASH                                           08/07/2020            eft      1,871.66

General Ledger Entry             Unknown WORLDPAY Variance HCEL                         08/08/2020            eft        29.95

General Ledger Entry             Unknown WORLDPAY Variance HCEL                         08/08/2020            eft        62.13

General Ledger Entry             Vantiv Monthly Charges - P8 2020                       08/08/2020            eft       224.10

General Ledger Entry             WorldPay Monthly Charges - P8 2020                     08/08/2020            eft      1,695.49
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General Ledger Entry             Unknown WORLDPAY Variance HCEL                        08/10/2020      eft        1.72

General Ledger Entry             Unknown WORLDPAY Variance HCEL                        08/10/2020      eft        2.39

OLO                                                                                    08/10/2020      EFT     353.78

General Ledger Entry             Interco CASH                                          08/10/2020      eft   22,155.21

Imperial Beverage                                                                      08/10/2020      EFT     150.00

General Ledger Entry             Unknown AMEX Variance HCEL                            08/10/2020      eft     115.45

General Ledger Entry             Interco CASH                                          08/11/2020      eft    1,729.29

General Ledger Entry             Unknown AMEX Variance HCEL                            08/11/2020      eft        1.05

fintech                                                                                08/11/2020      EFT      37.32

General Ledger Entry             Unknown WORLDPAY Variance HCEL                        08/12/2020      eft      11.76

General Ledger Entry             Interco CASH                                          08/12/2020      eft    5,035.86

General Ledger Entry             Unknown AMEX Variance HCEL                            08/12/2020      eft        9.23

General Ledger Entry             Interco CASH                                          08/13/2020      eft    3,519.33

State of Michigan - MLCC                                                               08/13/2020      EFT     279.52

Alliance Beverage Distributing LLC                                                     08/13/2020      EFT     168.00

General Ledger Entry             Interco CASH                                          08/14/2020      eft    9,850.97

General Ledger Entry             Unknown AMEX Variance HCEL                            08/14/2020      eft      44.60

General Ledger Entry             Unknown AMEX Variance HCEL                            08/17/2020      eft        2.04

General Ledger Entry             Unknown WORLDPAY Variance HCEL                        08/17/2020      eft      10.57

Imperial Beverage                                                                      08/17/2020      EFT      55.00

General Ledger Entry             Mercantile Monthly Bank Charges - P8 2020             08/17/2020      eft      89.20

General Ledger Entry             Interco CASH                                          08/17/2020      eft   23,865.07

Michigan Dept of Treasury                                                              08/17/2020     4266    6,263.19

Henry A. Fox Sales Co.                                                                 08/18/2020      EFT     168.00

General Ledger Entry             Interco CASH                                          08/18/2020      eft    6,678.97

General Ledger Entry             Interco CASH                                          08/19/2020      eft    1,501.16

Restaurant Technologies, Inc                                                           08/20/2020      EFT     785.35

Alliance Beverage Distributing LLC                                                     08/20/2020      EFT     109.00

General Ledger Entry             Interco CASH                                          08/20/2020      eft    3,837.63

General Ledger Entry             Positive Solutions Support - Monthly Transact on P8   08/20/2020      eft     623.00

General Ledger Entry             Unknown AMEX Variance HCEL                            08/20/2020      eft      17.04

Imperial Beverage                                                                      08/21/2020      EFT     553.00

General Ledger Entry             Interco CASH                                          08/21/2020      eft   10,704.62

General Ledger Entry             Unknown AMEX Variance HCEL                            08/24/2020      eft        0.27

General Ledger Entry             Unknown WORLDPAY Variance HCEL                        08/24/2020      eft        5.67

General Ledger Entry             Interco CASH                                          08/24/2020      eft   28,451.54

State of Michigan - MLCC                                                               08/24/2020      EFT     308.53

West Side Beer Distributing                                                            08/25/2020      EFT     179.00

Alliance Beverage Distributing LLC                                                     08/25/2020      EFT     467.00

General Ledger Entry             Interco CASH                                          08/25/2020      eft    2,873.38

Imperial Beverage                                                                      08/26/2020      EFT     185.00

General Ledger Entry             Interco CASH                                          08/26/2020      eft    8,633.94

General Ledger Entry             Interco CASH                                          08/27/2020      eft    8,477.74

State of Michigan - MLCC                                                               08/27/2020      EFT     363.70
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Alliance Beverage Distributing LLC                                          08/27/2020           EFT        387.00

Red Tap Solutions                                                           08/27/2020           EFT        900.00

Imperial Beverage                                                           08/27/2020           EFT        225.85

Henry A. Fox Sales Co.                                                      08/27/2020           EFT        161.40

General Ledger Entry             Unknown WORLDPAY Variance HCEL             08/28/2020            eft        10.39

General Ledger Entry             Unknown WORLDPAY Variance HCEL             08/28/2020            eft         0.45

General Ledger Entry             Unknown AMEX Variance HCEL                 08/28/2020            eft          3.57

Henry A. Fox Sales Co.                                                      08/28/2020           EFT                  219.45

General Ledger Entry             Interco CASH                               08/28/2020            eft      2,876.34

Henry A. Fox Sales Co.                                                      08/28/2020   Voided - EFT                 -219.45

Total Checks and Charges                                                                                193,343.28     27.95
